Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 1 of 98 Page ID #:2007




                               EXHIBIT 49




                               EXHIBIT 49



                                                                     Exhibit 49
                                                                     Page 794
        Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 2 of 98 Page ID #:2008

From:             Sam Teller [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=3BBD889935194BES BF3603889339F 2AE-SAM TELLER]
Sent:             7/10/2018 8:12:07 AM
To:               James Gleeson [James.Gleeson@spacex.com]
Subject:          Re: Thailand story




Thank you! I was about to email him. Really appreciate you guys hitting this hard today. we haven ' t
slept in about 24 hours and are about to crash here ...
> on Jul 10, 2018, at 10:56 PM, James Gleeson <James.Gleeson@spacex.com> wrote:
>
> Sean and I are pushing E's latest tweets to every reporter who wrote the BS "not practical" narrative.
>
>    -----original Message-----
>    From: Timothy Lee <timothy.lee@arstechnica.com>
>    Sent: Tuesday, July 10, 2018 10:47 AM
>    To: James Gleeson <James.Gleeson@spacex.com>
>    subject: Re: Thailand story
>
> oh, that tweet actually seems more convincing than the prime minister's comments. I wil l add it to t he
piece. Thanks for the heads up.
>
> By the way, we'd love to go deeper on this story and get some technical details about the design
process, the device itself, and how it relates to SpaceX's efforts for EVA, Mars exploration, etc. Please
let me know if Musk and/or engineers involved in the process would li ke to talk to us.
>
> Thanks!
>
> -Tim
>
>> on Jul 10, 2018, at 10:28 AM, James Gleeson <James.Gleeson@spacex.com> wrote:
>>
>> Thanks, Tim. I am checking to see i f there's an official version.
>>
>> Again, off the record, the way the story is framed makes it sound like the suppo rt was not welcome.
However, that ' s not the case as the PM made cl ear or as the dive rescue team told Elon directly:
>> https://urldefense.proofpoint.com/v2/url?u=https-
3A........twitter.com_elonmusk_status_l016684366083 190785&d=DwI GaQ&c=m5pJjvhoJ8du6Q8es33zcrlMoqSJBzBMtZh4icn4nJ
8&r=EMs3TstxaeOnEPD9tc-nSZHH-EgapwHHrT3fIDi7EyI&m=e8 JRdydw4kRm2femqX5wOCLjAVtUfOm5D-
mY4NEa09c&s=8bTA19scFfoY-WlcBaqMGwTeBJ1RioAAcu83zOpanfO&e=
>>
>>    -----original Message -----
>>    From: Timothy Lee <timothy.lee@arstechnica.com>
>>    Sent: Tuesday, Jul y 10, 2018 10:15 AM
>>    To: James Gleeson <James.Gleeson@spacex.com>
>>    subject: Re: Thai l and story
>>
»     Hi James!
>>
>> Thanks for getting in touch. I'd be open to adding a comment from Thai l and's pri me minister if it adds
to the story. However, what he says here doesn't seem very different from Narongsak Osatanakorn's
comments.
>>
>> Also, a practical problem: I don't have a way to independently veri fy this transcript, and I as sume
you don't want me to attribute the translation to SpaceX.
>>
» -Tim
>>
>>> on Jul 10, 2018, at 9:45 AM, James Gleeson <James.Gleeson@spacex.com> wrote:
>>>
>>> Hi Timothy,
>>>
>>> Great news this morning!
>>>
>>> Off the recor d, I       saw your story included a comment from the former governor of the Chiang Rai
province, so I wanted        to make sure you saw the comments by the Prime Minister which would be he l pful
context to include as        well. Below is a link to video of the press conference and an unofficial
transcr ipt. Hopefully       this helps, and l et us know if you' re able to update your article.


                                                                                                      Exhibit 49
                                                                                                      Page 795TESLA001250
      Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 3 of 98 Page ID #:2009
>>>
>>>   Thanks!
>>>
>>>
>>>
»> https://urldefense.proofpoint.com/v2/url?u=https-
3A__v,ww.facebook.com_thestandardth_videos_l910886279204255_&d=DwIGaQ&c=m5pJjvhoJ8du6Q8es33zcrlMoqSJBzBMtZ
h4icn4nJ8&r=EMs3TstxaeOnEPD9tc-nSZHH-EgapwHHrT3fIDi7EyI&m=e8JRdydw4kRm2femqXSw0CLjAVtUf0m5D-
mY4NEa09c&s=Jq_v89KlK19mjmg9A0V9HqnoDUpw35BvH-yq5mVqk9w&e=
>>>
>>>   Unofficial translation of segments of PM's press briefing, 10 July 2018
>>>
>>> With regards to my meeting with Mr. Elon Musk last night, I have to say that I liked and admired him
from the very first day that he tweeted his message with sincerity. He's a young successful man. He has
businesses in satellites, aerospace, drilling and many other fields. He offered us assistance. He tweeted
that he's ready to help if Thailand asked for assistance. He's ready to render support. He also tweeted
that he admired our work, that we are in control of the situation, and that were helping the people
efficiently. In the meantime, he's ready to help in all aspects. While returning (to Bangkok) last night,
I met him in person, together with his staff, around S people. His private plane flew directly from the
us to Chiang Rai, and took around 17 hours. I was returning (from my mission in Chiang Rai). We talked at
the airport. we shook hands and greeted each other. I informed him about what we are doing in Thailand.
With regards to the (cave) problem, he said he had his technology. He said that he wasn't fully ware
about the conditions in Thailand and had never seen caves like these. He's ready to help but mi ght have
to adjust the tools somehow, to suit the area. The tools he brought are all useful. I saw that the
capsul he showed, which can be used for people trapped in caves and rivers. We'll have to see how we can
use this. He understands everything. He listened to my explanation. Last night he went deep into the
caves/chambers. I believe that he probably had more ideas, innovations and products to be suggested. I
asked him if he can help Thailand acquire more tools for rescue operations, but actually not just
Thailand, but for ASEAN, as we share the same topography. I also said that Thailand stands ready to
support any entrepreneurial interests, because his company is a big company and prominent in many areas.
I also informed him about the EEC, connectivity, innovation, and Thailand's digital transformation. He
said he was interested. He mentioned he had to go to China on a business trip, but if he has the time he
might come back. For the equipment he kindly gave us, he left it for us to study and use. we'll see how
we can make use of this. When you have a useful product, it might also be useful for another purpose as
well. so there is always the possibility of it being modified and adjusted for future use. This is
useful. I think it's very useful for me and for Thailand because we need to conside r how to deal with
other disasters in the future, not only the one we are facing now. It may be useful for other disasters,
climate change, flooding, or landslides. I think of him as a friend. When he proposed to help Thailand,
I told him that I stand ready to welcome him and for him to think of Thailand as his second home. He was
positive. I invited him to come to Thailand, and possibly visit the EEC. We are preparing to build our
satellites and he has his satellite business, and communications [technology]. Why don't we seek
cooperation with him?




                                                                                        Exhibit 49
                                                                                        Page 796TESLA001251
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 4 of 98 Page ID #:2010




                               EXHIBIT 50




                               EXHIBIT 50



                                                                     Exhibit 50
                                                                     Page 797
        Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 5 of 98 Page ID #:2011

From:         Sam Teller [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
              {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=3BBD889935194BES BF3603889339F 2AE-SAM TELLER]
Sent:         7/10/2018 8:41:50 AM
To:           Jehn Balajadia [jehn@boringcompany.com]
BCC:          Anna.Jones@bbc.co.uk; Heather.Chen@bbc.co.uk; Andreas.lllmer@bbc.co.uk;
              amanda. hodge@theaustralian. com .au; matthew. weaver@theguardian.com; Helen .davidson@theguard i an.com;
              rperper@businessinsider.com; Michael.safi@theguardian.com; Sarah McBride [smcbride24@b loomberg.net];
              Ryan.Browne@nbcuni.com; media@spacex.com; media@boringcompany.com; flo rence.li@spacex.com; Steve Davis
              [steve@spacex.com]; Press [press@tesla.com]
Subject:      Re: Comments from Thai Prime Minister



Also see Elon's tweets likehttps://twitter.com/elonmusk/status/1016684366083190785?s=21 which show that
divers who were actually in the cave believed the mini-sub was viable.

This is on the record from a Boring Company spokesman (*not me by name*):

Multiple divers involved with the rescue said the mini-sub design was viable, and their feedback directly
informed our engineering and testing.




                                                                                                   Exhibit 50
                                                                                                   Page 798TESLA001256
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 6 of 98 Page ID #:2012




                               EXHIBIT 51




                               EXHIBIT 51



                                                                     Exhibit 51
                                                                     Page 799
   Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 7 of 98 Page ID #:2013


From:         Martin Schmidbaur [mschmidbaur@milltownpartners.com]
Sent:         8/24/2018 10:33:06 AM
To:           Sam Teller (SpaceX) [steller@spacex.com]; DL-CommsManagers [dl-commsmanagers@tesla.com]; Shivon Zilis
              [shivon@tesla.com]; Sarah O'Brien [sobrien@tesla.com]; media@spacex.com; Dave Arnold [dwarnold@tesla.com]
CC:           Paddy Harverson [pharverson@milltownpartners.com]; Freddie Williams [fwilliams@milltownpartners.com]; Fred
              Stephens [fstephens@milltownpartners.com]; Trent Olsen [tolsen@milltownpartners.com]
Subject:      UK/European Media Intelligence - Milltown Partners - 24 August 2018
                                                                                            .6@)EXHIBIT_,..._""'--
Dear all,                                                                                   Deponentf{h

As ever, please see for our weekly UK/European media intelligence note below.
                                                                                           fJJJQ/aRptr.N /V
                                                                                             WWW.DEPOBOOKPRODUCTS.COM



ELON 'STRETCHED TOO THIN'. More so than in the wake of previous 'sleeping in the factory' tweets, the
New York Times interview and Arianna Huffington's open letter drove significant media attention on whether
Elon is physically and mentally fit to lead. Despite nods to the interview as 'humanising', Elon' s work-life
balance was widely criticised in the media, with warnings of his "unstable condition" (Spiegel; L'Usine
Nouvelle), "career burnout" (The Times) and "sleepwalking into disaster" (Telegraph; see also The Guardian;
FAZ). Tech publications like Gruenderszene, defending Elon' s work ethic in arguing that "normal people don't
bring about a revolution," remained the exception. In the overall coverage, two themes stood out:

-- Investor concerns. Commentary on Tesla's stock price movement explicitly linked last Friday's drop to
concerns for Elon's health which knocked investor confidence (BBC; Handelsblatt; La Tribune).

-- Hunt for Tesla's Shotwell. While we have seen calls for a new top executive at Tesla before, the rumour
mill has been particularly intense this week. Familiar comparisons with Gwynne's important role at SpaceX
came alongside widespread speculation that Sheryl Sandberg might be tapped for a role at Tesla (Financial
Times; Manager Magazin; Handelsblatt, Le Figaro). A Financial Times editorial argued a strong COO would be
':fi,eeing Mr Musk up for his best use as a visionary, innovator and strategistfor the brand".

Milltown View: Let the media.frenzy run its course, and be prepared to explain a long-term solution (even if
that's the status quo). Seeing Elon 's relatively tempered response to Huffington already being misconstrued as
aggressive, there's little to gain past the NYT interview in engaging speculation about his well being and ability
to lead except to correct serious untruths. Rather, shareholders and other stakeholders will be most reassured
by demonstrations Elon and Tesla's board are willing to take a sound course ofaction with regards to
leadership that secures the company's future.

TESLA FUNDING-APPLE STEPPING UP? Amidst reports PIF could invest $lbn in Tesla rival Lucid
(The Telegraph; Manager Magazin; Les Echos) and a second slide in Tesla's share price after JP Morgan
slashed their price target (BBC; Manager Magazin; Le Figaro), helpful speculation surfaced that Apple could
deploy its pile of cash to delist Tesla. While framing Apple as a potential "saviour" for Tesla, financial and
business commentators were quick to point out that this is an opportune moment for a cash-rich company like
Apple (or Alphabet) to invest Tesla's brand (Handelsblatt; see also Finanzen; Bild).

AZEALIA BANKS' CLAIMS & BREAKUP WITH GRIMES. Coupled with the NYT interview, Azealia
Banks' latest 'bizarre' rant claiming Elon' s lawyer has her phone to 'delete evidence', prompted further interest
in the saga of the past two weeks (Daily Mail; Bild). The Telegra.Qh even suggested that Banks could play an
"inherently comedic" role in an SEC investigation. Looking more closely at his personal life (and Twitter),
some European publications also discussed Elon' s rumoured breakup with Grimes ~1etro; N-TV).

MODEL 3 ISSUES IN FOCUS IN GERMANY. While German national Welt reported on a 'disappointing'
and 'dangerous' Model 3 test drive, Focus claimed a scoop on a Model 3 teardown commissioned by UBS
analysts: while not all bad, their report alleges serious construction and assembly issues (including missing


                                                                                                          Exhibit 51
                                                                                                          Page TESLA000481
                                                                                                                800
  Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 8 of 98 Page ID #:2014

screws and parts). Separately Manager Magazin took a clue from Business Insider in reporting on Tesla's
scramble to meet Model 3 production targets in June.

BATTERIES - COBALT. A Financial Times 'Big Read' investigated the problematic supply chain around
cobalt and battery R&D. Tesla is well-positioned in the piece for having stimulated demand for EVs all while
having significantly decreased use of cobalt - with zero in sight.

AK-47 TESLA. Beyond the mainstream focus on Elon's ability to lead, Kalashnikov's bid to enter the EV race
- framed as "Russia's answer to Tesla" (BBC) - dominated the social media conversation this week (The
Guardian; Le Figaro; DW).

--- ends ---

With best wishes from London,

Martin

On 17 August 2018 at 19: 19, Trent Olsen <tolsen@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below:

DEFINE 'SECURED' - SEC INQUIRY & SHAREHOLDER LAWSUITS. The general consensus in
Europe this week is Elon and Tesla are in 'damage control' (Financial Times; Handelsblatt). While "unhappy
investors" making good on threats to sue got traction (BBC; Numerama), there was more on the SEC inquiry as
reports of subpoenas and a possible formal investigation became the focal point of coverage (Daily Mail; Les
Echos; Handelsblatt). Typical snark from FT Alphaville hazarded a guess, "a strong expression o..f verbal
support is not quite the same as a legal commitment" (see also Handelsblatt).

-- Relatedly, we saw lots of speculation whether Elon can pull it off, and who could fund it (La Tribune;
Manager Magazin). The Economist's take was sceptical, calling it "a sabbatical.from reality", yet credits Elon
with setting the standard for attracting big investments in innovation. The suggestion that Tesla could be taken
private has been afforded credibility thanks to confirmation players like Goldman Sachs working on the
proposal (Financial Times), leading the FT' s Richard Waters to conclude "the private markets look ready for a
transformative deaf'.

-- For its part, the Financial Times continued a self-congratulatory run of coverage after Elon "effectively
corifirmed' its Saudi report led to the take-private tweet (FT Due Diligence).

FT PUTS TESLA BOARD IN THE SPOTLIGHT. There was mainstream interest in the board's new take-
private committee (BBC; Le Figaro), and commentators asked if they're willing to 'rein in' Elon. The Financial
Times put corporate governance under the microscope, suggesting the board is overly-dominated by Elon (see
also I•'T Due Diligence). Unhelpfully, an FT Opinion piece accused Elon of trying to go private at any cost,
echoing last week's FT Lex comparison to Uber, and there is widespread suspicion he's trying to evade
scrutiny, seeking "a blank cheque and unlimited time" (The Telegraph) or even just 'bluffing' (Fool.de).

EX-EMPLOYEES ADD TO TESLA'S 'LEGAL TROUBLE', which risks becoming a broader narrative
with continued interest in alleged malpractice. However, Martin Tripp's 'whistleblowing' content dump, and
Karl Hansen's SEC complaint of 'wiretapping' was overshadowed by the market manipulation inquiry
(Financial Times; Finanzen; L'Usine Nouvelle).

ELON'S NEW YORK TIMES INTERVIEW was reported in Europe overnight, with reaction rolling in late


                                                                                                  Exhibit 51
                                                                                                  Page TESLA000482
                                                                                                        801
   Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 9 of 98 Page ID #:2015

Friday. It pa11icularly focused on investors' concerns and the possibility of a deputy at Tesla (BB(; Les Echos;
Handelsblatt). Speculative follow-up pieces are emerging about Elon's personal and professional life, and
whether it could impact Tesla (The Telegraph; The Times; Bild).

MODEL 3 'SITUATION IS IMPROVING'. Writing in FT Alphaville, Peter Campbell reports the helpfully-
timed conclusions of Evercore ISI, London-based auto analysts who visited Fremont. Despite some "teething
problems", production exceeded many of the analysts' expectations, including quality checks.

NIO IPO. The irony of "China's Tesla" filing to go public while Elon's proposing to get Tesla out didn't go
unnoticed (The Telegraph; Le Point) -- "Musk wannabes are as common in China as Elvis impersonators in Las
Vegas" (FT Lex).

AZEALIA BANKS' 'BIZARRE' TIRADE against Elon was written-off as unhinged with papers calling it
"lurid' and "vicious", but widely covered for entertainment value (The Times; The Independent).
Unfortunately, some tabloids revisited tosh about Elon attending Silicon Valley parties (Daily Mail).

--- ends ---

Have a great weekend,
Trent

On 10 August 2018 at 18:24, Trent Olsen <tolsen@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below:

'CONSIDERING TAKING TESLA PRIVATE' was almost universally dubbed Elon's "biggest social media
bombshell yet" (The Telegraph). The tweet that shook Wall Street and kept all eyes on Tesla throughout the
week provoked mixed reaction in European media, arguably generating more questions than answers:

-- Little doubt there's a case for taking Tesla private, questions over feasibility (The Telegraph; Les Echos;
DW). Though critics suggested the proposal could distract from Tesla's 'real issues' (The Guardian;
Handelsblatt), top-tier analysis honed in on the financial realities and drew comparisons to Dell's debt and cash-
flow before deli sting (Financial Times; Handelsblatt). In much of the coverage, we also still see a lack of clarity
and speculation around potential buyers and speculation. As part of the cycle, we have seen broad
acknowledgement of the pervasive short-selling practices affecting Tesla on Wall Street (The Telegraph;
WirtschaftsWoche; Les Echos).

-- Trolling short-sellers? The Financial Times' Richard Waters asked if Elon was "back to his old passive-
aggressive tricks, taunting short-sellers" (see also L'Usine Nouvelle). Relatedly, Elon's earlier Hitler parody
retweet mocking shorters had the UK's Daily Mail crying "hilarious" while Germany's ARD (unsurprisingly)
found it distasteful (see also The Times).

-- Brinkmanship and questions over legality. Dissecting Elon's tweet and questioning the implicit promises,
the Financial Times' reflected prolific commentary accusing Elon of being "excessively high-handed' in
making a "pre-emptive declaration" (see also The Times, BBC). That said, coverage of potential legal
challenges and the initial SEC inquiries remained relatively muted, considering the stakes (Challenges; Manager
Magazin) -- though another FT Lex piece suggested Elon's nonchalance about proper legal procedure
constitutes a serious hurdle to achieving his ambitions.

Milltown View: Irrespective of Elon 's motives for announcing his plan on Twitter, our reading is that the
ensuing 'i1?formation vacuum ' means media spend the first part of the cycle focused on process, rather than


                                                                                                   Exhibit 51
                                                                                                   PageTESLA000483
                                                                                                         802
 Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 10 of 98 Page ID #:2016

more interesting and substantive issues around taking Tesla private. Similarly, as media scramble.for insight
fom potential validators (board members, investors, additional Tesla spokespeople), the pressure to publish h1
the moment has prompted coverage that.fixated unhelpfully on the stock price developments in the short-term or
the confusion over the means of communications in itself.

DOUG FIELD RETURNS TO APPLE. Reports that Field has rejoined Apple mostly focused on the
company's secretive automotive plans, but there was some familiar replay of Tesla's reorganisation and the
'fight' for talent between the companies, including Elon' s previous characterisation of Apple as a" Tesla
graveyard' (Financial Times; Telegraph; Les Echos).

BLOCK 5 RE-LAUNCHED. While the increasing frequency of Falcon 9 launches continues to dampen media
enthusiasm, a few 'usual suspects' reported on the first Block 5 reuse as a milestone, and applauded SpaceX' s
third launch in 16 days and 15th of the year (L'Usine Nouvelle; Daily Mail).

THE 'ESSEX ELON MUSK' -- Asher Bennett, a UK entrepreneur building electric trucks -- continues to be
the subject of a low-level but constant trickle of media attention in the UK. Most recently, The Times reported
Bennett and his company Tevva are in a 'David v Goliath' battle against Tesla.

--- ends ---

Have a great weekend,
Trent

On 3 August 2018 at 15:54, Martin Schmidbaur <mschmidbaur@milltownpa1iners.com> wrote:
Good morning all,

Please find our weekly UK/European media intelligence note below. As ever, if you have any thoughts or
feedback on the email, please do let us know.

TOWARDS 'TURNING A CORNER' - TESLA EARNINGS. Though Tesla's upbeat results got mixed
reviews, Elon was widely credited for listening to investors.
--- Media hyped the call as an "almighty showdown" between Wall Street and Elon (The Times), who risks
"steering Tesla off the road' according to The Guardian. However, Elon's display of humility disarmed critics
and reassured investors, with his apology taken at face-value (The Times; Les Echos), even if he will need to
demonstrate temperance and composure in the long-term (Les Echos).
--- While many headlines underscored continued losses, and newspapers reminded readers that Tesla has a long
way to go to match incumbents (FT Lex; Handelsblatt), we saw a notable shift of tone in the coverage
(Einancial Times; Welt). The FT observed a "sense of broader renewed.faith in a company often caught
between strongly-held views <?f hulls and short-selling hears".
--- Following the results, the Financial Times was among those to put Tesla's short-sellers on the spot:
Greenlight Capital's David Einhorn had some explaining to do about his second-biggest losing stock (see also
The Telegraph; Finanzen).

Insider View, Emily Nicolle, Tech Reporter, City AM: Ahead of the earnings report, we met with London
business paper City AM's Tech Reporter. On the testimony of analysts, City AM is very sceptical of Tesla's
near-term financial target, but might reconsider their position (f the 30k Model 3 target is met. Given recent
events, there is also an internal debate at the paper over whether Elon is an asset or liability.for the company.
1his week's positive noise signalled progress towards· convincing sceptics on both.fronts.

'DANCING FOR TESLA' - GIGAF ACTORY IN GERMANY? German media were abuzz following the
Wall Street Journal report that Tesla continues to explore Gigafactory sites in Europe (e.g. Handelsblatt,
Jagesspiegel). In Germany alone, we've seen hundreds of articles in national, trade and local media, with many


                                                                                                  Exhibit 51
                                                                                                  Page TESLA000484
                                                                                                        803
  Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 11 of 98 Page ID #:2017


embedding Elon's tweet that "Germany is a leading choice.for Europe". While some critics reference the level
of public support Elon got for the Nevada Gigafactory by making states "dance for Tesla" (FAZ), optimism and
excitement prevailed, with many outlets referencing Tesla's existing German manufacturing base in Prum
(Autobild, Welt, Volksfreund). The story continued to build throughout the week, as the southern industrial
state of Bavaria also expressed interest in a bid for the Gigafactory (e.g. Automobilwoche).

Insider View, Editor-in-chief, German automotive trade magazine: This editor confirmed to us that German
policymakers are more than eager to attract an investment.from Tesla in light ofan ongoing perception that
Germany 'lags behind' in the EV market. An investment would COJ?fer 'bragging rights' onto the local
government and as well as reinforcing a national narrative that Germany still has a role to play in the global
auto market. German carmakers are nonchalant about the prospect ofa Gigafact01y in Germany, because
many of them still assume they are more than capable of competing with Tesla. At the same time, Tesla is
definitely seen as featuring some smart, cutting-edge technology and some local players along the automotive
supply chain would probably be interested in teaming up with Tesla, ejpecially in the batte1y segment.

TRIPP HAZARD. There's a simmering interest in Tesla's ongoing lawsuits that threaten to position the brand
as typical 'Corporate America' in Europe. FT Alphaville took aim at Tesla's alleged handling of the Martin
Tripp case, fighting Tripp's corner on the countersuit and suggestion Tesla had "creepy" insight into his
whereabouts (see also The Guardian). Unhelpfully, the BBC's reporting on the Tripp and Solarcity wrongful
dismissal cases was widely shared on social media (see also Manager Magazin).

TESLA SURFBOARDS made waves in the media after showing up on eBay for $5,000 -- originally selling
out at $1,500, and customised to fit in all Teslas illaily Mail; Finanzen). Predictably, some called Tesla out for
yet another "marketing gag' (EAZ), but covered the story nonetheless.

OPENAI'S ROBOTIC HAND stunned European technology commentators as a "breakthrough" in machine-
learning Elon continues to benefit from positive coverage of OpenAI's work where he is referenced as the
founder and driving force (The Telegraph).

KNIGHT RIDER NOSTALGIA came through in some German and French tech blogs and car trades excited
about the prospect of an improved AI-interface in Tesla cars (e.g. Numerama, Futurezone, AutoRevue), but
otherwise coverage ofElon's tweets on the subject was drowned out by Tesla earnings.

--- ends ---

With best wishes from heatwave-suffering London,

Martin & team


On 27 July 2018 at 18:06, Martin Schmidbaur <mschmidbaur@milltownpartners.com> wrote:
Dear all,

Sharing our UK/European media intelligence note below.

ZUCK v ELON: IN SPACE. Facebook' s reveal of a new satellite programme played into the media narrative
of big tech's intensifying fight to extend global broadband access (Heise; Les Echos), with SpaceX and Starlink
widely referenced. Commentators suggested that Facebook was motivated by a genuine concern to improve
connectivity (Les Echos), but questioned whether the programme was as technically advanced as that of SpaceX
(The Telegraph). Few went as far as the Daily Mail in positioning Facebook's move as a "mc~jor threat" to
SpaceX.
-- Separately, sparse coverage of SpaceX's Iridium and Telesat launches continues to suggest that the


                                                                                                  Exhibit 51
                                                                                                  Page TESLA000485
                                                                                                        804
 Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 12 of 98 Page ID #:2018

increasingly routine nature of the missions has reduced media interest, even though some outlets called out the
difficult conditions ("worst-ever weather") for SpaceX on 25 July (Les Echos print, Daily Mail).

MODEL 3 CANCELLATIONS AND MORE TESLA FUD. Headlines of the allegation that cancellations
are outstripping new orders dragged on this week, driven by interest in the to and fro of analysts' and Tesla's
competing figures. There were, however, some helpful conclusions:

-- Critics sought to stoke drama: Elon' s denial has him "embroiled in a fresh fight with Wall Street" (The
Times), over refunds that "could trigger domino effect" (Einanzen), as the patience of Tesla fans' waiting for
Model 3 is exhausted (L'Opinion). A damaging Frankfurter Allgemeine Zeitung piece suggested Elon and Tesla
either released wrong or misleading information about Model 3 delivery timeframes to obscure the full picture -
- "something Tesla has previously been accused of" -- or otherwise customers simply aren't converting
reservations to orders.

-- Double-edged sword. In the context of Model 3 orders, we frequently see the fine line between Tesla getting
credit for transforming the car industry and yet being threatened by cut-throat competition from both
incumbents and pure-EV players. Germany's Spiegel and Focus both reference Model 3 order cancellations in
respective features one.Go Mobile and BYD ( "like Tesla, but profitable"), while the UK's The Times cites
European carmakers' plans for an EV charging network to suggest "big players have effectively ganged up on
Musk", who nonetheless "deserves much credit for this rapid social-technological change."

Milltown View: As we expect to see media closely follow Tesla's competition, we need a clear narrative from
Elon over the coming months to remind people that a) the goal for Tesla always has been to catalyse more
innovation in .EVs and injact we welcome it, b) that nonetheless there remains substantial consumer scepticism
which needs to be overcome (a subtle nod to make the case for subsidies and incentive.5), while c) Tesla has
built out signfficant competitive advantages such as investing in its supercharger network and an integrated
offering of solutions for both energy generation and storage.

TESLA REQUESTING SUPPLIER REFUNDS was called out by some critics as an "embarrassing" memo
(Guardian) signalling that Tesla was "begging for cash" (Heise), although Tesla's measured response and
statement helped keep mainstream reporting relatively fair. The Financial Times' coverage of the issue was
balanced in suggesting that wrangling over supply chain costs is "not uncommon" and quoting analysts saying
that the significance was being exaggerated.

DESPITE EVERYTHING, FT SEES A CHANCE FOR TESLA. In further debate on Tesla's financial
health, two pieces in the Financial Times were notably optimistic on Tesla's long-term prospects. Discussing
the rise of credit default swaps for Tesla bonds, the Financial Times quoted analysts cautioning "against
treating the CDS moves as indicative o,fwidespread concern." Second, even FT Alphaville's Dan McCrum
conceded the value of Tesla's brand would prevent it from bankruptcy in the long term.

THE SPACEX HYPERLOOP POD COMPETITION attracted significant press attention in Europe. In the
coverage, Elon is seen to be driving innovation in engineering, even as a champion from the sidelines of a space
he's chosen not to own (BBC; Numerama; Heise). The teams clearly are a source of regional p1ide, as seen
from the levels oflocal coverage in German and Swiss media (Wired.de via Gruenderszene; Bild; Der Bund via
MSN, WirtschaftsWoche).

UK MEDIA PICK ON ELON AND GRIMES, photographed on the sidelines of the SpaceX Hyperloop
competition. Gossip-prone tabloids including the UK's Metro and Daily Mail noted that some mistook Grimes
for Elon' s daughter and trawled Twitter posts in an effort to point out the age gap between Elon and Grimes.

--- ends ---



                                                                                                 Exhibit 51
                                                                                                 Page TESLA000486
                                                                                                       805
  Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 13 of 98 Page ID #:2019

Best wishes for the weekend,

Martin & team



On 20 July 2018 at 18:19, Freddie Williams <fwilliams@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below:

UNSWORTH ATTACK. Elon's personal attack on British cave rescuer Vern Unsworth generated
exceptionally negative European coverage this week. Six takeouts:
•      Before Sunday night, most of those critical ofElon's intervention in the Thai rescue had taken the
authenticity of his intention at face value.
•       But Elon's disproportionate response to Unsworth's comment was met with universal condemnation,
and reinforced longstanding perceptions of him as 'thin-skinned' and egotistical, epitomising the 'bro culture'
of Silicon Valley (FT View Daily Mail; Gruenderszene).
•      The tweet also prompted some to accuse Elon of racism (Daily Mail), although this take was not as
widespread as might have been expected.
•       The scandal cut right through to mainstream consumer awareness in Europe to a degree we have rarely
seen in coverage of Elon before.
•       Predictably, criticism spilled over into scrutiny of Tesla's stock price (The Guardian; Le Monde), and
Elon' s leadership of his companies (La Tribune; Spiegel).
•       While the eventual apology landed with most media, it was painstakingly dissected by Wired as a 'non-
apology', painting Elon as the victim, and only reluctantly taking responsibility. The episode is likely to linger
as a central pillar of the case against Elon for those seeking to build one.
Milltown View: Elon is best positioned as David.fighting Goliaths: incumbent car companies, Presidents, even
(to a lesser extent) la,ge media organisations. As the challenger, he is given more license to operate on the
edge(?/acceptability. An attack on an individual like Unsworth.flips this dynamic, instantly casting him as the
big bad tech executive with no regard.for the regular people.

Equally damagingly, the use of twitter to pick ang1y fights with individuals risks reinforcing two unhelpful
perceptions: a) that Elon is cracking under the pressure of Tesla's production challenges; and b) that he is not
mature enough to lead the company without more 'adult' supervision.

GOP PAC DONATION. This week's allegations spurred accusations of hypocrisy in Europe, where the
widespread toxicity of Trump and the Republican Party tarnishes Elon by pure association (Dail v Jvfail). A
conspiratorial FT Alphaville suggested Elon' s Unsworth attack was intended to distract from the FEC filing.

MUNRO NOW APPLAUDS MODEL 3. Sandy Munro & Associates' u-tum on Model 3 -- surprised by
design features and profit margin -- didn't cut through the noise in top-tier UK and French media. There was
limited pickup in Germany; Fool.de argued the findings confirm German carmakers should be worried.

TESLA v GERMANY. Welt reports Tesla is suing the German government in the dispute over Model S
subsidies, suddenly revoked last year. While Tesla promised Model S owners they won't be affected, Welt
concludes refunding customers €2m wouldn't hit Tesla too hard whatever the outcome.




                                                                                                  Exhibit 51
                                                                                                  Page TESLA000487
                                                                                                        806
 Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 14 of 98 Page ID #:2020

FUTURE OF LIFE PLEDGE. Ahead of the UN meeting on lethal autonomous weapons next month, Elon
was well-positioned in coverage of the Future of Life open letter as a leading tech figure and outspoken
advocate of the dangers of AI (Daily Mail; Le Monde). To some extent this coverage was drowned out by
fallout from the Unsworth scandal and Google's Android fine dominating headlines.

-- ends --

On Fri, 13 Jul 2018 at 18:36, Martin Schmidbaur <mschmidbaur@milltownpartners.com> wrote:
 Dear all,
 As ever, please see below for our UK/European media intelligence summary.

THAI RESCUE: ELON THE ENGINEER VS ELON THE PUBLICITY PRO. Coverage ofElon's
intervention in the Thai cave rescue started out overwhelmingly positive, but turned sour over the course of the
week -- breaking down into two familiar camps:

-- A reminder of Elon's engineering credentials. The visuals of the sub being tested, and Elon's public
discussion of innovative technical solutions meant that early coverage of the cave rescue strongly played into
the perception of Elon as an engineer at heart and emphasised the excellence of his engineering teams (AFP via
The Telegraph, Numerama). Much like WIRED's US coverage, the UK's Telegraph fought Elon's comer,
detailing how he put his companies' technology and ingenuity into action in the face of "increasingly
desperate [rescue/ efforts", while Numerama picked up on the trending #FixEverythingElon hashtag (see also
The Guardian print; L'Opinion; Le Point).

-- The cynics take over. Unsurprisingly, commentators both on social media and in the press took swipes at
Elon's "grandstanding" (Guardian) and "macho" rescue efforts (Financial Times), arguing he distracted from
the rescuers' achievements (see also BBC; Welt). Elon's response to the BBC's tweet offered media the
chance at another news cycle about Elon defending his motives and inviting comparisons to other recent
clashes with the press (e.g. The Times). In an attempt at a balanced summary ofElon's impact, the Financial
Times' Gillian Tett argued Elon "misstepped' in Thailand, but he "remains broadly a force for good. "

SHANGHAI SUCCESS. Despite a week heaving with coverage of Elon, the announcement of a new wholly-
owned Tesla factory in Shanghai received significant attention, boosted by the well-publicised Asia trip and
brewing trade war. Variously described as "groundbreaking' (Financial Times) or a "great leap forward' (Les
Echos), the deal was generally portrayed as a strategic advantage for Tesla (Manager Magazin). Perfectly
timed to coincide with coverage of China's 25% rise in retaliatory tariffs -- hitting Tesla with a $20k price hike
-- Elon was credited for moving quickly to capitalise on the country's foreign ownership rule change to double
Tesla's future production (Guardian; Handelsblatt). FT Alphaville pointed out Gigafactory 3 projections for
500k cars per year is a standard aspirational figure given by carmakers, and seemingly delighted at ending on a
sardonic comment from Tesla congratulating the paper on its "500,000th negative article about Tesla! Ve1y
impressive!"

TESLA VS NORWEGIAN TRANSPORT MINISTRY. In the wake of reports about consumer complaints
by the Norwegian Consumer Council (NCC), Reuters quoted the Norwegian Transport Ministry pushing back
against earlier claims by Elon, saying Tesla had not yet filed an application for the mobile service vans he
hinted at. Germany's Finanzen also revisited the issue but focused on Tesla's efforts at resolving customer
service challenges in Norway.

TESLA'S US SUBSIDIES. Bittersweet news with The Telegraph reporting a 'bump in the road' for Tesla as
the first company to hit the 200k sales threshold, which will see subsidies cut from next January.

--- ends ---



                                                                                                 Exhibit 51
                                                                                                 Page TESLA000488
                                                                                                       807
 Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 15 of 98 Page ID #:2021


Best wishes for the weekend,

Martin

On 6 July 2018 at 17:57, Freddie Williams <fwilliams@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below.

"A REAL CAR CO1"1PANY". There was no hiatus from tough media scrutiny following Monday's
announcement that Tesla had hit a new production high. While some applauded the milestone, most followed
quickly with previous missed targets and precarious financials (WirtschaftsWoche; Daily Telegraph; BBC).
Media were left asking three questions:

-- How significant is the 5k milestone? Many compared Tesla's production numbers with those of its global
incumbent competitors. Media across the spectrum delighted in Ford EMEA CEO's snarky tweet, while Focus
pointed out that if current production is sustained, Tesla will make as many cars this month as VW does in a
day. Spiegel gave Elon credit for transforming the way publics everywhere think about electric cars, but argued
that Tesla can't afford to stall on Model 3 with incumbents catching up.

-- Are production increases sustainable? Sceptics questioned whether Tesla can continue to scale
manufacturing when 'unconventional' and 'extraordinary' measures were needed to meet the target. The
'improvised' tent in particular stoked doubts about whether the company can boost or even maintain current
levels of production in the near term (Financial Times; Manager Magazin; Welt). Automation and efficiency
were another focus, and Les Echos accused Elon of arrogance for his earlier claims of a revolution in
manufacturing.

-- To what extent has Tesla been 'cutting corners'? Media speculated on the implications of intense
pressure for working conditions and production quality. Amid criticism oflong hours that reportedly turned
Fremont into 'hell' (Numerama; Reuters via Handelsblatt), Elon was portrayed as stressed and frayed (Le
Monde; Bild). Helpfully, we saw surprisingly little pickup of the specific allegation that brake testing had been
suspended (Finanzen; Daily Telegraph), although wider concerns around production quality did feature in
reporting (Daily Mail).

DOUG FlELD'S DEPARTURE. Confirmation that Doug Field won't return to Tesla triggered commentary
on the turnover ofleadership, but was largely treated as a footnote to the week's other events (Financial Times;
Handelsblatt). Some suggested Field had been a primary figure at the company who'd been actively sidelined
(Les Echos; Handelsblatt).

GUARDIAN RESURFACES CRONY CAPITALIST MEME in two pieces arguing that the Gigafactory is
loss-making for Nevada. First, an investigative piece considered the impact on public services and housing,
calling the tax breaks 'corporate welfare' and concluding the community's fortunes are dependent on Tesla's
success. Second, a wide-ranging survey assessed government incentives offered to various Big Tech projects,
claiming Nevada's bet on Tesla may never pay off

BP IS BUYING CHARGEMASTER, the UK's largest charging network, in another sign of Big Oil trying to
get ahead of EV disruption. "We have no doubt that the electric vehicle market is growing and will become a
significant part of the transport sector in future", a BP spokesperson told the BBC. Shell acquired the
European network NewMotion in 2016.




                                                                                                 Exhibit 51
                                                                                                 PageTESLA000489
                                                                                                       808
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 16 of 98 Page ID #:2022

THAI CAVE RESCUE. After passing references to Elon' s offer of help in reporting about the trapped
children this week, confirmation that he is following through and sending Boring engineers to Thailand set off
a fresh wave of positive repo1iing late Friday (BBC; Daily Telegraph; NTV).

ELON'S PLAN FOR UK SOLAR FARM, a rumour Tesla has already denied, was peddled by the major
tabloids and widely shared on social media in the UK this week (Dailv Mail; Sun; Metro).

-- ends --

On Fri, 29 Jun 2018 at 17:36, Martin Schmidbaur <mschmidbaur@milltownpartners.com> wrote:
 Dear all,

 As ever, please find this week's weekly UK/European media intelligence note below.

UK REPORT QUESTIONS TESLA'S ENVIRONMENTAL CREDENTIALS, REDUX. A UK-focused
study of CO2 emissions led to a trickle of negative (and blatantly one-sided) headlines: "Tes/as are not
cleaner to run than the average car in the UK". The Sunday Times' article presented the case made by
Engaged Tracking researchers -- that Model S emits more than ICE sedans due to the UK energy grid's
reliance on coal and gas (see also Daily Mail).

Milltown View H1: Tesla's response, included in the article, was strong in calling out the misleading
comparison to cars of different sizes. We suggest in the fitture also focussing on the bigger-picture energy
ecosystem -- the way we generate, store, and consume energy are all necessmy to achieve a clean transport
system -- rather than narrowly disputing technical claims. Separately, we also have yet to see more rebuttals
of this line ofargument from third parties. Tesla's long-term ambition should continue to be building up a
credible body of third-party supporters to refute inaccuracies and criticism.

MORE COMPETITION FOR GERMAN GIGAFACTORY. Both national and regional papers in
Germany have continued to follow up on a potential Gigafactory located in Germany. Interest has been
especially high in the states of Rhineland-Palatinate (Rhein-Zeitung) and Saari and, where the local
government leaders wrote a letter to Elon in a bid to emphasise both the automotive and tech credentials of
the region (Saarbrucker Zeitung, Handelsblatt; FAZ).

"RUDE AWAKENING" FOR GOLDMAN SACHS. While some business outlets picked up Goldman
Sachs' dim prediction (Les Echos), Reuters substantiated the claims by quoting Tesla workers saying the
Model 3 target will be missed. More helpfully, other outlets ran with the soundbite in Elon's leaked email to
staff suggesting Goldman Sachs "are in for a rude awakening" (Bloomberg, Finanzen; Dailv Mail). FT
Alphaville focused instead on whether equity traders will track the bond market, leading to another period of
volatility for TSLA.

SOCIAL ENTREPRENEUR. In another bold show of Tesla charging full speed ahead with self-driving
technology despite some public reservations, Elon's teaser of an enhanced Semi 'Mad Max' mode largely
played well and without being singled out by AV critics (e.g. Finanzen via MSN). The Daily Mail favourably
positioned Elon's engagement with fans on Twitter. Separately, we saw little coverage ofElon's discussion of
the Tesla pickup outside of tech and automotive press (Dailv Mail).

Milltown View #2: Even if initial pickup of the idea has been relatively contained to .friendly constituencies,
the notion of a "Mad Max" or ''Aggressive" driving mode of course has the potential to irk Elon 's critics and
open an avenue ~f attack centered on irresponsibility. However, this week again showed Elon is at his best on
social media when he's engaging.fans around innovative new products.

THE 'UNICORN AFFAIR' drew some unwelcome, if largely harmless, attention late in the week. News of


                                                                                              Exhibit 51
                                                                                              Page TESLA000490
                                                                                                    809
 Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 17 of 98 Page ID #:2023

Tesla's alleged misuse of the image got laughs and some tongue-in-cheek coverage, but Elon's 'angry'
response on Twitter provoked more, otherwise unnecessary, reaction (BBC; Telegraph; Handelsblatt, Vanity
Fair FR).

AD ASTRA 'SECRET SCHOOL' AT SPACEX. Elon's little-known school for 'child entrepreneurs' in
Hawthorne provoked mainstream media interest in Europe following Ars Technica's discovery of the 2015
IRS documents. The Telegraph offered a slightly sceptical take on Elon and one of his "most secret ventures"
and attempt at educating "the next generation of child geniuses". Other reporting positively reflected on Elon
pushing the boundaries in yet another sector (Daily Mail; The Times).

SPACEX SUCCESS AS ARIANESPACE FALTERS. We've seen some helpful coverage for SpaceX this
week: first, Les Echos called attention to the first Falcon Heavy contract and Gwynne's thanks for USAF's
vote of confidence. Second, Arianespace will reportedly miss this year's launch target, and is shifting focus to
Ariane 6 to challenge Falcon 9 (Reuters via Daily Mail; Le Figaro with AFP). At the time of writing,
the Daily Mail was among the few outlets to report on the payload (''floating AI brain") of today's launch of
the last Block 4 Falcon 9.

--- ends ---

Our best wishes to the team,

Martin

On 22 June 2018 at 18:31, Freddie Williams <fwilliams@,milltownpartners.com> wrote:
All,

Please find this week's UK/European media intelligence note:

SABOTAGE + PARANOIA. Tesla's claims of a corporate saboteur piqued interest in European media this
week. For most writers, the claims reinforced a culture of blame and finger-pointing, against the backdrop of
serious business challenges.

-- Saboteur or whistleblower? The Financial Times doubted the strength of the case against Martin Tripp,
arguing it fell "short of the dark warnings" outlined in Elon's leaked email, while uncharacteristically
opinionated reporting from the BBC's Dave Lee discussed "Musk'sfury" about Tripp's alleged
whistleblowing. Predictably, The Guardian was more sympathetic to Tripp's claims of scapegoating ( "This is
obscene ... It feels like I have no rights as a whistleblower "), while Manager Magazin focused on the
allegation of damaged batteries in light of recent fire safety concerns.

-- 'War on truth'. Elon's suggestion Big Oil and others were to blame was widely positioned as a distraction
or paranoia (DW; Heise). Even straight reporting that took the allegations at face value pointed to Elon's
'sensitivity' to criticism (Times; Telegraph; Manager Magazin). FT Alphaville's Jamie Powell described
Elon's emails as conspiratorial and dismissed his 'fixation' on short-sellers.

FACTORY 2.0. Fremont remains under intense media scrutiny, with every twist and turn taken as a signal on
Tesla's likelihood of meeting the 5k production target. Elon's third leaked email -- rallying for "radical
improvements" -- incited further doubts (Daily Mail; WirtschaftsWoche), as did coverage of the parking lot
tent housing a new Model 3 production line (Spiegel; Manager Magazin). Focus typifies the response of
European media: that Elon' s enthusiasm for "Factory 2. 0" masks increasing desperation.

Taking a step back, we see a growing media consensus that drastic action is needed at Tesla, and deep
scepticism ofElon's leadership. This week, Handelsblatt argued Tesla is coming to a fork: Elon has to get his


                                                                                                Exhibit 51
                                                                                                PageTESLA000491
                                                                                                      810
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 18 of 98 Page ID #:2024

 house in order and cash bum in check keep investors happy. Similarly, an FT Big Read published late last
week amplified critics who say "Tesla and its chief executive are in danger of unravelling operationally,
financially and psychologically". Reinforcing this picture, a WirtschaftsWoche comment piece argues Elon is
 'desperate' and 'paranoid', and that 'ousting' him is the only answer to Tesla's problems.

Milltown View: while Elon has made efforts to manage media expectations around his 'overly optimistic'
production targets, the intense.focus on Model 3 production presents a major reputation risk. Tesla should
look to communicate more medium and long-term objectives, beyond Model 3 targets, in order to mihgate the
fallout from falling short.

SAFETY SCRUTINY. Video of a Model S 'spontaneously' spewing flames on Santa Monica Blvd caused
concern, with mixed reaction to Tesla's statement and scepticism around the company's long-term safety
record (B:G,C; AFP via L e ~ - Whether it was Tesla or the celebrity factor that drove sharing, Finanzen
helpfully pointed to Nassim Nicholas Taleb's tweets outlining the statistical reality: 150-200k vehicle fires a
year in the US.

GERMAN GIGAFACTORY. Handelsblatt reported excitement among regional leaders in Germany after
Elon teased a possible location for the European gigafactory on the German-French border near Benelux. The
story picked up widespread coverage in German tech (Wired), automotive (Auto Motor und Sport) and
regional press (Saarbriicker Zeitung).

RISE OF CHINESE SPACE. The Economist reports that despite the rapid advance of China's OneSpace, its
ambitions are smaller than SpaceX -- "America's leading private space company". The Dailv Telegraph
gives Elon credit for inspiring OneSpace and other Chinese startups, LandSpace, LinkSpace, and ExPace.

-- ends --

On Fri, 15 Jun 2018 at 19:05, Martin Schmidbaur <mschmidbaur@milltownpartners.com> wrote:
 Dear all,

 As ever, please see below for our weekly UK/European media intelligence note.

 JOB CUTS AND A CHANGE OF TONE. Coverage of job cuts at Tesla was relatively balanced. Top-tier
 outlets seized on Elon' s admission that profitability is a "valid and fair criticism" (Financial Times; BBC).
 Some helpfully picked up on Elon' s ongoing reorganisation as a means of keeping the 'startup culture' alive,
 and emphasised fundamentally good relations with employees who believe in Tesla's mission (Handelsblatt;
 Manager Magazi~1; Numerama). Of course, there was some criticism over volatility at Tesla and framing of
 the cuts as a 'half-hearted' recognition of investors' concerns (The Telegraph; Les Echos; Welt), but the
 broadly positive reaction was well-summarised by FT Lex: Elon's "change o.f tone matters."

 LABOUR RIGHTS. The NLRB testimony got little pickup (Reuters via Daily Mail) in European media,
 except in some German titles which tend to follow automotive union debates more closely. Der Spiegel's
 critical take suggests the case "could spell more trouble for Elon", and Mana_@r Magazin suggested that
 Elon doesn't deal well with dissent. Relatedly, The Guardian ran a thinly-veiled pro-union piece, attacking
 Elon for 'broken promises' towards injured staff, who are portrayed as 'paying the price' for Elon being
 overly ambitious.

 ELON SIGNALS CONFIDENCE WITH INVESTMENT. Elon's $25m investment demonstrated his
 continued commitment to Tesla's success over-and-above reassuring investors. While media inevitably
 suggested this was a "strategic manoeuvre ... to show his optimism" (The Telegraph), most coverage took the
 signal at face value -- a doubling-down on Tesla (Handelsblatt; Finanzen).



                                                                                               Exhibit 51
                                                                                               Page TESLA000492
                                                                                                     811
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 19 of 98 Page ID #:2025


ELON'S AUTOPILOT PROlVIISE to deliver full self-driving capability by August provoked more
scrutiny, and some damaging replay of recent accidents (Daily Mail; DP A via WirtschaftsWoche). We saw it
framed as Tesla getting ahead of regulators and pushing on despite investigations (Numerama; Bild). The
Telegraph asked whether Elon' s "controversial driving technology" is "ready for the road."
-- Separately, UK coverage around Autopilot was fueled by a Association of British Insurers' (ABI) report
claiming that driver assistance systems present safety risks and shouldn't be "oversold'. FT Alphaville
followed up on previous criticisms, while also quoting (not unhelpfully) the authors of the ABI report:
"[Autopilot is] great! Potentially too good, as it lulls drivers into a false sense ofsecurity". A Thatcham
Research demonstration for the BBC offered some unhelpful visuals of the weaknesses within the current
version of Autopilot.
--The Telegraph's reporting underscores the Catch-22 for Tesla, given that as a successful first-mover Tesla
bears the brunt of criticism on driver-assistance features. Similarly, Tesla's move to increase warning
messages was reported to have alienated drivers (Daily Mail).

l\UXED-BAG FT ALPHA VILLE. Departing from the blog's usual cynicism, Jamie Powell's refreshing
takedown of Tesla's cash-burn critics nicely compliments Elon' s vision for the company advancing
electrification over profits. Using the 19th century railroad boom as a historical analogy, Powell argues that
Elon "has succeeded in transforming how the general public perceives electric cars".

Insider View: Last week Milltown had a one-to-one with Jamie Powell, during which he shared some views
on Elon and Tesla (prior to the above piece andjob cuts announcement). Powell is particularly interested in
Elon 's relationship with shareholders and how he disregards normal investor relations practice, citing the
recent earnings call. Powell wasn't generally hostile to Elon, and highlighted that a large portion of
shareholders still trust him and value the company on different metrics, a belief in Elon and his wider
impact.

BORING'S FIRST BIG WIN. The Financial Times argues that the Boring Company Chicago-O'Hare deal
"lends credibility to one ofMr Musk's more ambitious ideas" (see also The Times). There's a general sense
of surprise the 'newcomer' beat out established players, even though there was some scepticism saying the
plans and costs are as yet unproven (Les Echos; Finanzen).

'NOVELTY' PRODUCT TEASERS continue to drive coverage ofElon's unique appeal. 'Whimsical'
scenes of fans collecting the first batch of the 'Not-A-Flamethrower' got the media's attention, as did Elon's
humorous T&C tweets (Guardian; Numerama; Finanzen). Separately, his tweet about a SpaceX package for
Roadster created fresh buzz across consumer, tech, and financial titles about whether he's joking or serious
(Dailv Mail; L'Usine Nouvelle; Finanzen).

--- ends ---

Enjoy your weekend,

Martin & team

On 8 June 2018 at 18:10, Freddie Williams <fwilliams@milltownpartners.com>wrote:
Dear all,

Please find this week's UK/European media intelligence note below:

TESLA TURNS A CORNER AT AGM. We saw relatively light European pickup ahead of this week's
AGM (Les Echos; Handelsblatt), but the event was widely reported after the fact, with the majority of
coverage broadly positive. A few insights:



                                                                                               Exhibit 51
                                                                                               Page TESLA000493
                                                                                                     812
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 20 of 98 Page ID #:2026

: -- Media verdict. Elon's show of humility, passion, and emotional investment in Tesla played well. Several
  headlines followed The Independent -- "Elon appears emotional" -- and emphasised assurances that Tesla
  has turned a corner after the most "hellish several months" (Daily Mail; Handelsblatt). A separate Financial
  Times op-ed gives Elon credit for listening to shareholders (unlike other Big Techs) but argues he clearly has
  little appetite for media scrutiny.

 -- Short squeeze. Business bulletins reported a surge in TSLA stock following "upbeat targets" (Financial
 Times; The Times). The Financial Times' Richard Waters directly attributed the bounce to Elon's
 "optimistic" projections and a new "calmer" tone. Finanzen reported analyst estimates that this week's
 gains may have cost short-sellers $1bn.

 -- Shareholder intrigue. Though most reporting cut straight to supermajority support, there was some
 interest in those who opposed Elon -- in particular the Norwegian SWF and Jing Zhao (Tel~ragh; Le
 Figaro). Manager Magazin argued the result was never in question for the simple reason that Tesla wouldn't
 work without Elon.

 -- Some criticism ... Some German press was more sceptical, spinning familiar lines about Elon being on the
 defensive (Focus). More pointedly, Welt alleged Elon made false claims about the popularity of German cars
 at the AGM. Over at FT Alphaville, Alexandra Scaggs posted a long-winded tirade, concluding Elon doesn't
 have an "eight-dimensional" strategy to "distract investors" but is instead simply "seff-destructing".

  CRASH REPORT. The NTSB's preliminary findings -- suggesting both car and driver were at fault --
  received mixed treatment, but as yet there's no significant European coverage (Le Figaro). The Financial
• Times replayed tensions between Tesla and investigators, while The Independent simply reported the facts,
' noting that findings confirmed Tesla's earlier statement about the driver's hands being off the wheel. Jemima
  Kelly at FT Alphaville accused Elon and Tesla of "misleading" customers about Autopilot.

 MODEL 3 REFUNDS. There was surprisingly little interest in Recode's report on Model 3 deposit refunds.
 The claims made a splash in Manager Magazin, but was followed up by only a few German outlets (Bild).

 CATCH TESLA. Elon and Tesla continue to get credit for 'forcing the hand' of incumbents on
 electrification. Daimler's new electric trucks picked up plaudits this week, but WirtschaftsWoche suggests it
 may be too late to compete with Tesla (see also Reuters via Daily Mail; Les Echos). Elsewhere, JLR's I-Pace
 got rave reviews (Telegraph, Challenges) and Porsche Mission E Cross Turismo also impressed with
 performance (SPX via Welt).

 CATCH SPACEX. Space developments peppered news this week amid a €16bn boost for European space
 programmes in the 2021-27 EU budget (Politico). Separately, industry players were described as struggling
 to "keep up" with Elon. First, The Telegraph reports Russia is pushing for reusability, but the paper
 dismisses the plans as ''far behind" SpaceX. Relatedly, Les Echos called OneSpace the "Chinese SpaceX"
 as Beijing aims to boost private space. Finally, we saw some -- broadly neutral -- reporting of delays to
 Elon's plans to send tourists around the moon (Daily Mail; Spiegel).

 -- ends --

 On 1 June 2018 at 18:36, Freddie Williams <fwilliams@milltownpartners.com> wrote:
 Dear all,

 Please fine this week's UK/European media intelligence note below:

' MODEL 3's GOOD WEEK Tesla's rapid response update reversed negative European media sentiment on
, Model 3 seen last week. Most pieces highlighted commentators' amazement at what were described as


                                                                                               Exhibit 51
                                                                                               Page TESLA000494
                                                                                                     813
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 21 of 98 Page ID #:2027

"unique" over-the-air updates, and Elon' s constructive appreciation for the critical feedback from Consumer
Reports proved highly effective in resetting the tone of reporting (Financial Times; Handelsblatt;
Numerama).

To reinforce the turnaround, a widely-shared WirtschaftsWoche piece (tweeted by Elon) reported that
German experts dissecting a Model 3 concluded it could realistically be sold at profit for $28,000. The piece
went on to argue Tesla is ''.further ahead of the competition than previously anticipated" in battery
technology. Finally, Elon's tweet that Model 3 would ship to Europe in 2019 got some cut-through in
Germany (Heise; DPA viaHandelsblatt)

DAILY WHAT? We saw surprisingly low pickup of the Daily Beast essay attacking Elon for complicity in
what was described as the abusive behaviour of his fans (Metro). Numerama offered among the most
extensive analysis, highlighting Elon's ability to inadvertently mobilise the far-right with a single tweet, and
directly criticised his attacks on media.

Milltown View. Based on this week's evidence, media hold a higher tolerance for Elon calling out specific
articles andjoumalists than.for the kind,:; of sweeping attacks seen in recent weeks. A core challenge.for
Elon now is his association with the behaviour ofhis followers. Any perception that he is fostering, or even
tolerating, the trolls will serve to reiriforce the longstanding meme that Elon 's values are at odds· with the
broadly progressive agenda of mainstream European media. Any opportunity to correct that should be
grasped with both hands.

SUPERCHARGED. Elon's Supercharger map got some cut-through in European media, helping to tackle
persistent range anxiety. A helpful feature in Le Figaro credited Elon's forward-thinking for investing in
infrastructure to rival ICE alongside development of the cars themselves (see also Daily Mail).

AV INCIDENT FATIGUE. In early sights of media fatigue, recent Autopilot incidents drew fewer deep-
dives and less hard-cutting criticism then predecessors. Guardian reporting on the latest suspected Autopilot
collision with a parked Laguna police cruiser also noted the limitations of competitor systems (e.g. Volvo).
We saw few reports of last week's accident in Greece (L'Usine Nouvelle) or allegations of a crash in
Brussels (Bloomberg).

BRANSON AND BEZOS may have stolen the space race limelight in European media this week, but Elon
and SpaceX continue to be the global benchmark for space innovation. Richard Branson's claims to be neck-
and-neck with JeffBezos for the first manned flight (BBC; Les Echos), along with Bezos' moon-bound
ambition both grabbed headlines. But these kinds of innovations are always positioned in reference to Elon's
grand vision (Les Echos; Dailv Mail). More broadly, a Financial Times op-ed argues that Washington's
increasing reliance on Silicon Valley to counter China raises serious questions about the concentration of
power.

THE END OF OIL. According to the Financial Times, big oil is starting to see the writing on the wall. The
question is no longer if but when EV and AV technologies will cut them out of transportation altogether, and
firms are starting to make longer-term clean investments to prepare for disruption.

-- ends --

On 25 May 2018 at 18:15, Freddie Williams <fwilliams@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below.




                                                                                                Exhibit 51
                                                                                                Page TESLA000495
                                                                                                      814
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 22 of 98 Page ID #:2028

CONSUMER REPORTS' challenging review of Model 3 was widely reported but led to surprisingly little
negative commentary. Elon and Tesla's measured response, promises for a software update and no-cost fix if
necessary, played well (Manager Magazin; The Times; Reuters via Daily Mail). Characteristically, The
Times reflected on Model 3 being simultaneously "lauded and lambasted" by investors and media (see
below). The most negative coverage -- for example this opinion piece in Handelsblatt -- argued that product
defects are more of a concern for the future of the company than its financial precariousness, and replayed a
series of difficult weeks for Tesla (J?BC).

Separately, an unusually pessimistic Economist leader argued that based on Tesla's current
trajectory, a hostile takeover is no longer unimaginable.

MODEL 3 PERFORMANCE. Elon's surprise unveiling of plans for a high performance version of Model
3 was the hook for familiar commentary on its centrality to Tesla's future (Guardian; Numerama;
Handelsblatt). Many honed in on cost following Elon's admission that the higher-margin Perfonnance was
critical given current levels of production, and questioned whether a $35k offering will ever be feasible
(Guardian; Numerama). But reaction was mixed: while WirtschaftsWoche argued delaying affordable cars
could cost reservations and increase uncertainty, Finanzen framed the decision as good news for Tesla given
investors' enthusiasm and favourable forecasts.

Relatedly, Manager Magazin reported Model 3 registrations in California topping BMW 3-Series and
Mercedes C-Class as a significant win in a major, trend-leading market.

PRAVDA. Elon' s busy week on Twitter attracted a high volume of shallow coverage, as well as unhelpful
deeper dive analyses and backlash from influential journalists. Unsurprisingly, the idea of rating media based
on trust elicited strong reactions from .... media (The Independent; Les Echos; Wtlt).

Two key themes to draw out:

-- Trump's strategy. Unhelpful comparisons with the President littered headlines this week. The Times
criticised Elon's tweets as inexcusable, while a Guardian quiz asked "Who said it -Donald Trump or Elon
Musk?" (see also .Quartz quiz: Elon vs. Kanye); Welt argued that discrediting media would only fuel
investors' scepticism. For the most part, Elon's twitter-based defence failed to calm the storm.

-- Elon's character. Other analyses went deeper, positioning this week's comments as further evidence of
Elon's "fbjrash and blunt" character (The Telegraph). A Times leader called him 'thin-skinned' with a low
tolerance for scrutiny. Handelsblatt positioned Elon as under pressure and on the offensive since the analyst
call. A handful were more forgiving: "The best defence is a strong offence" (!:,e fig_aro).

Milltown View: While Elon probably has the broad support base to successfully land precise hits on
individual journalists and outlets as a last resort, these kinds of broad, non-spec{fic attacks make an enemy
of eve,y journalist. That was evidenced this week's by the highly objective BBC's response describing Elon 's
tweets as a "bitter attack on the press".

AUTOPILOT remained in focus this week. The BBC's Theo Leggett asked 'who's to blame' for self-
driving car accidents, singling out semi-autonomous systems for causing confusion. Relatedly, Welt
suggested Tesla's safety record was indicative of Tesla owners rather than the cars themselves. Despite this
heightened attention, we saw relatively little European pickup of consumer rights groups' letter to the FTC
urging an investigation of "deceptive and misleading" advertising of Autopilot (BBC; Reuters via Dailv
Mail).

WHO'LL WIN IN CHINA? Interest keeps growing over the implications for carmakers of China's
proposed tariff cuts. Les Echos looked into the benefits for luxury brands, agreeing with others that Tesla


                                                                                              Exhibit 51
                                                                                              Page TESLA000496
                                                                                                    815
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 23 of 98 Page ID #:2029

• will be a big winner, and PW similarly reports German carmakers are encouraged by the lower import costs.
  Importantly, Elon's intervention in the debate months ago is still a reference point in reporting on Chinese
  trade developments (Reuters via Daily Mail).

 -- ends --

 On 18 May 2018 at 19:32, Martin Schmidbaur <mschmidbaur@milltownpartners.com> wrote:
 Hi all,

 As ever, please find our weekly UK/European media intelligence note below.

 TESLA EXECUTIVE DEPARTURES. Despite a trickle of reports of executive departures over the past
 months, much of the coverage around leadership changes took Elon's message of a 'reorganisation' at face
 value (Financial Times; Les Echos; BBC) and pointed to the fact that Elon warned of a shake-up weeks ago.
 Inevitably, however, some reports framed Doug Field's 'break' and Matthew Schwall's departure as
 "setbacks" (Reuters; Finanzen). FT AJphaville' s typically critical take suggested Elon was not in fact
 "grabbing the ... bull by the horns", but having to rethink Tesla after "the avalanche qfexecutive departures
 over the last three years". The Daily Mail ran a sensationalist headline connecting Doug Field's leave from
 Tesla with "concerns of their cars exploding" (see below).

 BATTERY FIRE FEARS. Reports of recent Tesla battery fires reflect familiar safety concerns, despite
 receiving limited pickup. First, emergency responders and media were quick to blame the battery in the fatal
 accident involving a German driver and Model X in Switzerland (DW; DP A via Handelsblatt). Second,
 tabloids Bild and Daily Mail ran sensationalised reports of the 101 crash battery reigniting and the inability
 of emergency services to safely dispose of batteries.
 On the flip side, while media remain seemingly obsessed with visuals of burnt-out Teslas, we also see equal
 levels of media appetite for running stories about eye-catching Tesla demonstrations like the Model X
 towing a Dreamliner (Daily Mail, Krone).

Milltown View: As Tesla continues to dispel EV 'range anxieties', Elon could take proactive steps to
reassure stakeholders <?fbattery safety like the 2013 blog or an awareness/education campaignfiJr
emergency responders. Regularly publishing Autopilot safety reports is a good step, but taking a more
proactive public position on sqfe and sustainable battery disposal would be another effective way of building
goodwill.

 AV TECHNOLOGY UNDER ATTACK. In the wake of several AV related incidents in recent weeks,
 debate over the safety of AV technology is intensifying in the media. In relation to the Tesla crash in Utah,
 The Guardian criticised that semi-autonomy can "lull drivers into afalse sense of security" (here), arguing
 Tesla "repeatedly cast blame on the driver" instead of the technology (here). More positively, The Telegraph
 concluded that "overall the brand's safety record appears to be better than for other manufacturers".

 --- Elon's response to the Utah crash was itself heavily scrutinised. Questions over whether Elon's defensive
 tweet was a "PR stunt" (Bild) and the new NHTSA investigation further fuelled the fire (Guardian, Heise,
 AFP via Le Figaro; Le Point).

 -- Similarly, while European media covered Elon's/Tesla's robust response to the WSJ's report on the use of
 eye-tracking technology, this provided an unhelpful backdrop to the debate about AV technology (Daily
 Mail).

 -- Separately, Deep.Mind Founder Dem is Hassabis was quoted in British press urging caution on self-driving
 cars. He focussed his criticism on the hasty roll-out of AV technology with insufficient testing. (The
 Telegraph; Daily Mail)


                                                                                               Exhibit 51
                                                                                               PageTESLA000497
                                                                                                     816
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 24 of 98 Page ID #:2030



 MODEL 3 AND SOROS. Reuters' report of additional pauses in Model 3 production sparked commentary
 in several German outlets that investors were spooked again -- fraying nerves about progress on ramping up
 production and the implications of Doug Field's leave of absence (Finanzen; WirtschaftsWoche; Spiegel).

 Other, more helpful news of George Soros' 'bet on Tesla' got a surprising amount of pickup. While largely
 portrayed as a 'vote of confidence' in Tesla (.8-lill; Reuters via Daily Mail), FT Alphaville was predictably
 sceptical about Soros' true motivation.

 TESLA SHANGHAI. Speculation around Tesla's continued expansion into China followed reports that
 Tesla registered a new company in Shanghai with plans for a wholly-owned factory in the free-trade zone
 (Finanzen; AFP via I/Express). Separately, FT Confidential Research suggests there is unlikely to be
 significant change in Chinese car-buying even if tariffs fall, due to higher import prices and growing
 confidence in domestic brands.

BORING FORUM. The community event drove a significant amount of favourable coverage, even in
European media. The Financial Times digs into the importance of the proof of concept and emphasises the
synergies between Boring Co and SpaceX, while other European media offered glowing reviews ofElon's
charismatic pitch and vision (The Times; Numerama).

 --- ends ---

On 11 May 2018 at 18:39, Freddie Williams <fwilliams@milltownpartners.com> wrote:
Dear all,

Please find this week's UK/European media intelligence note below:

EARNINGS CALL INTRIGUE CONTINUES. Elon's social media provocations extended the life of
earnings call reporting across Europe, and prompted unhelpful deeper-dive analyses into the state of Tesla.

-- Elon's share purchase received some coverage; media focussed on the narrative that Elon is baiting short
sellers and throwing money at the problem (finanzen). Again, Elon's confrontational tweets -- e.g. "Jfyou 're
short, I suggest tiptoeing quietly to the exit" -- may win the praise of fans, but vindicate sceptics who argue
he seems increasingly on the defensive.

-- Buffett. Inevitably this mini-spat drove significant pickup. While some journalists took the bait, writing
serious comparisons positioning Elon at the forefront of the new economy versus Buffett's traditional model,
others framed it as another billionaire boys club tiff (Dailv Mail; Numerama).

-- Elon's staying power questioned. A hard-hitting feature in L'Obs attacked Elon's 'condescending
attitude', arguing his position will be untenable if investors aren't satisfied with Model 3 numbers in June. Le
Mende ran similar themes -- first analysing recent challenges and familiar criticisms, before zeroing in the
idea it is Solar City holding Tesla back. On the topic of Q 1, FT Alphaville' stake on Tesla's debt was one of
the most widely shared stories this week.

ANTICIPATING TESLA'S AGM. German media led speculation about possible shareholder drama,
following last week's proposal to replace Elon. Welt focused on CtW Investment Group's advice to vote
against Kimbal and other directors in a push for 'independent' oversight.

THE BLOCK 5 Falcon 9 drove favourable coverage ahead oflaunch later today. Le Figaro concluded this
final iteration could revolutionise spaceflight yet again, leading with the hope of massive advances in
reusability and Elon's 100-launch prediction (see also Daily Mail; Reuters via Challenges). Unhelpfully, The


                                                                                               Exhibit 51
                                                                                               Page TESLA000498
                                                                                                     817
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 25 of 98 Page ID #:2031

Independent and Finanzen alerted readers to the Washington Post's report of Falcon 9 facing NASA and
Congressional scrutiny over alleged fuel safety risks for manned missions, but Dragon's successful ISS
mission earned credit (NTV; AFP via Le Point).

BREXIT AND GALILEO. Space industry news was dominated by posturing over the UK's role in the
ESA's Galileo project after Brexit, which could see the country lose access to the OPS-alternative (Eolitico;
Bloomberg). Elsewhere, Sputnik Germany reports the Russian space agency may launch a competitor service
to Starlink and OneWeb.

THE BORING COMPANY piqued interest again this week with Elon's announcement the LA tunnel was
near completion (Daily Mail; Handelsblatt). Earlier coverage in The Guardian asked whether the small scale
demo would fit a Tesla, while others contrasted Elon's vision of future transport to Uber's flying taxis,
noting he doubts the technology will ever take off (L'Express; Financial Times).

GRIMES. Elon's high profile date to the Met Gala gave top-tier media a rare excuse to indulge in the
gossip, with the BBC commenting -- "some people think they have a powerful future ahead" -- and NTV
crudely suggested Elon did "not reveal exactly what he sees in Grimes" (see also The Times; Guardian).
Predictably, tabloids also picked up the story (Daily Mail).

--end--


On 4 May 2018 at 19: 15, Martin Schmidbaur <mschrnidbaur@rnilltownpartners.com> wrote:
Dear all,

As ever, I'm sharing our weekly European/UK media intelligence note below.

COMBATIVE ELON ON 'BIZARRE' EARNINGS CALL Elon's treatment of "boring, bonehead
questions" was quickly caught in a media firestorm which framed his behaviour as the root cause for
a slide in Tesla's stock price. European media variously characterised Elon as 'thin-skinned' (OW),
'childish' (Handelsblatt), or 'arroganf (Manager Magazin), with some drawing comparisons to Donald
Trump over his mood swings and the dismissal of legitimate questions (Les Echos). The Financial
Times concluded the earnings call "revealed the limits of Mr Musk's personal showmanship in
sustaining [Tesla's] elevated valuation".
-- Noting Elon's 'clarifying' tweetstorm on Friday, FT Alphaville offers a predictably sarcastic take
while the The Telegraph called out that Elon's "extraordinary defence" won praise in the
Twittersphere (see also Handelsblatt; Les Echos).
-- Beyond the fallout, reporting underscored Tesla's revenue outperforming expectations and good
Model 3 numbers, even if cash burn dominated the coverage (The Times; The Telegraph; Les
Echos). Across European media, with many citing Bloomberg's analysis, a common editorial line was
the question of when, rather than if, Tesla will need more cash (e.g. WirtschaftsWoche; FT Lex; BBC;
Manager Magazin ).
-- Positively, we've seen some cut through of coverage indicating early excitement about the Model
Y timeline (Independent; Numerama), praising Tesla's success in cutting down on the use of cobalt
(Financial Times) and new commitments to transparency of Autopilot safety data (Numerama).

GRUMBLES FOR AN INDEPENDENT CHAIRMAN to replace Elon at Tesla are spreading, with
Finanzen reporting on a shareholder proposal for the June AGM even before this week's earnings
call. We expect interest in this vote to grow ahead of the meeting.

Milltown View: Media have seized on the slide in Tesla's share price fa/lowing the earnings call as a
proof point for the narrative that E/on's leadership is increasingly as much of a liability as it is an


                                                                                            Exhibit 51
                                                                                            Page TESLA000499
                                                                                                  818
    Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 26 of 98 Page ID #:2032

     asset. In recent weeks, there have been several examples of Elon 'picking fights' with the media (e.g.
     The Economist) and analyst community. While his combative posturing may resonate with Tesla's
     loyal fan base, it is more likely to incite further critical reporting.

     UK MOVING TOWARDS BAN ON HYBRIDS. The UK Government is considering long-term plans to
     revoke the classification of hybrids as "environmentally friendly" by 2040, according to the Financial
     Times. Details of the plan have yet to be finalised.

     NIKOLA'S LAWSUIT against Tesla was largely drowned out by coverage of the earnings call.
     Reporting focused on the $2bn headline figure but otherwise included little analysis of the validity of
     the claim (The Independent; Numerama;




'I'•.,..,,·!    {())')()"?A 07 ');:•◊,·,
   .,. ' "'t"'t \. ·· ._ .. ! ...
                             f{) /.w.'-'} C\)

M: +44 (0) 782 507 5557
fwilliams(iil milltownpa_rtners.com
Scc(,nd Fio(,r, JGngs Court, 2-16 Goodge Street. W1T 20A

f'he infotn1<ltk}n contained in this en1ai1 tnf.'3$age is (~onfid.cnth1i and n;ay be !~uL:ject tc~ ]egal priviitgt:~ .1\ccess to this ernan
1




bv rnvr,n,' other thn, the lni•('rid,"~ n'd ~i"r,t i:~ i,11::intbo,•i.;;, ,d 1-f' yc-q ;.i,-,·., nc,t tb,.,, iPt('l'd,,d i·edrAent vn11 "i' ,s:t qc,t q,,,"
                                                           1                             0

cflsci;s;>., dlst~'if;ut;;~ (:Ol~.\' Ot' p;,; n~ ·;h1,~-·r:1~);S·ag~;  {;!:,: n
                                                                      V'p;;:t-i;I: i't,, ·c:.)'nl£c:;,r,, ;,r       L~i;; :,n};'rl~'.tl~);,·
                                                                                                                             i~ n_>h,,l!l;t:' (~'n' 1f    ti~m~   i ;,(~U·
received this lllf:''5sage in dTOL please noti!}· the seHder immediatdy by E.. mail or tekphone +44 (0)20 7487 258:3 and
delete the message from your ernnputer. tvlilhown Parl:ners LLP ai:cepts no responsibility fur changes made to this
rnessage after h \\·as sent nr::r for any loss or darnag(-~ fr-orn receipt <::ruse~ .Please ·visH: us at our- ,veb).~ite
at www.milltownp;Jr:tnm:t?..&Q:m or caU us at +44 ( O)20 7487 258;3 for any further enquirie.,,,




Martin Schmidbaur


T +44 (0) 20 74872583
rvt -;•44 (0) 7825 879 sn

m~chmidbaur@milltownpartners.com
,11,vv,.-.rn.i.lltownpar1ner;;.e-om
Kings C,.,u.n., 2-16 Goodge Street. London \V l.T 2QA

111e infonnation contained in this email message is confidential and may be subject to legal privilege. Access to this email by anyone other than the intended recipient is
unauthorised. If you are not the intended recipient, you must not use, disclose, distribute, copy or print this message or any part of its contents or take any action in reliance on it. If
you have received this message in error, please notify the sender immediately by E-mail or telephone +,H (0 )20 7487 2583 and delete the message from your computer. Milltown
Partners LLP accepts no responsibility for changes made to this message after it was sent nor for any loss or damage from receipt or use. Please visit us at our website at
w,.11w.miHl<>wmmrtnen.0om or call us at +. M (tl'l2ll 7487 2583 for any further enquires.


Copyright ©2013 Milltown Partnern LLP. All rights rese1vecl. lise of this email signifies your agreement to the Disclaimer.




                                                                                                                                                                Exhibit 51
                                                                                                                                                                Page TESLA000500
                                                                                                                                                                      819
    Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 27 of 98 Page ID #:2033




Martin Schmidbaur


T· +44 (0) 20 74872583
iVL +44 (0) 782.5 879 592

ms,~hmidbaurrJt,mi!ltownpartners.com
www.rnilllownpartners.com
K.in1_Ls Court 2-- l 6 Uoodge Street. London Wl T 20,'.\

TI1e infonnation contained in this email message is confidential and may be subject to legal privilege. Access to this email by anyone 0U1er than the intended recipient is
unauthorised. If you are not U1e intended recipient, you must not use, disclose. distribute, copy or print this message or any part of its contents or take any action in reliance on it. If
you have received this message in error, please notify the sender immediately by E-mail or telephone 1;4:J:.(()}?(t:!.:HF.?;}fl. and delete the message from your computer. Milltown
Partners LLP accepts no responsibility for changes made lo this message after il was sent nor for any loss or damage from receipt or use. Please visit us al our website al
www.miHl.m1,1,pm1ne.es.<:om or call us at :l:'HJQ)20 741!7 2:"83 for any further enquires.


Copyright ©2013 Milllown Partners LLP. All rights reserved. Use of this email signifies your agreement to the Disclaimer.




T'rent Olsen


T: +44 (0) 74 9738 :?.43f.i
k1 lsen(ft>1nilltuwn partners.com
www.milltownpartners.com
S,-,cond. Fkor, Kingc' Court, 2-16 Goodge Street, W1T 2Q/t

~rhe inforrnatlon contained in this ernail rnessage is confidentia·~ an{t rna~r be subject to k:')gaJ fHi\:Pege .... Access to this enud1
b_v an_vone other than the intended r0dpknt is unauthorised, If yon are not tlw :ntended r0dpbnt, you must not use,
disclose~ distribute: ccrpy or pdnt this rnessHge or any1_xu:t nf its contents or take any action in reliance on it If ~you have
received this message in GTOL please notl{y the sender innnu.liatdy by E--rnail or tekphone +44 (0)[{45 600 :_>,109 and
delete the nv,z.::sage frorn your eomputo-. MiHtown Partners LLF accepts no responsibiHty for changes nw.d~, to this
r.nessage after it v~~a.s sent nor fi}r an_v losr:; or dan1age front recr~ipt or use . . Ph:~ase ,. isit us at our \:vebs}.te
at :r.~'.}'.>'}:>::,.!llill!n~Y!lP.aI!.n.rrn,.rmn or ea H us at +44 (o )845 600 3109 for any further enquiries.




Trent O'isen.


T; +44 (0) 74 9738 2435
t\~h.tm.@milltownpar!rn?X§.&\?.m.
w1vw,milllownpart.ners.com
Secoud floor, Kings C:rort, ~1.--16 Go(1~'!_ge Street, \VJT 2Q,;\




                                                                                                                                                                 Exhibit 51
                                                                                                                                                                 PageTESLA000501
                                                                                                                                                                       820
  Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 28 of 98 Page ID #:2034

The infonnntion contained in this tmail messa;;e is confakrrtial and rnny br, sub,kct to le6a1 privflege, Aeccs~, to thi~: uiw.il
t,,_. ''HJ''')!)"' ntllf·'t' !'ts:ll' the intc 11d,-.,,1 ff'Z'lf'knr i-:; HJH.Uthc,ris('d H ,:zn ,11 '<' 1 ,ot +b'·' in-h'.,1,z1(1d red llj<'fit V')l1 mq-:;t 11ot 1 l<;f-'
(lis~;l(>~;;c:, iti:tril:,,1.t(~: z:opy o;: 1;;i nt tl,i~ n'.;ess<;g~ o,::rny i::;1;:t oi i~ts-'co;·it:(;,~t;, o~·'tal<~ <;;-l.:,: ;lction·i;; ;:~ill;i~,::c· ;,;·,' i't'. \f >'.~J~;- i{a,·e
1·ecei\etl this rnessage i:n error-~ .Please noti(y the sender i i·t·i n·iediate1y by .E~rnaii or telepho11e +,:1,,·:l (o )8.;t5 600 3:1.09 a1·id
de·~ete the· n1e.ssnge fron1 ,vo't·tr cornpu·!:e:r. 'fvlHlto\·vn .Partx:iers .LIJ? acce_pl:s nc► res1>011sibiiity ·f)r changes rna<if: to this
Hh~ssagt after it ~~>:..-as ;~ent nor for any h.).r5s or daniage froni recei_pt or use., Please \--}sit us at our \vebsite
at rn.'-:1Y.,J:r.tin:tP~Y.nP.1n:tr.l.t'J~§,.n2m or can us at +44 ( 0)845 600 3 i.09 for any fnrU1t>.1· (>.nqui,'ies,




Martin Schmidbaur


T ·b-14 (0) 20 74872583
.l\1 +44 (0) 7825 879 592

rnschmidbau.r:fo.mill townpmtners. corn
www.m.illto\vnparlners.co1n
Kin1:1;; C\y;u'(, 2-16 Goocke Street.. London WIT 20.A

11,e information contained in this email message is confidential and may be subject to legal privilege, Access to this email by anyone other than the intended recipient is
unauthorised, If you are not the intended recipient, you must not use, disclose, distribute, copy or print this message or any part of its contents or take any action in reliance on it If
you have received this message in en'Of, please notify the sender immediately by E-mail or telephone +44 (())20 7487 2583 and delete the message from your computer, Millto\\n
Partners LLP accepts no responsibility for changes made lo this message afier it was sent nor for any loss or damage from receipt or use. Please visit us al our website at
www.milllm,upaitners.com or call us at +44 {0)2() 7487 2583 for any further enquires,


Copyright ©2013 Milltomi Partners LLP, All rights reserved. Use of this email signifies your agreement to the Disclaimer.




                                                                                                                                                                     Exhibit 51
                                                                                                                                                                     Page TESLA000502
                                                                                                                                                                           821
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 29 of 98 Page ID #:2035




                               EXHIBIT 52




                               EXHIBIT 52



                                                                     Exhibit 52
                                                                     Page 822
      Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 30 of 98 Page ID #:2036

From:             Sarah O'Brien [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                  {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=1BC7BE9F56124D 1689FSD6BODSESS 1AS-SARAH OBRI E]
Sent:             7/11/2018 2:58:10 PM
To:               Caroline Liddle [cliddle@tesla.com]
CC:               DL-USComms [dl-uscomms@tesla.com]; Sam Teller {steller@tesla.com]
Subject:          Re: Additional Coverage on Thailand



+Sam

           On Jul 11, 2018, at 2:57 PM, Caroline Liddle <cliddle@tesla.com> wrote:

           Media continue to report on Elon's involvement in Thailand, with media tone being fairly positive. Inc.
           writes Elon "heard of a problem, thought up a way to potentially offer assistance, and jumped up to
           help," adding that the fact the team was rescued in another way "doesn't diminish their achievement."
           Business Insider and NY Daily News note Elon's tweet, writing that Elon has "hit back at those who have
           criticized his attempts" to rescue the team.

           In a more negative light, The Washington Post says Elon "is pioneering a new fonn of viral tourist: the would-be
           savior who becomes a part of the narrative, whether they actually helped or not."

           The Washington Post, How I~km lvfo.sk used the Thai cave saga to pioneer a nc,v form ofvirn.! tourism
           NY Daily News, Elon Musk hhs back at criticism over i11sertirn, himself in Thai boys cave rescue
           Fortune, Elon Musk Is Leavim, His Unused 'KJd .. Sized Submarine' at tlJC Site ofthe Trapped Thai Soccer Team
           Business Insider, Elon Musk hit back at those n1oddm, his contribution to the cave rescue: 'Something's messed up
           1f this is nor a ~:cod thhii>.'
           foe.com, If You're Criticizing Elon l\,fask for Trving to Save Kids With a Mini Submarine. It's Time to Take a Long.
           Hard Look at Your Life
           Thrillist, ELON .MTJSK IS GETrING SKEWERED ON TWITTER FOR OFFERING TO HELP \VJTH THE
           THAILAND CAVE RESCUE
           The Next Web, There are m1mernw; reasons iu dislike Elon i'v1usk. This isn't one of them.
           Geek, Elon l'vlusk DelivereqJL.U5~Jg,;_s "Sub" for tJ1e Cave R~,~ggf!_
           Inverse, Thai Cave R.cscue: Elon M.usk Reacrn to Submarine Criticism
           New Scientist, Elon Musk's submarine plan to rescue Thai cave boys deserves respect
           Huffington Post (UK}, Elon Musk's Submarine Is Everythini;;..WJ.9..Pg With Western Foreign Policy


           From: Caroline Liddle <diddle@tesla.com>
           Date: Tuesday, July 10, 2018 at 4:58 PM
           To: DL-USComms <Dl..-lJSComms(@tesla.com>
           Subject: Re: Additional Coverage on Thailand

           Media continue to report on Elon's contribution to the rescue of the Thai soccer team, with media tone
           being fairly balanced. Bloomberg and CNBC note Elon "defended the project on Twitter" and pointed
           out that the contraption "could be used for other types of rescues, such as for 'vulnerable patients' in
           toxic environments." The Wash ingt on Post adds that two Thai artists drew a "particularly
           intricate" cartoon to represent the parties involved in the mission, labeling Elon as the "face of Iron
           Man."

           In contrast, other outlets, like Business Insider, question the point of E!on's venture, commenting, "To
           encourage a waterfall of media coverage about his brilliant ideas? To bury recent bad press about pay
           inequity, accusations against a female reporter, and widespread layoffs at Tesla? To capitalize on the
           world's attention on the rescue? To facilitate a narrative of himself as a savior? To bump his companies'
           own valuation?"




                                                                                                                  Exhibit 52
                                                                                                                  Page 823TESLA001402
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 31 of 98 Page ID #:2037
  Mashable writes that Elon's help was "useful for anyone trying to understand what motivates his
  eccentric genius." It adds that Elon "went on a weirdly defensive Twitter rant" and comments, "Elon,
  this was a win for you. You had managed to avoid making this rescue about you."

  CNBC, Elon Musk savs his 'mini-submarine' can be used fo r other things
  Bloomberg, Elon .Musk Defends Iviini Submarine Left Unused in Thai Cave Rescue
  The Washington Post, 'Hoovah, Hooyalt Hoovah': Jubilation at Thai cave rescue spreads across the world
  Vox, ElonNlusk's big, failed plan to bi:ing a mini-submai:ine to rescue the Thai bovs
  NY Daily News, Efon Musk's 'tiny, kid-sized submarine ' wasn't 'practical' for Thai cave rescue efforts, official savs
  Business Insider, Jus1 what was the point of Elon Musk's 'non-practical' subn:iarine rescue effoit in Thailand?
  Business Insider, Elon :tviusk reveals email thread explainin~, whv he built a mini-submarine to help save trapped
  Thai soccer team.
  Nfashable, \Vhat Elon J\'Iu:sk a 'useful nard%ist.' rcallv wanted fro.m. the Thai Cave sai:.a
  Slate, .A. Complete Tirndine of Elon Musk's Fruitless AHemp1 to Rescue the Thai Soccer Team
  Inverse, Is Elon !\,tusk Criticism Unfair? \Vhat to J\1fake of the Thai Submarine Backlash
  Inverse, Thai Cave Rescue: Elon l\fask's Submarine Gets a Response From Authorities
  BBC (UK), 2vVhv ,vas Elon Musk at the Thai cave rescue?
  The Guardian (UK), Elon Musk qm~rics (~Xp(~rtisc of Thai cave rescu<'. officials


  From: Caroline Liddle <cliddle(fvtesla.com>
  Date: Tuesday, July 10, 2018 at 11:22 AM
  To: DL-USComms <DL·USComrns(ffi tesla.corn>
  Subject: Additional Coverage on Thailand

  With the entire soccer team rescued from the cave in Thailand, media continue to report on Elon
  contributing to the rescue operation, with media tone being fairly negative after the contraption was
  deemed "impractical" by a Thailand official. The NYT writes that "the Musk dreamed up a 'kid-size'
  submarine to help. It turns out they didn't need it." BBC reports the "head of the rescue mission" said
  the "equipment [Elon and team] brought to help us is not practical with our mission."

  E!on's t,veet is seen throughout coverage, with Business Insider w riting that "Elon and team visited the
  tunnel last night to assess the conditions and get further feedback on the mini-submarine, in case it was
  used as a backup option."

  Other outlets such as Mashable report on Elon's "Twitter rant," writing, "He took to Twitter Tuesday
  morning to defend his fun-size rescue invention." It writes that Elon "dalmed that Osotthanakorn was
  not the head of the rescue effort - that he was instead the former provincial governor" and the real
  "head of the rescue effort Dick Stanton was very into the kid-size submarine," noting that Elon "even
  provided email proof."

  CNBC TV, Elon Musk puts SpaceX submarine in Thai cave
  TIME. Thailand Rescue Officials Say Elon ~fosk's Submarine vv·as 'Not Practical'
  NPR, 1\II 12 Bovs And The.ir Coach Arc Rescued Fwrn Thai Cave Afler 2 Weeks
  New York Post, Elon l\lusk ' s kid-sized submarine was of no use in Thai cave rescue
  Buzzfecd, People Really Aren't Here For Elon Musk's Rescue Submarine
  Vice, Elon Musk told "thanks" •······ but the Thai divers have 1!,ot this
  Motherboard, AU 12 Thai Boys Rescued From Cave Without Help from Elon l'Vlusk' s 'Impractical' Sub.marine
  The Verge, Elon Musk's mini-submarine 'not practical' for Thailand cave rescue. say authorities
  Ars Technica, Thai official: E!on Musk's submarine "not practical for this mission" [Updated]
  Business Insider, Elon .tvl.usk is posting photos and videos of the Thai cave rescue operation······· and SpaceX
  confirmed he's there
  Mashable, Elon Musk goes on Twitter ran! afier reports that bis rnini subrnari ne was 'not prncticar
  Mashable, Elon Musk visits cave in Thailand where soccer team. is trapped
  Fast Company, Elon .Musk vvas tweeting from Thai cave rescue operation site
  Cnet, Elon Mus.k's subnmrine 'not practical.' for Thai cave mission.. rescue head say~
  Popular Mechanics, All l.2 Tlwi Bovs .Rescued Fmm Cave
  Gizmodo, Is Elon .l\lusk Serious?
  Entrepreneur, Elon l\fosk's 1\lini-Sub Was 'Not .Practical' for Tlwihmd Cave Rescue


                                                                                                            Exhibit 52
                                                                                                            Page 824TESLA001403
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 32 of 98 Page ID #:2038
  The Daily Beast, Elon :Musk De!ivers 'Impractical' Tinv Submarine to Thai Cave
  Hypebeast, Elon .tvI:usk's Thailand Rescue S ubmarine ls "Not Practical"
  Highsnobiety, Elon Musk and His !vlini-Sub Are in Thailand to Assist With Rescue .!viission
  Nerdist, ELON MUSK CREATED A "KID-SIZE" SUffMARlNE FOR THAI CA VE RESCUE
  Inverse, Elon :Musk Posts Video mid Photo from Thai Cave Rescue
  Pop Culture, Elon Musk Reveals Thailand Cave Rescue Photos
  Dezeen, Elon fvfosk rubbishes dairns his tinv submarine was ''no t practical" for Thai cave rescue
  BBC (UK), All boys and coach rescued fro m T hai cave

  The New York Times, Elon M usk's Mini-Sub Was 'Not Practica!' for Thal Cave, Chief of Rescue Says

  As the world watched rescuers struggle to save 12 boys and their soccer coach trapped in a cave in
  northern Thailand, the tech billionaire Elon Musk dreamed up a "kid-size" submarine to help. It turns
  out they didn't need it.

  By Tuesday, the rescue operation had succeeded in saving all 13 people trapped in the Tham Luang
  Cave. Earlier this week, eight of the soccer teammates were evacuated from the flooded cave, a m ission
  that required guiding the boys through passageways filled with water.

  It was a daunting task. On Friday, a former Thai Navy SEAL lost consciousness and died while placing air
  canisters on a route within the cave being used in the rescue effort.

  Once the last four boys, their soccer coach and military personnel were evacuated Tuesday, Thai officials
  said in a Facebook post that the mission was complete. It had taken 18 days, dozens of divers and
  hundreds of volunteers, but Mr. Musk's mini-submarine invention was left on the sidelines, a Thai
  official said.

  Mr. Musk himself was on the scene. He wrote in a tweet early on Tuesday local time that he had just
  returned from a large cavern in the Tham Luang cave complex where he had deposit ed the quickly
  assembled sub.

  <image001.png>

  But on Tuesday, the head of the search operation, Narongsak Osottanakorn, unt il recently the provincial
  governor, rejected the notion that Mr. Musk's custom-made submersible was suitable for the
  extraction.

  "I assure you that the equipment he brought to help us is not practical for our mission," Mr. Narongsak
  said. "Even though the equipment has state of the art technology, it does not fit our mission in the
  cave."

  Over the weekend, Mr. Musk dispatched 10 engineers from his companies to assist in the rescue effort
  in Thailand. They sent engineers from Tesla, Mr. Musk's electric vehicle company; SpaceX, his rocket
  company; and the Boring Company, which specializes in tunneling and construction, a Boring Company
  spokesman said on Saturday.

  Mr. Musk had mused on Twitter that they could build a "tiny, kid-sized submarine" with a part from a
  Falcon rocket, which SpaceX produces. He had said that a transfer tube, which helps move liquid oxygen
  to fuel the rocket' s engine, could serve as the body of the submarine.

  Mr. Musk's representatives did not make him available for comment, but a SpaceX spokesman said that
  divers with the mission had signed off on the efforts.




                                                                                                       Exhibit 52
                                                                                                       Page 825TESLA001404
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 33 of 98 Page ID #:2039
  "Multiple divers involved with the rescue said the mini-sub design was viable, and their feedback
  directly informed our engineering and testing," he said.

  In his tweets amid the rescue, Mr. Musk presented his own evidence that team leaders had welcomed
  his help. In an email he shared from Richard Stanton, one of the first two British cave divers to reach the
  soccer team, Mr. Stanton had asked him to "please keep working on the capsule details." A spokesman
  for Mr. Stanton said Tuesday that the cave proved to be too narrow for the mini-submarine.

  Soon after the cave rescue was complete, it became clear that Mr. Musk would be sending many more
  employees to Asia in the coming year. On Tuesday, Tesla announced an agreement with Chinese
  authorities to build a battery and automobile factory in Shanghai, its first plant outside the United
  States.




                                                                                                 Exhibit 52
                                                                                                 Page 826TESLA001405
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 34 of 98 Page ID #:2040




                               EXHIBIT 53




                               EXHIBIT 53



                                                                     Exhibit 53
                                                                     Page 827
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 35 of 98 Page ID #:2041



  From:      Elon Musk
  Sent:      Mon 7/09/2018 11 :48 PM (GMT-07:00)
  To:        Steve Davis
  Cc:        Extranet Contact - Sam Teller (Tesla)
  Bee:
  Subject:   Re: PowerWalls



  Great. We need to go all out and make this guy retract his comment. The pod was never tested in
  their swimming pool rig that has the worst angles and widths. We should find out where that
  pool is and test it before the apparatus is removed.

  Sent from my iPhone

  On Jul 10, 2018, at 2:44 PM, Steve Davis <Steve@spacex.com> wrote:

   He was actually fired as governor. But seems to be popular. See article text below.

   Team is trying to contact Interior Minister and searching for experts.

   Am waking Gleeson to get him involved.



   He's still governor of the cave!

   The top official in the Thai city of Chiang Rai was forced to step down over the weekend -      but
   has become so popular as the public face of the soccer-team cave rescue that he's been allowed
   to stay on as supervisor of the operation, according to reports.

   Narongsak Osatanakorn was ordered in April to wrap up his job as governor of the northern
   city, and was set to be formally replaced by new Gov. Prachon Pratsakun on Friday, according
   to Khaosod English.

   But in his final weeks in the job, a local youth soccer team was trapped inside a flooded cave,
   and Osatanakorn -      who has degrees in geology and engineering -      gained international fame
   through his informative press conferences on the search and rescue efforts.

   In a scenario reminiscent of Rudy Giuliani's attempts to extend his term as mayor ofNew York
   in the wake of 9111, Thais pleaded with Prime Minister Prayuth Chan-ocha to let Osatanakorn
   stay on in the post until the boys were safe,according to Khaosod.

   Chan-ocha said it was impossible because the order had already been signed by the king -       but
   the government agreed to let him stay on to run the rescue effort alone.



                                                                                            Exhibit 53
                                                                                            Page 828 SPACEX00000612
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 36 of 98 Page ID #:2042




   "The command structure here is still the same," Osatanakorn told reporters outside the cave last
   week. "I'm still the top supervisor, as usual."

   Osatanakorn is being shunted to the smaller neighboring province of Phayao in a move widely
   seen as a demotion, according to Khaosod.

   Thailand's military junta insists it is just a routine shuffling of officials, but critics say
   Osatanakom is being punished for refusing to approve allegedly corrupt government
   construction projects, the site reports.


   https ://nypost.com/2018/07/09/popular-thai-governor-fired-but-keeps-cave-rescue-gig/



   On Jul 10, 2018, at 2:29 AM, Sam Teller <steller@tesla.com> wrote:

    He's the fucking regional governor who has ignored our calls

    On Jul 10, 2018, at 2:28 PM, Steve Davis <Steve@spacex.com> wrote:

     There is a running BBC blog on the rescue. Entirety ofrelevant entry said:


     Posted atl: 10
     Musk's offer 'not practical' for this mission
     The head of the rescue mission, Narongsak Osotthanakom, has been asked whether he can
     make use of Elon Musk's offer to help.

     He says he acknowledges the help of Musk and his team, but that "the equipment they
     brought to help us is not practical with our mission".

     "Even though their equipment is technologically sophisticated, it doesn't fit with our mission
     to go in the cave."


     Our guys don't know him so we are figuring out who he is.




     On Jul 10, 2018, at 2:18 AM, Elon Musk <erm@tesla.com> wrote:

      Btw, my gf just texted me saying the head of the Thai rescue team said our solution wasn't
      practical and that the press is turning negative.



                                                                                                Exhibit 53
                                                                                                Page 829 SPACEX00000613
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 37 of 98 Page ID #:2043




      I just woke up in Shanghai. What's happening?

      <imagel.png>

      Sent from my iPhone

      On Jul 10, 2018, at 1:43 PM, Steve Davis <Steve@spacex.com> wrote:

       We have 12 Powerwalls sitting unopened at camp. One of the Thai people asked if we
       could donate them to a local hospital.

       Do you want to:
       1. Donate all
       2. Donate none
       3. Donate 10 and let me take 2 for the boring company - would love to replace our grout car
       generator w a powerwall :)




                                                                                       Exhibit 53
                                                                                       Page 830 SPACEX00000614
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 38 of 98 Page ID #:2044




                               EXHIBIT 54




                               EXHIBIT 54



                                                                     Exhibit 54
                                                                     Page 831
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 39 of 98 Page ID #:2045




                 ,1"tAT&T 5GE       10:13 AM         "v 79%(-}




                                 Spacex Sam Old




                    Thank you

                    That would be best




                    Copy




                                                                     Exhibit 54
                                                                     Page 832
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 40 of 98 Page ID #:2046




                 ,1,ii AT&T 5G E       10:13 AM       "f 79%[1111111i),




                                    Spacex Sam Old




                     For us army?




                     I'm China customs chaos - give
                     me something to edit




                                                                          Exhibit 54
                                                                          Page 833
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 41 of 98 Page ID #:2047




                 11,AT&T 5GE         10:14 AM         41' 78%~J•



                                  Spacex Sam Old




                    The SpaceX mini-sub is a
                    technically sound solution for
                    rescuing the Thai children the
                    design of which was informed
                    by feedback from divers and
                    rescuers on the ground.
                    Thankfully, the current rescue
                    method is working well, and the
                    mini-sub is a practical backup
                    in case of a contingency.




                                                                     Exhibit 54
                                                                     Page 834
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 42 of 98 Page ID #:2048




                 adAT&T 5Ge          10:14 AM        «; 78%



                                  Spacex Sam Old




                    They should be

                    He should correct it right now

                    The ungrateful asshole




                    PM?




                                                                     Exhibit 54
                                                                     Page 835
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 43 of 98 Page ID #:2049




                 ••'~ AT&T 5G E      10:14 AM        "'V 78%




                                  Spacex Sam Old




                    Thanks




                    Thanks




                    lam




                                                                     Exhibit 54
                                                                     Page 836
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 44 of 98 Page ID #:2050




                 ,dAT&T 5GE         10:14 AM         .ev 78%



                                 Spacex Sam Old




                    Ok

                    PM should say SpaceX is




                                                                     Exhibit 54
                                                                     Page 837
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 45 of 98 Page ID #:2051




                   <•
                     Ok

                     PM should say SpaceX is
                     awesome. Enginerrrs helpful

                     Pod not necessary because
                     this went weU but it's a useful
                     and cool desig

                     Whatever

                     You get it

                     About to announce Tesla
                     shanghai factory




                              ·,
                                  )




                                                                 ~EXHIBITJ-()..Q_


                                                                 Jaiu&tw::W
                                                                        Exhibit 54
                                                                  WWW.DEPOBOOKPRODUCTS.COM

                                                                        Page 838
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 46 of 98 Page ID #:2052




                   t.D,   AT&T 5Gt                      10:15 AM




                                                 S~t>'x Sam Otd ,.
                          ::>lldll\:)Udl Jdl,,;U.JJ y




                                                                     Exhibit 54
                                                                     Page 839
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 47 of 98 Page ID #:2053




                    <•



                     Ok
                     Greatbtexts

                     Stay on top for me - sorry I am
                     slightly disconnected

                     Burner phones so annoying




                     No
                      ..n
                     who a point on press




                                                                     Exhibit 54
                                                                     Page 840
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 48 of 98 Page ID #:2054




                  ,a:r:AT&T 5GE         10:21 AM·        · ,j/ 76%(• l•

                   <•
                                    Spacex Sam Old   >

                     who a point on press

                     Who is?




                     Great

                                  Jul 10,     5:13 AM




                     On press?




                                                                          Exhibit 54
                                                                          Page 841
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 49 of 98 Page ID #:2055




                  ••'-' AT&T 5G E ·         10:21 AM           "Y 76%(liiiiifl,


                   <•
                                        Spacex Sam Old   >




                      Amazing job

                      Thank you

                                      Jul 10, 2018, 8:29 A\A




                      Ok

                                      Jut 10, 2018, 6:44 PM




                                                                                  Exhibit 54
                                                                                  Page 842
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 50 of 98 Page ID #:2056




                  11,i\ AT&T   5G E      10:21 AM          -v   76%(jij}




                                      Spacex Sam Old   >




                      We know Warriors owners

                      Could ask

                      By tunnel I mean cave




                      Can u update us together on
                      Tesla email




                       Ei will call the PM if necessary




                                                                           Exhibit 54
                                                                           Page 843
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 51 of 98 Page ID #:2057




                  ad AT&T 5GE          10:21 AM           ~   76%(gi[l•

                  <e
                                    Spacex Sam Old   >

                     E will call the PM if necessary




                    We can say we want to test it
                    so that we know ifs viable for
                    future use

                     Etc

                   · Thanks




                    That's what he said

                    If not possible then let's tell him
                    with a next best option




                                                                          Exhibit 54
                                                                          Page 844
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 52 of 98 Page ID #:2058




                 11i:,\   AT&T 5G E         10:27 AM          -v   75%~•




                                         Spacex Sam Old   >




                          Armor on phone with E

                          Sounds like talking him out of it




                          Sounds cool




                          Hahaha




                                                                           Exhibit 54
                                                                           Page 845
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 53 of 98 Page ID #:2059




                  au     AT&T 5GE              10:28 AM          </ 74%(~0




                                            Spacex Sam Old   >
                 ---'-   vUUI JU~ l.:iUUl




                         Hahaha




                         Yeah




                         Ya




                         Ton




                                                                             Exhibit 54
                                                                             Page 846
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 54 of 98 Page ID #:2060




                               EXHIBIT 55




                               EXHIBIT 55



                                                                     Exhibit 55
                                                                     Page 847
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 55 of 98 Page ID #:2061




                 a1i~ AT&T 5G E      8:00AM          "'V 97% (iii),




                                      Elon




                                                                  XHIBITEJ.8'._
                                                          Deponent {)(µJ { S
                                                          JQjUtl_Rptr.AJN
                                                            WWW,DEFOBOOKPRODUCTS.COM
                                                                                 Exhibit 55
                                                                                 Page 848
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 56 of 98 Page ID #:2062




                                                                     Exhibit 55
                                                                     Page 849
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 57 of 98 Page ID #:2063




                                                                     Exhibit 55
                                                                     Page 850
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 58 of 98 Page ID #:2064




                   .- iAT&T 5GE




                      Ok




                                                                     Exhibit 55
                                                                     Page 851
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 59 of 98 Page ID #:2065




                      Ok:)




                                                                     Exhibit 55
                                                                     Page 852
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 60 of 98 Page ID #:2066




                  ,eii AT&T 5G E       8:01 AM          "'v 96%



                                        Elon




                     Ok:)

                     Are you in touch with the
                     British divers?




                     Ok

                     Makes sense

                     Actually, a pressurized pod will
                     be very rigid




                                                                     Exhibit 55
                                                                     Page 853
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 61 of 98 Page ID #:2067




                  ,,~3 AT&T 5G E        8:01 AM          "v 96%




                                         Elon

                     be very rigid

                     If it is lined with foam on the
                     inside, that will protect against
                     injury

                     Bill Stone wasn't the tool who
                     gave the "I'm an expert
                     lecture'~ was he?




                                                                     Exhibit 55
                                                                     Page 854
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 62 of 98 Page ID #:2068




                 ,ut: AT&T 5G E       8:01 AM        41 96%[-Ji




                                       Elon




                    He 1s a huge tool and doesn 1t
                    understand engineering




                                                                     Exhibit 55
                                                                     Page 855
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 63 of 98 Page ID #:2069




                               EXHIBIT 56




                               EXHIBIT 56



                                                                     Exhibit 56
                                                                     Page 856
    Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 64 of 98 Page ID #:2070

From:           Sam Teller <steller@tesla.com>
Sent:           Tuesday, July 10, 2018 3:52 AM
To:             Jehn Balajadia <jehn@boringcompany.com>
Bee:            Anna.Jones@bbc.co.uk; Heather.Chen@bbc.co.uk; Andreas.Illmer@bbc.co.uk;
                amanda.hodge@theaustralian.com. au; matthew.weaver@theguardian.com;
                Helen.davidson@theguardian.com; rperper@businessinsi der. com;
                Michael.safi@theguardian.com; Sarah McBride <smcbride24@bloomberg.net>;
                Ryan.Browne@nbcuni.com; media@spacex.com; media@boringcompany.com;
                f1orence.li@spacex.com; Steve Davis <steve@spacex.com>; Press <press@tesla.com>
Subject:        Comments from Thai Prime Minister


Hello, saw your earlier coverage and just wanted to make sure you were aware of the Thai Prime Minister' s
comments earlier today. Thanks!

      https://www.facebook.com/thestandardth/vi deos/19108 8627920425 5/



Unofficial translation of segments of PM's press briefing, 10 July 2018

With regards to my meeting with Mr. Elon Musk last night, I have to say that I liked and admired him from the
very first day that he tweeted his message with sincerity. He's a young successful man. He has businesses in
satellites, aerospace, drilling and many other fields. He offered us assistance. He tweeted that he's ready to help
if Thailand asked for assistance. He's ready to render support. He also tweeted that he admired our work, that
we are in control of the situation, and that were helping the people efficiently. In the meantime, he's ready to
help in all aspects. While returning (to Bangkok) last night, I met him in person, together with his staff, around
5 people. His private plane flew directly from the US to Chiang Rai, and took around 17 hours. I was returning
(from my mission in Chiang Rai). We talked at the airport. we shook hands and greeted each other. I informed
him about what we are doing in Thailand. With regards to the (cave) problem, he said he had his technology. He
said that he wasn't fully ware about the conditions in Thailand and had never seen caves like these. He's ready to
help but might have to adjust the tools somehow, to suit the area. The tools he brought are all useful. I saw that
the capsul he showed, which can be used for people trapped in caves and rivers. We'll have to see how we can
use this. He understands everything. He listened to my explanation. Last night he went deep into the
caves/chambers. I believe that he probably had more ideas, innovations and products to be suggested. I asked
him if he can help Thailand acquire more tools for rescue operations, but actually not just Thailand, but for
ASEAN, as we share the same topography. I also said that Thailand stands ready to support any entrepreneurial
interests, because his company is a big company and prominent in many areas. I also informed him about the
EEC, connectivity, innovation, and Thailand's digital transformation. He said he was interested. He mentioned
he had to go to China on a business trip, but if he has the time he might come back. For the equipment he kindly
gave us, he left it for us to study and use. We'll see how we can make use of this. When you have a useful
product, it might also be useful for another purpose as well. So there is always the possibility of it being
modified and adjusted for future use. This is useful. I think it's very useful for me and for Thailand because we
need to consider how to deal with other disasters in the future, not only the one we are facing now. It may be
useful for other disasters, climate change, flooding, or landslides. I think of him as a friend. When he proposed
to help Thailand, I told him that I stand ready to welcome him and for him to think of Thailand as his second
home. He was positive. I invited him to come to Thailand, and possibly visit the EEC. We are preparing to build
our satellites and he has his satellite business, and communications [technology]. Why don't we seek
cooperation with him?




                                                                                                Exhibit 56
                                                                                                Page 857TESLA001242
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 65 of 98 Page ID #:2071




                               EXHIBIT 57




                               EXHIBIT 57



                                                                     Exhibit 57
                                                                     Page 858
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 66 of 98 Page ID #:2072




                                                    _chat.txt
             (7/6/18, 8:19:17 PM] Thailand Ground Team: Messages to this group are now secured
            with end-to-end encryption.
             [7/6/18, 8:19:17 PM) +1 (616) 406-7460 created this group
             [7/6/18, 11:28:21 PM] You joined using this group's invite link
             [7/6/18, 11:29:43 PM] +l (323) 430-1160: Hello
             [7/6/18, 11:30:32 PM] Steven Davis: Hey. Update from texts before:
             [7/6/18, 11:31:11 PM] Steven Davis: image omitted
             [7/6/18, 11:31:38 PM] +1 (616) 406-7460: Hey, Sam!
             (7/6/18, 11:34:45 PM] +1 (650) 533-2194 left
             [7/6/ 18, 11:35:02 PM] +l (650) 533-2194 joined using this group's invite link
             [7/6/18, 11:35:24 PM] +1 (616) 406-7460: Is this the correct desitnation for
            tonight?
             (7/6/18, 11:35:25 PM] +1 (616) 406-7460:
            https: //www.google.com/maps/place/Rocket+Rd,+Hawthorne,+CA+90250/@33.9213093,-118.33
            01254,17z/data=l3mll4b1!4m5!3m411s0x80c2b5ded9a490b5:0x3095ae5795c500b318m213d33.921
            309314d-118.3279367
            (7/6/18, 11:35:57 PM] +1 (707) 484-2658: Yeah that's spacex
            (7/6/18, 11:39:02 PM] +1 (917) 370-8640 joined using this group's invite link
            [7/6/18, 11:40:04 PM] +1 (616) 406-7460: Thanks!
            (7/6/18, 11:41:02 PM] +1 (908) 418-1389: A few of us on 3rd floor looking at the
            pod
            (7/7/18, 12:14:25 AM] +1 (301) 233-8525: Hey folks, I'm on my computer down near
            Elon's desk. Flexible to relocate
            (7/7/18, 12:16:49 AM] +1 (616) 406-7460: Who is 370-8460
            (7/7/18, 12:17:13 AM] +1 (616) 406-7460: And 533-2194
            (7/7/18, 12:17:36 AM] +1 (917) 370-8640: 8640 is Eby
            [7/7/18, 12:17:52 AM] +1 (650) 533-2194: 2194 is Reyna
            [7/7/18, 12:19:00 AM] You're now an admin
            [7/7/18, 12:21:28 AM] +1 (616) 406-7460: 2072
            (7/7/18, 12:21:41 AM] +1 (616) 406-7460: 0235
            [7/7/18, 12:21:47 AM] +1 (616) 406-7460: And 0685?
            (7/7/18, 12:25:39 AM] +1 (323) 430-1160: We are flying to LA now but are not going
            to continue on to Thailand until the mid-morning earliest because we need to do more
            development and testing on our pod. Should be at 5paceX around lam to review.
            (7/7/18, 12:25:54 AM] +1 (323) 430-1160: Emma can get hotels for out of towners
            [7/7/18, 12:28:03 AM] +1 (707) 484-2658: Please let me know if you need a room!
            [7/7/18, 12:28:33 AM] +1 (616) 406-7460: What's our current target take-off time?
            [7/7/18, 12:31:03 AM] Steven Davis: New data:
            (7/7/18, 12:31:25 AM] Steven Davis: Trying to learn 3 numbers:

            1. Deepest water depth that they have to dive in cave
            - 10 Ft underwater (within 1 atmosphere)

            2. Longest stretch (in meters) of completely submerged tunnel
            - 350 meters

            3. Longest diving stretch (in estimated minutes of diving) of completely submerged
            tunnel
                                                   Page 1




                                                                                                                 MUSK_003203



                                                                       ARMOR HARRIS


                                                                       1•a1rio;1 Y 8 ctn._.,_ c ~;n No. 11"•19
                                                                                   1 111!:,I Ii ( </\I           Exhibit 57
                                                                                                                 Page 859
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 67 of 98 Page ID #:2073




                                                   _chat.txt
            ;. 3.0 mfriutes
            [7/7/18, 12:31:47 AM] Steven Davis: This was from Sam's military contact in Bangkok
            [7/7/18, 12:32:15 AM] Steven Davis: Who got it from on the ground Thai/US military
            personnel
            [7/7/18, 12:32:34.AM]· +1.(917) 370-8640: Heard minimum passage was 70cm but also
            38cm, can anyone confirm?     .
            [7/7/18, 12:37:34 AM] +1 (616) ·406-7460: Landing soon, I'll Uber to SpaceX
            [7/7/18,. 12:44:26.AM]-Steven Davis: Bowman landed in Chiang Rai.
            [7/7/18, 12:44:51 AM]·Steven Davis: Trying to confirm minimum passage.
            [7/7/18,.12:45:44 AM] +1 (707) 484-2658: Dave - you're welcome to go to Spacex and
            Work with the team or·1 can get you a hotel to sleep                               ·
            [7/7/18, 12:47:50 AM].'+1 (616) 406-7460: I'll head to SpaceX to sync with Wil. I
            won't need a hotel unless we're starting through tomorrow.
            (7/7/18, 12:47:56 AM] +l (616) 406-7460: Thanks!
            [7/7/18,.12:49:34-AM]."+l (301)·233-8525: I'll be in the same boat as Dave and we're
            happy to-share a hotel iT we leave later in the morning. If we leave super early
            (like 5-7) we can just stay here
            [7/7/18, 12:49:49 AM] +1 (616) 406-7460: Protip: download Google maps offline and
            Google translate Offline_to your phone
            [7/7/18, 12:54:42 AM] +1.(310) 562-4292 joined using this group's invite link
            (7/7/18, · 12:S7:32·AM] .'+1 ·(323) ·430-1160: Offline maps unavailable in Chiang Rai as
            far as I can tell            .
            (7/7/18, 1:18:04 AM]. +l (310)· 562-4292: Emma, Nuttapon and I are in Chiang Rai.
            Are there hotel accommodations for tonight?
            [7/7/18, 1:19:13 AM] +1 (424) 200-0382: Yes, standby
            [7/7/18,·1:19:29 AM].+1 (650).533-2194: Hotel Reservation Name: Chris Bowman
            Hotel confirmation Number: 612520
            Che·ck ~ tn·: · Saturday-· 7/7 · ·
            Check-Out: Sunday 7/8
            RoOrris:
            1 - Chris: Grande Deluxe Pool View
            Hotel Address: 221 / 2 Moo 20 Kwaewai Road, Tambon Robwieng, Amphur Muang, ch1ang
            Rai, 57000, Thailand
            Hotel Contact: +66 53 603 333
            [7/7/18, 1:20:09 AM] +1 (650) 533-2194: this is for you tonight and we can extend as
            needed of course
            [7/7/18, 1:21:16 AM] +1 (424) 200-6382: image omitted
            [7/7/18, 1:25:43 AM] Steven Davis: Any typing list of questions to DOD Thai guy. Any
            you want to add to this list?
            [7/7/18, 1:26:18 AM] Steven Davis: 1. Most importantly, cross section and length of
            minimum passage (for example, a 70x80 cm ellipse for 15 linear meters)?
            2. Maximum water depth (we were told 10ft/1 atm, but think this might have been
            10m/latm)
            3. Longest stretch of completely submerged tunnel (350 m?)
            4. Longest diving duration through submerged tunnel (30 minutes?)
                                                   Page 2




                                                                                                       MUSK_003204




                                                                                                       Exhibit 57
                                                                                                       Page 860
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 68 of 98 Page ID #:2074




                                                     _chat.txt
            5. ·Has the turinel cross section ·been fully scanned and mapped? If not, is the
            equipment available locally or could it be supplied?
            7. Minimum radius of curvature and maximum step size? Easy to answer if scanned,
            almost impossible if not,
            8. How useful, if at all, would.it be to know their exact absolute coordinates?
            10. What features.would you want to see in a pressurized pod that could be
            potentially deployed as a rescue vehicle?
            11, Is the main water source from the cave entrance, other entrances, or general
            cracks/permeability in the overall structure?
            17, Qualitatively, how-prevalent are jagged edges?
            18.-Is there any specific resource that would be immediately helpful?
            [7/7/18, 1:26:26 AM] Steven Davis: (I'll switch numbering)
            [7/7/18, 1:27:34.AM].+1 (616) 406-7460: It would also be good to know the current
            status of power available at the site.
            [7/7/18, 1:27:40 AM] +1 (616) 406-7460: And comms
            [7/7/18, 1:29:04 AM] Steven Davis: 14. What is status of communications at site
            (Internet, cell phone)?
            15. What is the status of power-at the site (generators, voltage levels,
            current/power limits)?          ..
            [7/7/18, 1:29:09 AM] Steven.Dallis: Look ok?
            [7/7/18, 1:29:23 AM] +1 (616) 406-7460: Perfect! Thanks!
            [7/7/18,.1:32:58-AM] ·+1 (616).406-7460: Reading some of the articles, it looks like
            the water levels may.increase. I'm guessing they don't have any hard guesses, but
            it's something to keep in mind.when we get the answers to (above)
            [7/7/18, 1:42:09 AM] +1 (616) 406-7460: I'll at SpaceX on the third floor. Where
            should I·go?
            [7/7/18, 1:42:47 AMj +l. (616) 406-7460: I'm*
            [7/7/18, 1:43:00 AM] ·+1 (818) 903-0235: Security bringing you to us
            [7/7/18, 1:44:02 AM] +1.(616) 406-7460: Copy!
            [7/7/18,· 1:52:21·AM]·+1 (310). 956-5308: This is Vince. I will be in Chiang Mai in N6
            hours (10:30 pm local), Anyone know of a good option to get to Chiang Rai that late
            at night?
            [7/7/18, 1:55:26 AM] +1 (818) 903-0235: You need to book a car or stay over and
            catch a hopper flight in the morning.
            [7/7/18, 1:55:41 AM] +1 (818) 903-0235: I can connect you with someone in travel to
            see if they can help
            [7/7/18, 1:57:58 AM] Steven Davis: Chris just reported that the "French scanned the
            tunnel 10 years ago». If we can get that data (assume unlikely), cool.
            My logic is that if we have the scan, we can load into Matlab and verify our Pod
            shale won't interfere. No risky fit check needed. But they have no motivation to
            scan as the data doesn't change their rescue plans of either pumping or dry or
            having the kids swim/dive.
            Am going   to get us a scanner to leave this option open.
            [7/7/18,   1:58:12 AM] Steven Davis: *Pod shape
            [7/7/18,   1:59:01 AM] +1 (310) 562-4292: Sounds like we can get the file, but there's
            doubt on   the scale
                                                      Page 3




                                                                                                     MUSK_003205




                                                                                                     Exhibit 57
                                                                                                     Page 861
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 69 of 98 Page ID #:2075




                                                   _chat.txt
             [7/7/18, 2:11:34 AM] Steven Davis: As sent:
             [7/7/18, 2:11:40 AM] Steven Davis: On Jul 7, 2018, at 4:37 AM, Steve Davis
             <Steve@spacex.com> wrote:

            Thank you for·Your assistance. A list of questions are below. Number 1 is by far the
            most impor'tant.

             :i,··MOst:inlpbrtantlY, c~c;s~··_·~~:,.iion and length of minimum passage (for example, a
             70x80 cm ellipse for ·.1s linear meters)?
             2. Maximum water depth (we were told 10ft/1 atm, but think this might have been
             10m/1atm)
             3. Longest ·stret'c·h.of.·completely submerged tunnel (350 m?)
             4 •. Longest diving duration through submerged tunnel (30 minutes?)
             s.··Has the tunnel .cross section been fully scanned and mapped? If not, is the
             eqUipment available locally or could it be supplied?
             6. Minimum radius of curvature and maximum step size? Easy to answer if it has been·
             scanned, ignore question if not.
             7. How useful, if at all; would it be to know the kids' exact absolute coordinates?
             8.·What features would you want·to see in a sealed pressurized pod that could be
             potentially deployed as a rescue vehicle (kids would stay dry within the pod with no
             regulator or equivalent)?.
            9. Is the main water intru·sion source from the cave entrance, other entrances, or
            general cracks/permeability in·the overall structure?
             10. Is there any specific known resource that would be immediately helpful if
            provided? _                   .        .
            11. What is· s·tatlJS of conimunications at the site (Internet, cell phone)?
            12. ·what·is·the status of power at the site (generators, voltage levels,
            current/Power limits)?. .             ..
             [7/7/18, 2:11:55 AM] Ste:veil'·Da\lis: Will post response if received.
            [7/7/18,. 2:15:57 AM]·Steven Davis: For the Hawthorne team, if there is ANYTHING You
            need tomkrrow, please tell ffle. Mechanical technicians, machinists, etc.
            [7/7/18, 2:23:54 AM] +l (310) 562-4292: Found this map of the cave and mountain.
            I'm being told the cave entrance to top of mountain is ~700M
            https://mobile.twitter,com/Thai_Talk/status/1011922745632776193
            [7/7/18, 2:26:01 AM] +1 (310) 562-4292: image omitted
            [7/7/18, 3:05:17 AM] +1 (310) 562-4292: The cave water is primarily from ground
            water and cracks in the limestone. They did find an aquifer down the hill and will
            start pumping it soon
            [7/7/18, 3:20:58 AM] +1 (310) 562-4292: image omitted
            [7/7/18, 3:20:58 AM] +1 (310) 562-4292: image omitted
            [7/7/18, 3:22:00 AM] +1 (310) 562-4292: Approx 12 smaller pumps throughout the site
            [7/7/18, 3:24:09 AM] +1 (310) 562-4292: Water level decreased 40cm over 2 dryish
            days 1,5 km inside the cave. Really hard to tell if this can keep up with a week of
            rain.
            [7/7/18, 3:28:07 AM] +1 (310) 562-4292: image omitted
            [7/7/18, 3:39:23 AM] +1 (323) 430-1160: Speaking to diver now •••• jumbled notes:
            Before you get to water there are 3 giant rooms, 60 feet of hands and feet climbing,
                                                   Page 4




                                                                                                     MUSK_003206




                                                                                                         Exhibit 57
                                                                                                         Page 862
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 70 of 98 Page ID #:2076




                                                            _chat.txt
            sm.iu sumps in between, 1.5 hours to get to diving part, diving part is 2.3 km,
           · total journey is 4km

            2 feet by 10 feet is narrowest point
            Fl.ill   ·fa"/ ma"~kE!:d   With po·sitive pressure
            Teat.fling.. ihem -to...1Hve

            Oxygen 1evel °i's· ,lt 1s%. and drOpping
            Normally 80%. rePbcemen·t with· CO2
            Tubes ov~r-i-;3km wn1·.take-a-iot of time
            Fixed 'static ._·une- is. ~11- the -waY to the chamber' so can pull .
            Full face maSks iS. eaSieSt .scilution

           . Seda·tives probably· out· bet~Use.·they slow down respiratory functioils
            3-4 'd8ys :from now·the~;,";·11 ·probab1y be dead based on oxygen
            Brftish tave diver .egOS, fnvited by the governor - Thai media pretty crazy
            3-4 divers· from.Ben·'s·te3m are .. in there preparing inside but Ben has been barred for
            entering
            Wfody caVE!, .UP·     -~nd
                              ::~o·~ir1~ ..~;es-~u~e differences, long galleys with breathable air
            diving part is less and less with pumps, it's now 50
            Small part·s 3•Sm dej}th

            other than 3 restricted areas its open free swimming - 2 feet high, kids are pretty
            skinny - tallest kid is lm60cm approx

            50 minutes to get out, going with the flow (vs 3 hours to get in)
            [7/7/18, 3:40:37 AM] +1 (323) 430-1160: Ben Reymenants - Belgian but has lived in
            Thailand for 17 years
            [7/7/18, 3:45:57 AM] +1 (323) 430-1160: He actually thinks the rigid metal tube
            would work as long as less than 2 feet
            [7/7/18, 3:46:09 AM] +1 (323) 430-1160: Diameter
            [7/7/18, 3:47:51 AM] +1 (323) 430-1160: He filmed the whole thing and brought a
            GoPro along I ! l
            [7/7/18, 4:01:32 AM] +l (323) 430-1160: Will upload and send to us
            [7/7/18, 4:04:28 AM] Steven Davis: Awesome
            So tallest kid is 5' 3"
            And looking good on 18" dm Pod
                                                             Page 5




                                                                                                        MUSK_003207




                                                                                                        Exhibit 57
                                                                                                        Page 863
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 71 of 98 Page ID #:2077




                .        .. . _                      _chat. txt
             [7/7/18, 4:07:27 AM] +1 (863) 206-e685: Mike Coryell here- How concerned are we on
            the 02 level? Do we need to rapid deploy some powerwall packs with CO2 scrubbers?
            (7/7/18, 4:11:53 AM] +1 (323) 430-1160: image omitted
             [7/7/18, 4:15:23 AM] +1 (301) 233-8525: Great info Sarni Thanks to Ben.
             [7/7/18, 4:15:35 AM).+1.(301) 233-8525: On the Powerwall side, The thinking so far
            is the effort of bringing Powerwalls all the way into the cave where they would be
            able to run equipment of that sort is likely to be prohibitively difficult. To run
            scrubbers you would need·to be in the same air cavity.
            [7/7/18, 4:18:00 AM] Steven Davis: Also note that other diver (Richard) requested 02·
            instead Of air for kids. Standard pros/cons to that one.
            [7/7/18, 4:23:16 AM] Steven Davis: Useful visualization someone tweeted at E:
            http://geo-nred.nu.ac.th/3d/nangnonweb/satimg/satimg,html
            [7/7/18, 4:27:17 AM] +1 (310) 562-4292: Older French survey has not been verified,
            but not disproven. However the same French group did another cave nearby and it was
            good. 2d prints and handwritten notes
            [7/7/18, 4:35:04 AM] +1 (310) 562-4292: Can someone look into "cave link"? It's a
            locator for finding lost people. Could it be sent in with a diver to determine
            drilling coordinates?
            [7/7/18, -4:39:45 AM] Stelien DaVl.S: We will look into it.
            Not·~· ·tha·"t ..we··h~i·~ .. sC>iution ·for'- surveying from when this started. Surveying
            equipment and scanners for dry portions and then we had a company which does
            underwater surveying and scanning (Virtual Wonders) ready to go. Could possibly use
            IMUle for some portions, though didn't seem necessary if the underwater equipment
            worked.

            As··a risky bilckup~ · Couid. do ail,"acoustic survey (make noise in cave and triangulate
            w Seismometers). HaVe a team ready for that one too.

            This. is. a similar_ prcibleffl. that-we use in the the tunnel itself except the water
            complicates it. But we are good over 2 miles to a few centimeters.
            (7/7/18, 4:42:07 AM] Steven Davis: Cavelink seems to just be a subsurface comms
            system:
            [7/7/18, 4:42:10 AM] Steven Davis: http://www.cavelink.com/cl3x_neu/index.php/en/
            [7/7/18, 4:43:43 AM] +1 (310) 562-4292: The cave expert says the smallest opening is
            elliptical should, 98 x 95 cm
            (7/7/18, 4:44:41 AM] Steven Davis: Thanks. Inconsistent w what Diver Ben said above
            at 300x60 cm
            [7/7/18, 4:46:42 AM] +1 (323) 430-1160: Steve feel free to message Ben thru Skype
            he seems pretty responsive
            (7/7/18, 5:03:30 AM] Steven Davis: Just talked to BO""Tllan. They are seriously
            considering drilling. And might be only using the maps from 20 years ago. We have a
            TACS survey/guidance system in Hawthorne right now that we use for tunnel surveying
            that could at least do all the dry parts and reduce that portion of the error.

            Bowman is going to drilling meeting now and will report back after.
            [7/7/18, 5:21:01 AM] +1 (310) 562-4292: Does anyone have Flo's flight info to Chiang
            Rai?
                                                      Page 6




                                                                                                         MUSK_003208




                                                                                                         Exhibit 57
                                                                                                         Page 864
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 72 of 98 Page ID #:2078




                                                _chat. txt
         [7/7/18> 5:21:i7 AM] +1 ·(323) 430-1160: I think same as yours one day later
         [7/7/18, 5:23:10 AM] +1 (863) 206-0685: Steve, just to start prepping and thinking
         on the drilling side. What kind of power are you needing? Is it only engine driven
         or any electric driven?
         [7/7/18, 5:25:00 AM] +1 (310) 562-4292: image omitted
         [7/7/18, 5:31:19 AM] Steven Davis: My guess is a local mining company would drill so
         Bowman will have.to Provide info on what is needed to power their specific rigs.

         We are· Standing by to··see if•we· need to survey this for them.
         [7/7/18, 5:34:30 AM] +1 (310) 562-4292: Chevron and one British company are here to
         handle the drilling
         [7/7/18, 5:37:36 AMJ Steven Davis: In Hawthorne, Greg Johnson is available to
         provide machinists today to help buiild the escape cocoon/Pod. He is awake, so
         should chat w Chris E and Team when ready. Greg is awesome and is at 949-632-4046 if.
         any mechanical fab Stuff for any reason is needed today.
         [7/7/18, S:48:19         AM] +1 (310) 562-4292: Is the power pack coming to Bangkok first?
         [7/7/18, 7:33:57         AM].+1 (917) 370-8640: I'll send drawings over to Greg for the
         aluminum· pod
         [7/7/18, ·7:35:06        AM] +l. (650) 796-6296 joined using this group's invite link
         [7/7/18, 8:02:40         AM] +1·(785).764-0421: After picking up the remaining inflatables
         in SF do stay the route and fiy commercial or meet the jet in LA?                Need a decesion
         in an hour.
         [7/7/18, 8:50:28 AM] Steven .Davis: mike - Per chat, please fly to LAX
         [7/7/18, 8:52:S4 AM] +1 (707) 484-2658: Spoke with mike, he'll land at lax at 3pm
         and join.E's plane

         Lat'~st<·.;:·r~m s·am   was· 6Pm.   depar'ttire from lax to Thailand for E's plane
         [7/7/18, 8:SS:24 AM] +1 (310) 956-5308: Update on my status for those I haven't
         chatted with already.
         En ·rout~ ·frciin Chiang' ·Mai airport to Chiang Rai by van. Checking into hotel and
         me€ting Bowman and NUttapon in the lobby at 830am.
         [7/7/18, 9:57:22 AM] +1 (310) 562-4292: Emma, the hotel here may not be able to get
         [7/7/18, 9:57:44 AM] +1 (310) 562-4292: Enough rooms past the 9th. Can you look
         into options?
         [7/7/18, 10:05:29 AM] Steven Davis: Bowman just briefed me and had tons of useful
         info. Summarizing till he gets to computer:
         [7/7/18, 10:05:52 AM] Steven Davis: 1. Is likely they start trying to get the kids
         out in the next 6-12 hrs as determined by PM
         [7/7/18, 10:05:59 AM] Steven Davis: 2. Would use buddy scuba system
         [7/7/18, 10:06:15 AM] Steven Davis: 3. Super risky and doubt on whether it will work
         [7/7/18, 10:06:39 AM] Steven Davis: 4. Will take 1 day per kid so this will take 2
         weeks
         [7/7/18, 10:07:04 AM] Steven Davis: 5. Full steam ahead on our Pod. Will be
         infinitely safer than this if it works.
         [7/7/18, 10:07:28 AM] Steven Davis: 6. In parallel, they are trying to drill in and
         drain the water
         [7/7/18, 10:07:42 AM] Steven Davis: 7. They have no survey data and are "drilling
                                                            Page   7




                                                                                                       MUSK_OD32O9




                                                                                                        Exhibit 57
                                                                                                        Page 865
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 73 of 98 Page ID #:2079




                                                      _chat.txt
            . blind"
               [7/7/18, 10:08:20 AM) Steven Davis: s. This shocks me that they don't have a
              surveyor but we are mobilizing one right now w a total station, targets, and laser
              scanner •. That will cover the land portion.
               [7/7/18,··10:08:53 AM] Steven Davis: 9. Might also mobilize the water survey team tho
              likely less useful, based on additional data
              (7/7/18, 10:09:19 AM] Steven·Davis: ITEMS 1 AND 2 ARE CONFODENTIAL
              [7/7/18,· 10:13:5S·AMJ:+1 (310) 956-5308: Do we know what is limiting the pumping
              capability? (size/number of pumps/hoses, size of hole in the ground, power, a place
              to put the water ••• )
              [7/7/18, 10:48:22 AM] Steven··oavis: To my knowledge, getting pumps and power sources
              for the pumps to the water source. Bowman would know better.
              [7/7/18, 10:57:18 AM] +1 (650) 533-2194: To answer Chris's earlier question about
              the hotels, we have 7·rooms for tonight (July 8th) at Le Meridian where Chris is
              staying that anyone on the ground can use. Emma and I are working on getting hotels
              elsewhere that begin on July 9th.
            Hotel Reservation Narile:· ·Justin· Riblet
                  .                                .

            Hote1.·Conffrmation Numb·ers: 612523 / 612525 / 612626 / 612527 / 612528 / 612529 /
            612530
                      .   "·"   '•,          ..
            Rooms:· ·(7y· (3~·and~ Del~-xe·_ P0.01 ·View

            Hote1·A.ddr'~ss: .le··Meridi~n Chiang Rai - 221 / 2 Moo 20 Kwaewai Road, Tambon
            Robwieng, AmphUr Muang, Chiang Rai, 57000, Thailand
            Hotel ·Cont.act:--+66 ··53 ·5·0·3· ·333. ·
            (7/7/18, 11:00:03 AM] •+1 (863) •.i06-0685: I called friends and found 2MW of
            generation coming over to Bangkok from Beyonce Tour. I can help get some pumps, just
            tell me where they are and could pick them up @13109565308 @13105624292
            [7/7/18, 11:00:06 AM] +1 (310) 562-4292: I have some pictures earlier of the pumps.
            N12 small self powered generators and 2 big ones. Nobody had GPM numbers, just the
            cave water level.
            [7/7/lSJ 11:05:21 AM] +1 (310) 562-4292: Can we export 3D data off this device? Has
            anyone used it before?
            http://www.soundmetrics.com/Products/ARI5-Sonars/ARIS-Explorer~3000
            [7/7/18, 11:05:44 AM] Steven Davis: We are in contact w those guys now
            [7/7/18, 11:11:50 AM] Steven Davis: Also google the Leica Pegasus backpack
            [7/7/18, 11:31:49 AM] Steven Davis: 2 Land surveyors are officially onboard,
            Emma/Elissa - I will get you their info        shortly. And a list of all equipment they
            are bringing.
            [7/7/18, 11:46:01 AM] +1 (785) 764-0421:        I got an earlier flight down to lax from
            sfo and land at 1pm. Emma I'll get with        you on transport details of the additional   8
            bubbles to the jet.
            [7/7/18) 11:53:49 AM] +1 (707) 484-2658:        Great, text me and I'll sort your transport
            to the plan to drop them
                                                           Page 8




                                                                                                            MUSK_003210




                                                                                                            Exhibit 57
                                                                                                            Page 866
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 74 of 98 Page ID #:2080




                            .. . .         •      .      _chat. txt
                [7/7/18, 12:07:14 PM] Steven Davis: Plane Team - when in plane, you might want to
               look at what the TbC team packed of accessible; if not, can do it in Thailand. We
               popped in a lot of tools including an underwater grinder, so will be good to know
               inventory.
                [7/7/18, 12:34:20 PM] .+l (785) 764-0421: Copy, will build a sheet
                [7/7/18, 12:44:31 PM] +1 (785) 764-0421: Bowman, do they have closed face SCUBA
               respiratOrs availBble? . :
               [7/7/18, 1:28:33 PM] +i:·(301)··2."33-8525: Aside: Dave and I (Will) are back at SpaceX
               near the exec area . . . .
               [7/7/18, 1:29:10 PM] ·steVen oavis: Cool. Also, Mauro will be dropping off some LIOH
               canisters to pop on the plane.
               [7/7/18, 1:29:38 PM] +1 (323) 430-1160: Pushing departure to 11pm for airport
               restrictions
               [7/7/18, 1:30:05···PM], +i (616f406-7460: Please let us know if there is anything that
               can be lifted, moved,.seam ripped, procured, cleaned, or set up.
               [7/7/18, 1:36:49 PM] Steven Davis: Yeah, we need a bathtub to test this thing. Can
           ·. you call?
               [7/7/18, 1:36:58--PM] ·steven· Davis: I'm 3102452197
               (7/7/18, 1:40:17 PM] +1 (818) 903-0235: Hey team - Our cargo hold is getting pretty
               full. we· can put·some stuff in the aisles and main cabin but we're nearly at cap
               before any of the surVeyors equipment or the pods. Can Mike or someone pop by the
               plane and do an assessment of what we currently have so we can shuffle things off as
               needed?
               [7/7/18,-1:41:12 PM] -+1 (818)' 903-0235: Tesla Team - Aaron Nutten May have some
               insight as to what's in.the pelican cases and you can call him to debrief what's
              critical there        . . ... .   .
               [7/7/18, 1:41:25 PM] +1- ·(818) '903-0235: Just want to make sure we're prioritizing
              and then.adding our nice to haves
               [7/7/18, 1:43:36 PM] Steven Davis: Thanks and agreed. Mike is inventory"ing and we
              will remove stuff at.last minute based on what is important at that last moment.
              [7/7/18, 1:44:23 PM] Steven Davis: Dave and Mike are working to find/build a bathtub
              - to test this thing-underwater before we ship
              [7/7/18, 1:44:39 PM] +1 (818) 903-0235: Mike - can I connect you with the flight
              team to go there in advance? It's packed full currently so checking now (or before
              we're about to go wheels up) so that we have that knowledge would be helpful.
              [7/7/18, 1:53:27 PM] +l (323) 430-1160: I have a pool at 1417 Kellam Ave that is 10
              ft deep at deep end
              [7/7/18, 1:53:37 PM] +1 (323) 430-1160: If that helps we can go use it
              [7/7/18, 1:55:36 PM] Steven Davis: Thanks. Looking at using a dumpster or a muck car
              :)
              [7/7/18, 1:58:31 PM] +l (707) 484-2658: Mike A landed in la and should be arriving
              at the fbo now with the 8 bubbles. I put him in touch with the crew.
              [7/7/18, 2:08:40 PM] +1 (323) 430-1160: Mike C is flying from Miami landing LAX
              10:20 and will join flight
              [7/7/18, 2:18:08 PM] +l (408) 203-2072: This is Flo. Just landed in Hong Kong
              [7/7/18, 2:18:47 PM] +1 (908) 418-1389: What is actual IO of pod, at boring company
              looking at a "pool to submerge" but want good estimate of ballast
              [7/7/18~ 2:21:53 PM] +1 (650) 796-6296: Can you all send inventory when you have it?
                                                          Page 9




                                                                                                         MUSK_003211




                                                                                                         Exhibit 57
                                                                                                         Page 867
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 75 of 98 Page ID #:2081




                                                    _chat.txt
             Em.ail :is ok, I Want to be sure rescuers in Chiang Rai know what is coming. This
            is Zach - getting there in about 5 hrs.
            [7/7/18, 2:24:34 PM] +1 (917) 370-8640: 14.8in id x 66in length, 4101b ballast I
            think
            [7/7/18,-- 2:25:58 PM] +1 (616) 406-7460: Are we designing a ballast system on to it
            or in it?
            [7/7/18, 2i26:48-PMJ +1 (616) ·406-7460: We can get railroad rail sections from the_
            boring cOmpany guys
            [7/7/18, 2:26:52 PM] +1 (917)·370-8640: We're starting by strapping dive weights to
            the outside
            [7/7/18, 2:27:25·PM] ·+1 (616). 406-7460: Copy that
            [7/7/18,.2:27:37 PM].°+1 (616)·406-7460: Do we need to find ballast for this test?
            [7/7/18,:2:29:29·PM]. +1 (917)· 370-8640: A couple hundred pounds would be nice so a
            couple people could get it submerged
            [7/7/18, 2:33:14 PM] +1·.(616) 406-7460: They're filling a muck car for us now
            [7/7/18, 2:44:20 PM] Steven Davis: For the whole team, important.
            Whatevet'·we·-btJild:,. we···need.1:o prove to the world and Thai government how this works
            and that·this is safe. Therefore:
            1. We will need videos.'"(iphone is fine) showing someone getting in and it closing,
            showing it submerged w·a person, etc.
            2. Data shOwing pressure_profile over 75 minutes
            They· wiil •be very hesita·nt to let us use this and we will need to Test more when
            there, but let's start buiiding our case now.
            [7/7/18, 2:55:33 PM] +1 (917) 370-8640: We'll need a small volunteer
            [7/7/18, 2:55:53 PM] +1- (616)"406-7460: Just talking to Chris, if at all possible,
            we should make two.             .
            [7/7/18, 2:59:10 PMl +i·.(818) 903-0235: Do you need help finding someone Chris? If
            so, what's our ideal·size and-I can try find.
            (7/7/18, 3:04:34 PM] Steven Davis: We have 80+ feet of 35u dm steel ducting at
            boring cOmpany.

           Feel free to use it. Zach pointed out it would be awesome to submerge them and put
           the Pod through the tube just like a tunnel
           [7/7/18, 3:05:49 PM] +1 (917) 370-8640: I'll do a test fit with Erik Kraus
           [7/7/18, 3:05:52 PM] +1 (650) 796-6296: If have welders and folks that can fabricate
           metal in launch if needed to support that sort of more representative testing.
           [7/7/18, 3:15:04 PM] +1 (908) 418-1389: Getting some launch welders now
           [7/7/18, 3:15:23 PM] +1 (616) 406-7460: I think we can use the three duct sections
           to set up a test tunnel
           [7/7/18, 3:15:42 PM] +1 (616) 406-7460 added +1 (516) 587-3899
           [7/7/18, 3:16:00 PM] +1 (616) 406-7460: image omitted
           [7/7/18, 3:17:58 PM] +1 (917) 370-8640: Erik fits and is pretty comfortable testing
           [7/7/18, 3:18:44 PM] +1 (616) 406-7460: image omitted
           [7/7/18, 3:21:08 PM] +1 (616) 406p7460: The muck car test tank is filling up for
           testing
           [7/7/18, 3:33:30 PM] Steven Davis: If we can get 2 on plane and then build 2 for
                                                  Page 10




                                                                                                          MUSK_003212




                                                                                                          Exhibit 57
                                                                                                          Page 868
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 76 of 98 Page ID #:2082




                     .     .. . .                              _chat,txt
            testing, would be awesome. Will H. suggested we do a 10-m depth test tomorrow in
            ocean while plane is in air on Unit 3.
            [7/7/18, 3:33:57 PM] Steven Davis: Kenton can provide machinists and welders
            (thanks, Zach!)
            [7/7/18,_ 3:40:34 PM]_+l (908)_418-1389: We have a three heading to boring company
            now                   .. . .. ·.        .·
            [7 /7 /1a;- 3: 51:"26 PM]. ·+1·. ·( 408) ··203-2072: Simple comms in pod would go along way to
            keeping kids calm. Some-type Of diver comm system that we could get?
            [7/7/18; 3:51:55 PM] +1 (616) 406-7460: It would probably have to be called comms
            [7/7/18, 3:52:00 PM] +1 (616) 406-7460: Cabled*
            [7/7/18, 3:54:41.PM].+1 (408) 203-2072:
            https://www.divers-supply.comibuddy-phone-for-guardian-2-channels.html?utm_source=ad
            wordsfroogle&utm_medium=cpc&utm_campaign=adwordsfroogle&utm_content=OTS-900401-000&g
            clid=Cj0KCQjwyYHaBRDvARisAHkAXcsuuPc8RykEb-TeirHZ7v8RC08p8awS8SLmFWLcWf03pT4D-rWShRc
            aAv8aEAlw_wcB
            {7/7/18, 3:56:32 PM] -+1.(408) 203-2072: could something like that work? Maybe they
            already have some of·that gear there.
            [7/7/18, 4:31:56 PM]·+l (616) 406-7460: image omitted
            [7/7/18,.5:00:33 PM] +1 (616) 406-7460 added +1 (626) 755-4370
            [7/7/18, 5:02:50 PM] +1 .. (616) 406-7460 added +1 (508) 380-5582
            [7/7/18, 5:03:42 PM] +1 (616) 406-7460 added +1 (808) 371-7888
             [7/7/18, 5:09:50.PM] +1 (908).418-1389: Vince, bowman, zach: in touch with pioneer
            pump rep:in Thailand; they have pumps to send i f needed, is there crane to offload?
            Is it needed?
             [7/7/18, 5:10:31 PMl-+1·-(3i0) 956-5308: Awesome. Thanks Chris. Will find out if
            bowman doesn't know •.
             [7/7/18, 5:12:55 PM(-i:1· (616}:·406-7460: Will D, Mike A, I've heard that the plane is
            pretty full, do we have.a primary for the plane loading, and would it benefit is to
            send a few folks over to do a re-packing to try and make more room?
             [7/7/18, 5:14:17 PM] +l (301)_233-8525: I can volunteer for that effort if someone
            can guide me there. To my knowledge Mike has already done an assessment
             [7/7/18, 5:14:26 PM] Steven Davis: From Tom Nin machining:
             [7/7/18, 5:14:37 PM] Steven Davis: Ok buddy¥just spoke to just about everyone
            involved about this and it's going to be close but looks like we'll have the 1st two
            units done ready by around 10pm ..•
            We are also working on the other 2 units and should have at least one tomorrow
            around noon
            [7/7/18, 5:15:14 PM] Steven Davis: First 2 ship to Thailand, 3rd is for test while
            plane is in air, and 4th is for test if we break the 3rd and need to change
            something.
            [7/7/18, 5:18:01 PM] +1 (917) 370-8640: I think we'll have 1 ready for the flight,
            2nd will be difficult to weld and test in time if we get parts at 10
            [7/7/18, 5:28:34 PM] +1 (323) 430-1160: We can leave a little later if needed
            [7/7/18, 5:37:53 PM] Steven Davis: IMPORTANT. We just received the GoPro video of
            the whole tunnel. Will send out link in a second.
            [7/7/18, 5:38:12 PM] Steven Davis: Shoot, not whole tunnel but a portion. Still
            useful
            [7/7/18, 5:38:44 PM] +l (323) 430-1160:
                                                        Page 11




                                                                                                             MUSK_003213




                                                                                                             Exhibit 57
                                                                                                             Page 869
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 77 of 98 Page ID #:2083




               .                                         _chat. txt
            https: //WWW. dropbo'x •· com/ s/wj22dqn18dk9jvi/GOPR9784.MP4 ?dl::0
            [7/7/18, 5:38:48 PM] Steven Davis: Do not distribute it
            [7/7/18, 5:38:51 PM] +l (323) 430-1160: Do not post publicly
            [7/7/18, 5:39:06 PM] Steven Davis: And let us know if there are access issues and we
            can post on GDRive
            [7/7/18,. 5:39:33 PM]·+l-.(323)-430-1160: Dropbox won't work on SpaceX wifi
            (7/7/18, 5:39:41 PM] ·+1 (323).430-1160: Use data or guest
            (7/7/18,· 5:43:31 PM] 'Steven Davis: Also, Chris made a fit check Pod along with the
            functional Pods. _The-fit check Pod is also aluminum but is thin (30 mil?). If it
            gets stuck, it can be crushed in place. Chris, please correct me if that is wrong.
            So ·w·~- will ·ShiP · 1 ·_fit :-check POd, and 1-2 real ones tonight.
            And Mike A•.has-·02 -Sen.Sors· ·if\,e··do want to put them in the Pod w each kid.
            [7/7/18,_"5:45:21 PM] +1 (626) 755-4370: I,m making a fit check pod right now
            [7/7/18, 5:45:31 PM] +1 (626) 755-4370: Let me know if there is already one existing
            [7/7/18, 5:45:52 PM]-+1.(626) 755-4370: It's galvanized steel ducting and split down
            the side so it will collapse if stuck
            [7/7/18, 5:46:13 PM] +1 (917) 370-8640: Sounds like the same one that was at Ryan's
            desk
            [7/7/18, 5:47:15 PM]·+l (626) 755-4370: Yes
            [7/7/18,-5:47:21 PM] +1 (626) 755-4370: We're in prop end fanning
            [7/7/18, 5:47:24 PM] +l (626) 755-4370: Dabbing
            [7/7/18, 5:47:28 PM]+l (626) 755-4370: Fabbing
            [7/7/18, 5:49:16 PM] +1 (323) 430-1160: Another video:
            https://WWW.dropbox.tomis/rrliz0uqajqafg0/GP029840.MP4?dl=0
            [7/7/18, 5:53:38 PM] +1 (785) 764-0421: Do we still need the power pack adapters? If
            not I'll take them off the plane to create more seat space.
            [7/7/18, 5:56:12 PM] +1 (323) 430-1160:
            https://www.dropbox.com/s/27u5yn8bf7rbyk0/GOPR9784%20%281%29.MP4?dl=0
            [7/7/18, 5:56:21 PM] +l (323) 430-1160: I think we can ditch them
            (7/7/18, 6:03:33 PM] +l (785) 764-0421: Ok, removing the adapters
            [7/7/18, 6:05:12 PM] +1 (323) 430-1160: image omitted
            [7/7/18, 6:13:50 PM] +1 (626) 755-4370: Possibly known as theodolite
            [7/7/18, 6:16:53 PM] +1 (301) 233-8525: Can someone speak to the electrical .
            situation and needs? The more I hear about this the more it seems that this isn't··
            holding the rescue effort back. If that is the case, then I fear that the Powerwalls
            and general changes to the electricity plan may get in the way more than it would
            help.
            [7/7/18, 6:17:32 PM] +1 (301) 233-8525: Here are some specific questions for
            guidance:
                    1, At the Cave Entrance?
                            a. Is there reliable power?
                            b. How many kW or MW of generation capacity is on site?
                    2. Power line run
                            a. How deep into the cave is there electricity available?
                            b. What is preventing access deeper into the cave? Voltage Drop,
            Electrical conductors, manpower, electrical safety concerns, flooding, or simply
                                                   Page 12




                                                                                                   MUSK_003214




                                                                                                   Exhibit 57
                                                                                                   Page 870
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 78 of 98 Page ID #:2084




                                                             _chat.txt
             mechanical access? ·
                                    c. How valuable would it be to improve power quality (Ex: higher
             voltage, or more motor driving force)
                                    d. How valuable would it be to get deeper into the cave?
                      --3. At the Diver's forward operating base:
                                    a. Is there power of any sort?
                                 ·-b.:.If.there_isn't power, how much of a value add would it be?
                      . 4. · What is the pumping situation like inside the cave?
                                    a. How deep into the cave are pumps?
               . .       . .        b,. Are·they effective?
                                    c. What is preventing them from going further? Mechanical acces·s~
            e1ect~1d:i:y·? .
                        5. If·more j)Ower'•We·re available (ex: operating Powerwalls), what equipment
            would·be run?
                                  . a;. LightS?. Pt.imps? Charging of equipment (flashlights, power tool
            batter:i.l?S) . .... ·               .
             [7/7/18, 6:34:34-PM] .+1. (3°1"0) 562-4292: The short answer is Power hasn't come up as
            a problem. The pumping issue-is getting to the deeper portions of the cave.
            There's seVeral P traps; •. however once heavy rain hits there's no downside to more.
            pumping capacit}' .·            ....... _
            [7/7/18,. 6:58:13 PM] ·+i _{650) 796-6296: On the ground in Chiang Rai. Talking to
            them about transport.now.
            [7/7/18, 7:00:10 PM] +1 (424)"_ 200-0382: Nuttapon should be there to assist with
            transport                    ..           ..
            [7/7/18, 7:00:26 PM] +1 (650) 796-6296: Thank you.     I'll find him
            [7/7 /18, ." 7: 07 :12 PM]. +1. (323) 430~1160: Huge folder of files
            https://www.dropbox.com/sh/svul62v0dlc2uvx/AABZRk3HmYgPAHP2raB2N3PEa?dl=0
            [7/7/18, 7:10:02 PM] +1 (650) 796-6296: Nuttapon says that the survey equipment
            would be useful. Previous data is lousy and he does not think better is happening
            [7/7/18, 7:10:15-PM] +1 (650) 796-6296: He says they have good x,y but z data is no
            good      ·
            [7/7/l8j ·7:10:39. PM] ·+1 ··(650)" 796--6296: Don't know depths
            [7/7/18, 7:14:19 PM] Steven Davis: Thanks. Tons of ways to get just z. Get 2
            altimeters in there and read at same time in 100 ft increments.
            What about the surveyor in Bangkok?
            [7/7/18, 7:16:42 PM] +1 (650) 796-6296: Sounds uncertain to me. Some talk of maybe
            from a university, but unclear if it will happen. If not crazy to bring I'd say
            bring it.
            [7/7/18, 7:17:22 PM] Steven Davis: Is the problem of finite seats. 2 surveyors or 2
            engineers.
            [7/7/18, 7:17:30 PM] Steven Davis: Separately, Ben the diver is available to Skype
            [7/7/18, 7:17:47 PM] Steven Davis: I just talked to him. He is the one who found the
            kids and sent us videos.
            [7/7/18, 7:17:55 PM] Steven Davis: I'd like both teams to speak whim.
            [7/7/18, 7:18:05 PM] Steven Davis: (Team in Thailand and Team building Pod)
            [7/7/18, 7:21:31 PM] +1 (785) 764-0421: All parts are to the machine shop from water
            jet
                                                   Page 13




                                                                                                       MUSK_003215




                                                                                                       Exhibit 57
                                                                                                       Page 871
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 79 of 98 Page ID #:2085




                                                   _chat.txt
            [7/7/18, 7:22:'30 PM] +1 (323) 430-1160: Desell Suanburi fscidss@ku.ac.th
            +66814969744
            He may know about the surveying equipment needed
             [7/7/18, 7:37:43 PM] +1 (310) 562-4292: Does anyone know of a altimeter that isn't
            pressure.based? It could be difficult with the different bays
             [7/7/18, 7:39:30.PM] Steven Davis: Chris, Mike, and Armor are Skyping w Diver Ben
            [7/7/18,"7:39:38 PM]·+1 (626) 755-4370: GPS or survey
            [7/7/18, 7:39:45 PM]:+1 (626) 755-4370: GPS not super accurate
            [7/7/18,··1:39:53 PM] +1 (626) 755-4370: Unless there is waas
            [7/7/18,." 7:40:26 PM]. Steven Davis: You can use a pressure based one in small
            increments.        ·
            [7/7/18, 7:40:32 PM] Steven oaVis: Two pressure ones
            [7/7/18, 7:40:41 PM] Steven Davis: Go to same point to calibrate delta.
            [7/7/18,.7:40:49 PM] Steven·Davis: Then have one go 100 feet away
            [7/7/18, 7:40:52.PM]·Steven Davis: Repeat
            [7/7/18,· 7:41:06 PM] Steven.Davis: I am calling Dressel
            [7/7/18,· 7:43:ll·PM].+1 (650) 796-6296: Ok. Vince, Bowman and I are heading to·a
            meeting just down the-road from the cave then heading to the cave.      Question for
            Ben.is what does he see as smartest/quickest way to get 02 in. That sounds like
            it's getting worse quickly:
            [7/7/18, 7:44:17 PM] +1 (626)·-755-4370: Ok we're on with Ben now. Will ask
            [7/7/18, 7:47:18 PM] +1 (301) 233-8525: If you get a chance throw in a quick
            question.on electrical power .
            [7/7/18, 7:51:19 PM] Steven Davis: Please send notes/insight from talk
            [7/7/18, .7:59:36 PM] +1 (626) 755-4370: Ok notes coming from armor or someone
            [7/7/18, 7:59:50 PM]-+1.(626) 755-4370: On the oxygen-Ben thinks gas analyzer is bad
            [7/7/18, ·7:59:55 PM]·+l (626) .755-4370: Thinks ox is fine
            [7/7/18, 8:03:34.PM] +1·(626) 755-4370: For every percent of you consume you make
            about .8 % co2 and there is no way they have lived for 2 weeks in 5% co2
            [7/7/18, 8:04:06 PM] +1 (626) 755-4370: Mike A is sending two more gas monitors
            [7/7/18, 8:04:40 PM] Steven Davis: Did he think our Pod design had a chance at
            working?
            (7/7/18, 8:04:52 PM] +1 (626) 755-4370: Yes
            [7/7/18, 8:06:36 PM] +1 (310) 562-4292: Did Ben say anything about ballast rocks
            inside the cave?
            (7/7/18, 8:23:38 PM] +1 (323) 430-1160: Great
            [7/7/18, 8:23:46 PM] +l (323) 430-1160: From Ben: Good talking to you. I see the
            tune is one of the LOX tanks from the falcon. I presume this is titanium or
            composite. Any chance for an acrylic or polycarbonate window to check on the
            passenger?
            [7/7/18, 8:29:12 PM] +1 (626) 755-4370: Tube is aluminum, one end is sealed with an
            acrylic plate so you can see through.
            [7/7/18, 8:29:41 PM] +1 (626) 755-4370: Nothing about ballast rocks. What do you
            mean by that?
            [7/7/18, 8:31 38 PM] +1 (626) 755-4370: Contact card omitted
            [7/7/18, 8:31 50 PM] +1 (626) 755-4370: Whoops sorry, trying to add to group
            [7/7/18, 8:33 37 PM] +1 (503) 896~7596 joined using this group's invite link
                                                   Page 14




                                                                                                   MUSK_003216




                                                                                                   Exhibit 57
                                                                                                   Page 872
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 80 of 98 Page ID #:2086




                    .                            .     _chat. txt
             [7/7/18, 8:45:18 PM] +1 (310).562-4292: There was a request for ~600 lbs of ballast
             for the pod option. Way too much to carry into the cave
             [7/7/18, 8:46:17 PM] +1 (503) 896-7596: Where did that come from? We calculate
             needing about 270 Lb max for the rigid pod
             (7/7/18, 8:46:59 PM]_Steven Davis: Kg/lb?
             [7/7/18;. 8:47:46 PM) +1 (503) 896-7596: 270 pounds
             [7/7/18, 8:54:46 PM] +1.(626)·755-4370: There is bound to be many lbs of lead on
            diving w'eight belts available· that we planned to use-wrapped around the tube so the}'
             are releasable
             [7/7/18, 9:04:37 PM] +1. (650) .. 796-6296: Latest intel is 200m is longest underwater
             section but only·1-2m deep there. Sm is deepest submerged section, 2'x3' is most
             narrow underwater section and is 15m long.
             [7/7/18, 9:07:20 PM] +1 (650).796--6296: They are trying to take first kid out now.
            They have low confidence in being able to do exploratory tunnels and pumping not
            expected to get ahead of.incoming rains. Maybe just keep up. There ares chambers
            and they have 2 drained.•
             [7/7/18, 9:08:08 PM) +1 (650) 796-6296: Pods likely the most helpful thing if the
            co-diving is not getting it done
             [7/7/18, 9:08:23 PM] Steven-Davis: Got it. Agreed we should cancel surveyor?
             [7/7/18,.9:10:03 PM] Steven-Davis: (And focus on Pod/engineering)
             [7/7/18, -9:10:55.PMJ +1 (650) 796-6296: Yes. They are not wanting to do exploratory
            drilling· with terrain on top of the mountain.
             [7/7/18, 9:11:33 PM] +1 (650) 796-6296: So even a better fix on where the cave is
            prob not· a huge help;. _ ..
            (7/7/18,. 9:16:13 PM) +f (650)-·796-6296: We can help with pumps too. Won't solve it
            but we want to keep on top of additional rain coming
            [7/7/18, 9:16:43 PM] +1 (650)·796-6296: Vince working it locally and high power here
            will help in case needed
            [7/7/18, 9:21:17 PM] +1 (310)· 562-4292: Contact card omitted
            [7/7/18, 9:21:41 PM].+l (863).206-0685: Zach, We have an additional 2MW sorted
            nearby that we can bring in if needed
            [7/7/18, 9:22:15 PM] +1 (310) 562-4292: Contact card omitted
            [7/7/18, 9:35:44 PM] +1 (626) 755-4370: Chris use the send link function if you're
            trying to add folks
            [7/7/18, 9:56:23 PM] +1 (310) 562-4292: The survey equipment from Bangkok has a one
            week lead time. Only part of the system is on hand.
            [7/7/18, 9:57:02 PM] +1 (650) 796-6296: Steve can you provide more intel on the
            survey equipment that would come from Germany if we do that?
            [7/7/18, 10:06:02 PM] Steven Davis: Survey notes:
            1. Surveyors have been cancelled
            2, These were land surveyors, meaning they could only survey from entrance to first
            pool. That was useful when purpose was to drill to drain water. If drilling for
            oxygen, that is farther downstream and we would need the underwater survey team too
            for a complete survey
            3. However, if drilling for oxygen, the land survey would have positive value since
            it at least reduced error band at end
            4. I will forward you list of equipment surveyor was going to bring
            s. we have the most complicated part of the equipment (total station) in Germany. I
                                                        Page 15




                                                                                                      MUSK_003217




                                                                                                      Exhibit 57
                                                                                                      Page 873
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 81 of 98 Page ID #:2087




                .     .     . .                          _chat. txt
            will halt it from ·shipping to USA (was going to ship on Tuesday) so it is not stuck
            in transit if we need it. We can also discuss having it shipped to you now, but we
            should see what happens in next few hours.
            [7/7/18, 10:14:23 PM] Steven Davis: A few notes on schedule:
            1. E plane departs at 6 AM
            2, Before departure, We wi11··monitor current rescue effort
            3. :-Before ·departure, we will. do a pool test/video - currently working on getting a
            pool                     .. ·     _·
            4. While p1ane ·is ill -air·, we- caii test the other "qual unit" in the bathtub and/or
            ventilation duct apparatuS and/or any other test we can think of.
            [7/7/18, 10:16:59 PM] +1 (626) 755-4370: Sun doesn't come up till 5:50 tomorrrow,
            not sure.how we get a test video in daylight and leave at 6am unless plan has
            changed to do video.overnight
            [7/7/18, 10:17:18 PM] Steven Davis: Indoor pool
            [7/7/18,. 10:17:45 PM] +1 (310) 562-4292: Bay club has an indoor pool
            [7 /7 /18, -10 :19:42. PM]: +1 (626). 755-4370: Ok we should start talking about getting
            some divers rested who can dive tomorrow morning. Dangerous for People who have been
            working this all day to be diving at 3am or whatever
            [7/7/18, 10:25:35 PM] +1 (503) 896-7596: Test plan:
            Outfit with plumbing and.cylinders and weight belts
            Dry.. harldung test ·in" tubes built by boring company (not flooded) optional
            ECL5S.test.oi1 land (mandatory before anyone goes inside underwater)
            ManeuVE!rin"g te"st 1.:i"n·derWater· 1n··a pool with nobody inside and go thru steel frame
            that is representative size
            Put ··a sinau·. person· ··inside' unde.rWater- need to figure out an emergency bailout plan
            Need list:
            300 lbm o{.cfiv-e' weights.
            8 diving weight belts
            2 scuba cylinders to attach
            Bailout system- maybe will's bailout bottle
            Underwater camera setup
            [7/7/18, 10:26:53 PM] +1 (616) 406-7460: image omitted
            [7/7/18, 10:27:03 PM] +1 (626) 755-4370: I have a couple belts and maybe 50 lbs
            [7/7/18, 10:29:03 PM] +1 (503) 896-7596: I have 20 lbs and no belts
            [7/7/18, 10:30:36 PM] +1 (516) 587-3899: image omitted
            [7/7/18, 10:31:12 PM] +1 (310) 562-4292: Got some more info. There is no rocks or
            weight that can be added for ballast purposes in the cave.
            [7/7/18, 10:31:12 PM] +1 (310) 562-4292: Also the tightest constriction is only
            large enough for a skinny adult male. They dent have measurements.
            [7/7/18, 10:31:13 PM] +1 (310) 562-4292: Like the British dude that you first met
            the other day.
            [7/7/18 1 10:32:06 PM] +1 (310) 562-4292: The 32-38 cm restriction is sounding
            accurate from the British divers
                                                    Page 16




                                                                                                          MUSK_003218




                                                                                                          Exhibit 57
                                                                                                          Page 874
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 82 of 98 Page ID #:2088




                                                  _chat.txt
            [7/7/18, 10:33:04 PM] +1 (626) 755-4370: That's the dry construction or the one
            diving one that 1 s 15 ft long
            [7/7/18, 10:33:11 PM] +l (626) 755-4370: Constriction
            [7/7/18, 10:36:03 PM] +1 (503) 896-7596: We heard it was 2 ft x 10 feet from the
            diver named Ben
            [7/7/18, 10:36:16. 'PM] +1 · (503) ··896-7596: He was saying that height is an issue but
            width is-not .. ·.-· ·.             .
            [7/7/18,.10:39:41.PM] +1- (310).562-4292: The British team agrees height is the
            issue. It's a belly crawl. There's zero visibility in this section of the cave, no
            idea whO's more correct
            [7/7/18, 10:41:40 PM] +1 (310). 562-4292: video omitted
            [7/7/18,:10:42:11 PM] +1·{310) 562-4292: Scary tight
            [7/7/18, 10:47:24 PM] +1 (616) 406·7460: image omitted
            [7/7/18,.10:48:02·PM]·+1· (616) 406-7460: image omitted
            [7/7/18,·11:00:04.PM]·Steven Davis: Looks awesome. Likely pool testing tonight and
            qua! testing in Test Facility Bravo tomorrow.
            [7/7/18, 11:04:51 PM] +1 (616) 406-7460: copy. Can we get clarity on whether or not
            to cut it and if so, how_large_to make the parts?
            [7/7/18, 11:05:28 PM] Steven Davis: Call cell
            [7/7/18,. 11:06:30 PM] +1 (323) 430-1160: Looks like we are getting access to Pali
            High School Pool
            [7/7/18, 11:06:37 PM] +1 ( 323) 430-1160: image omitted
            [7/7/18, 11:08:36 PM] +1 (818) 903-0235: Realistically how much time do we need to
            be ready?
            [7/7/18, 11:08:45 PM] +1 (323) 430-1160: Ok or should we shoot for bigger?
            [7/7/18, 11:13:34 PM] :steven D8vis: Is it well-lit?
            [7/7/18,·11:14:10 PM] +1 (616) 406-7460: We just bought a ton on extension cords and
            work lights
            [7/7/18, 11:14:17 PM] ·+1 (616) 406-7460: of•
            [7/7/18, 11:16:02.PM] +1 (626,. 755-4370: Does it have a deep end for diving?
            [7/7/18, 11:16:31 PM] +1 (818) 903-0235: Can be fully lit enough to do evening swim
            meet     ·
            [7/7/18, 11:16:45 PM] Steven Davis: Chris E said 3-4 hours for nosecone attachment
            [7/7/18, 11:17:50 PM] +1 (323) 430-1160: Has a deep end, but not an Olympic
            platform ••. checking on depth. They do have diving boards
            [7/7/18, 11:18:25 PM] +1 (323) 430-1160: image omitted
            [7/7/18, 11:18:55 PM] +1 (323) 430-1160: image omitted
            [7/7/18, 11:29:10 PM] +1 (503) 896-7596: Based on open work I propose the following
            timeline (which Elon agreed to so if everyone else is on board we can start
            executing).
            Finish the pod tonight
            7am dry fit check in boring company tube (Mike Lee)
            8am assemble plumbing for in water configuration and dry ECLSS test
            (Chris/Ted/Armor)
            9am transfer to pool and perform pool testing (Armor)
            12:30am pack up
            2:30pm wheels up (hardstop due to Thailand airport requirements)
                                                   Page 17




                                                                                                       MUSK_003219




                                                                                                       Exhibit 57
                                                                                                       Page 875
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 83 of 98 Page ID #:2089




                                                       _chat.txt
              [7/7/18, 11:35:51 PM] Steven Davis: Sounds great. When can second Pod be ready for
             additional qual testing while you are in air (even with flat-plate nose)?
             [7/7/18, 11:38:09 PM] +1 (616) 406-7460: What modifications or preparing can/should
             we do for the boring company tube?
             [7/7/18, 11:39:20 PM] +1 (650) 796-6296: Did you all see the tight squeeze video
             that bowman sent? We-have not-100% confirmed that this was actually this cave, but
             their were anecdotes that it was. If so, very tight. It would match the .38m from
             the map.
             [7/7/18,· 11·:39:20 PM].+1· ·(310) ·5624292: Vince, Zach and I are leaving the site.
             We'll head back this evening fOr the day's debriefing.
             (7/7/18, 11:40:23 PM] +1 (650) 796--6296: Armor's chat with the diver saying 2' would
             be much better         ..
             [7/7/18,_ 11:41:03 PM]-Steven·Da"vis: I didn't hear back from Eon the ducting. My gut
             is that we don't need_.to transfer it to the pool because either:
            1. He won't want it ...... .
            2. If he does, we can·"just use a 20' straight section
            2. If·he does want it,              .
             (7i7/18, · 11:41:08 PMJ +1 ·{5·26)'-7554370: The diver on that call said the squeeze
            that was under water was.about 2 ft and the floor was gravel so could be dig out a
            little more if.something-got stuck
             [7/7/18, 11:41:31 PM] +1· (917) 370-8640: We can have the second unit ready by noon
             [7/7/18, 11:41:44 PM]·Steven Davis: Thx
            (7/7/18,- 11:41:47 PM]:+1 (626) 7554370: I'm not sure if we asked if he had
            personally been to it or not or was just relaying from other divers
            [7/7/18, 11:42:18 PM].+1 (917) 370-8640: *flat nose version
            [7/7/18,·11:42:42_PM]-+1.(626)·7554370: The pies sent around also seemed to have
            pretty gOod visibility as compared to reports of low vis
            [7/7/18, 11:44:59 PM] +1 (626) 7554370: Is there a call in for debrief tonight?
            (7/7/18,. 11:45:00 PM] +1 (503).896-7596: Ducting guys: plan is to leave the big 3
            foot ducting at the bOring company. We want to bring the steel frame to the pool
            [7/7/18, 11:45:56 PM] +1 (310) 562-4292: No call for the meeting
            (7/7/18, 11:48:59 PM] +1 (321) 543-5401 joined using this group's invite link
            [7/7/18, 11:51:50 PM] +1 (650) 796-6296: We'll get notes out though
            [7/7/18, 11:52:14 PM] +1 (650) 796-6296: It's an ops debrief from the thai govt team
            on today's activities.
            [7/7/18, 11:54:29 PMJ Steven Davis: From E: for initial pool testing} no steel
            ducting.
            [7/7/18, 11:56:00 PM] +1 (310) 562-4292:,iof,qnu\l'l,.,u(updated 8 July 18) • 2 pages
            document omitted
            [7/7/18, 11:58:16 PM] +1 (818) 903-0235: I will send Pool info shortly
            [7/8/18, 12:19:04 AM] +1 (616) 406-7460: Who is 321-543-5401?
            [7/8/18, 12:28:51 AM] +1 (626) 755-4370: Mike Lee-working testing planning
            [7/8/18, 12:30:15 AM] +1 (616) 406-7460: Copy
            [7/8/18, 12:34:00 AM] +1 (408) 203-2072: Team in chaing rai - was just picked up and
            they are taking me to the hotel. Let me know where to meet you.
            [7/8/18, 2:01:03 AM] +1 (310) 562-4292: The divers here dispute the video with the
            tight squeeze. The water is much murkier and the opening is larger, ~2', The
            numbers are all over the place •••
                                                    Page 18




                                                                                                     MUSK_003220




                                                                                                     Exhibit 57
                                                                                                     Page 876
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 84 of 98 Page ID #:2090




                                            .     _chat,txt
           . [7/8/18, 2:12:49 AM] +1 (323) 430-1160 added +1 (603) 438-7126
            [7/8/18, 4:58:43 AM] +l (408) 203-2072: We are heading to the site for a meeting.
            Contradicting reports saying 2 boys are freed. No official confirmation yet.
            [7/8/18, 5:35:26 AM] +l (650) 796-6296: Confirmation that 2 are out. We're gonna
            find out.what the tentative schedule forward is. Hearing next group will be big - 6
            kids.   .     .
             [7/8/18i. ·s:s8":42 AM]..+l ·(408} 203-2072: They are continuing with the rescue
            operation tonight to.try and get two more out today. After that there is a 20 hr
            window starting around 10am tomorrow where survey could happen.
             [7/8/18, 6:00:12 AM] Steven Davis: So 2 are out and zero are enroute?
             [7/8/18,.6:00:56 AM] Steven·Davis: Was told that 4 were enroute now. Is that
            inaccurate?
            [7/8/18, 6:01:25 AM(+1.(3:ie{S62-4292: 4 out and safe. Going to the hospital!
            [7/8/18, 6:02:08 AM] _·Steven Davis: Awesome. And going for 2 more for total of 6?
            [7/8/18, 6:11:30 AM] +1 (408) 203-2072: There is a parallel plan to drill laterally
            towards the cave for.air injection and water drainage. Herrenkenecht has a drill
            coming tomorrow but accuracy of location is still issue. Thai team here will start
            survey work at entrance of cave-tomorrow to survey first portion but they need help
            in remaining portion. If we can get equipment here (imu) asap to continue survey
            that would be most helpful •. TheY still believe bringing pods would be useful in case
            some of the children are weaker.
            [7/8/18, 6:16:02 AM] +1 (650) 796-6296: Steve can you call?
            [7/8/18, 6:33:15 AM].+1.(650)_796-6296: We are going to the cave at 9am to talk to
            the seal team about how to use the imu. Any info on Nemo or IMUle for underwater
            survey will help us prep for this mtg.
            [7/8/18,_6:34:10 AM] Steven Davis: Best 2 contacts are Corey, Ben, and Kenny Broad.
            Connecting you w·Kenny now ..
            [7/8/18, 6:39:27 AM] +1 (650)·796-6296: Continue to have no luck with getting Ben.
            Will reach out to Corey. I'm-really interested to see if we can use the mnemo to do
            dry sections as well after the first flooded section
            [7/8/18, 6:39:42 AM] Steven Davis: Call Kenny. He just texted u
            [7/8/18, 7:06:33 AM] +1 (408) 203-2072: Is mike C traveling on Es jet tomorrow?
            [7/8/18, 7:06:53 AM] Steven Davis: Yes
            [7/8/18, 7:07:08 AM] +1 (408) 203-2072: Copy thanks
            [7/8/18, 7:07:15 AM] +1 (310) 562-4292: Can someone send us pictures, schematics,
            etc •• for the pods? We'll be talking with the Seals tomorrow morning and need to
            explain it.
            [7/8/18, 7:07:41 AM] +1 (626) 755-4370: When do you need them by?
            [7/8/18, 7:08:04 AM] +1 (310) 562-4292: 9-10 hours
            [7/8/18, 7:08:12 AM] +1 (626) 755-4370: Wilco
            [7/8/18, 7:09:26 AM] +1 (626) 755-4370: Will develop documentation during those
            exercises over next few hours
            [7/8/18, 7:09:43 AM] +1 (626) 755-4370: During testing exercises
            [7/8/18, 8:16:41 AM] +1 (650) 796-6296: Hey all - things continue to be fluid here.
            Tomorrow is turning into another rescue day (I think because today went so well).
            [7/8/18, 8:17:24 AM] +1 (650) 796-6296: Our meeting with the seals at 9 have been
            called off but please still send the schematics and pies because we don't know when
            we'll get a target of opportunity to talk to the divers.
                                                   Page 19




                                                                                                     MUSK_003221




                                                                                                     Exhibit 57
                                                                                                     Page 877
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 85 of 98 Page ID #:2091




                                                    _chat.txt
            [7/s/18·, 8:20:'49 AM] +1 (650) 796-6296: Not sure how many they will try to get out
            tomorrow, but the number 6 keeps getting thrown around.
            [7/8/18, 8:26:55 AM] +1 (503) 896-7596: Pod is looking pretty good. Will send pies
            along in a bit
            [7/8/18, 8:30:24 AM] +1 (503) 896•7596: image omitted
            [7/8/18, 8:30:41 AM] +1 (503) 896-7596: image omitted
            [7/8/18, 8:57:50·AM] ·+1 (321) · 543-5401: Pod is en route to the pool
            [7/8/18,."8:58:02 AM]·+l'.(321) 543-5401: Per google eta 22 min
            [7/8/18,. 9:07:19 AML+l .(301) .233-8525: Solid. We're setting up now. Proposal:
            Get our bearings·at 4' on the-near side, do a few drills, etc
            Transfer over to the 14' for more serious testing
            [7/8/18, 9:07:34 AM] +1 (301) 233-8525: image omitted
            [7/8/18, .9:19:44 AM] +1.(321) 543-5401: Armor and I are en route with o2 sensors,
            tanks, gopros, and our dive gear
            [7/8/18, 9:20:10 AM] Steven Davis: Any pressure sensors?
            [7/8/18, 9:21:12 AM].+l (321) 543-5401: One, but not battery powered
            [7/8/18,·9:21:27 AM] .+1 (503) 896-7596: Don't need pressure sensors
            [7/8/18,." 9:21:33 AMJ ·+1. (32lf 543-5401: Pool crew- can· you scrounge up some ratchet··
            straps, Or send SomeOne•out to get them?
            [7/8/18, 9:21:46 AM] +1 (503) 896-7596: @13234301160
             [7/8/18, 9:25:30 AM] ·+1·(785).764-0421: Got the ratchet straps. Pod is at the pool
             [7/8/18, 9:28:41 AM] +1 (785) 764-0421: Armor can you pls send someone with a
           . pressure· sensor?           ·.
             [7/8/18,.9:29:03-AMl steVen_Davis: Will want to show pressure profile in Pod to
             Thai, even tho is common sense. Not urgent, and can happen on later test or Pod.
             Just sometime before it lands in Thailand. Thx.
             [7/8/18, 9:29:18 AM] Steven Davis: And send pies of pool test!
             [7/8/18,. 9:31:54 AM].Steven Davis: Sam Waldman verified !MULE will NOT work for
             water nav,
             [7 /8/18, 9: 34:41' ·AM]: +1 (785) 764-6421: image omitted
             [7/8/18,•9:34:53-AM]·+l (785) 764"8421: image omitted
             [7/8/18, 9:35:00 AMJ +1·(323).430-1160: Any video?
             [7/8/18, 9:36:01 AM] +1 (785) 764-0421: Stills on the dry, will video water test
             momentarily
            [7/8/18, 9:43:16 AM] +1 (785) 764-0421: video omitted
            [7/8/18, 9:44:55 AM] +l (503) 896-7596: Left Spacex and I'm 17 mins out, Ian Fischer
            is coming with the rental gear we need and he is 35 mins out
            [7/8/18, 9:55:57 AM] +1 (323) 430-1160: I'm 20 out

            Ashish our video editor is 40 out
            [7/8/18, 10:36:48 AM] +1 (301) 233-8525: For Powerwall the current proposal is to
            cancel the operation due to deployment concerns, practically of our product in this
            environment, absence of strong request on site, and the expedited timeline of the
            rescue operation.
            If anyone feels differently please speak up.
            [7/8/18, 10:41:13 AM] +1 (301) 233-8525: Consequently, plan of record is that Tesla
            components and Dave and I won't by flying. This also helps alleviate cargo concerns
                                                   Page 20




                                                                                                         MUSK_003222




                                                                                                         Exhibit 57
                                                                                                         Page 878
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 86 of 98 Page ID #:2092




                                                   _chat.txt
            [7/8/18·, 10:45:36 AM] +1 (310) 956-5308: That sounds like the right move to those of
            us here on the ground. Coryell has gensets moving for the only expanded power needs
            we expect to see.
            [7/8/18, 10:48:07 AM] Steven Davis: Agreed
            [7/8/18,·11:08:12 AM]·steven Davis: You saw E's note? Do we know the approx
            height/weight of the "smallest lad?"
            Risk ·of.. 01Jr- ..POd •is· i"ts. length/r'~dius of curvature. If this kid is 3'6" tall, we
            would consider a shorter one.
            Flo .i~ checkirig'. but ·is 1:·am··the"re.
            [7/8/18, 11:10:00 AM] Steven Davis: Is 11 years old - average height for 11 year old
            is 3'7"
            [7/8/18,:.·11•:i1:11LAM] •+i' (50:3)_-896-7596: We would plan to use the tube we have but a
            smaller child means we c8n put.more weight inside which is easier conops
            [7/8/18,: 11:19:06 AM] +1 (408) 203-2072: Haven't been able to get any more info on
            height
            (7/8/18; 11:26:40 AM].+l (262) ·221-0668 joined using this group's invite link
            (7/8/18,. 11:30:11·AM] +1·(616) :406-7460: Who is 262-227-0668?
            (7/8/18, 11:30:43 AM] +1 · (262) 227-0668: Ashish - I work with the marketing team at
            SpaceX
            [7/8/18,   11:31:26   AM]   +1:   (616) 406-7460:    Copy
            [7/8/18,   11:41:42   AM]   +1    (785) 764-0421:    image omitted
            (7/8/18,   12:06:24   PM]   +1    (323) ·430-1160:   image omitted
            [7/8/18,   12:07:53   PM]   +1    (323) 430-1160:    video omitted
            [7/8/18,   12:08:49   PM]   +l    (323).430-1160:
            https://twitter.com/elonmusk/status/1016029967270928384?s=12
            [7/8/18, 12:09:15 PM] +1 (626) 755-4370: Rolling out to pool, eta 40 min
            [7/8/18,.12:09:25 PM] +1 (626) 755-4370: Have second cap, gauge, rtv, etc
            [7/8/18, 1:24:16 PM] +1 (323) 430-1160: video omitted
            (7/8/18, 1:27:27 PM] +l. (323).430-1160: video omitted
            [7/8/18, 1:56:16 PMJ·+l (323) 430-1160:
            https://twitter.com/elonmusk/status/1016063173139427329?s=12
            [7/8/18, 2:08:20 PM] +l (616) 406-7460 added +1 (303) 956-6736
            [7/8/18, 2:54:47 PM] Steven Davis:
            https://mobile.twitter.com/elonmusk/status/1016070898590232577
            [7/8/18, 3:13:54 PM] +1 (310) 704-3319 joined using this group's invite link
            [7/8/18, 3:29:30 PM] +1 (323) 430-1160: image omitted
            [7/8/18, 3:36:59 PM] +1 (310) 956-5308: See you all soon! Impressive work by you all
            back there.
            [7/8/18, 3:37:57 PM] +l (650) 796-6296: Thanks Sam - what is your latest eta?
            [7/8/18, 3:39:05 PM] +1 (323) 430-1160: Approx 10pm local
            [7/8/18, 3:39:22 PM] +1 (650) 796-6296: Great - thank you
            [7/8/18, 3:41:53 PM] +1 (323) 430-1160: If you guys on the ground have any input on
            what questions the government/divers would want to know about the pod we can prep
            info and documentation in advance
            [7/8/18, 3:43:31 PM] Steven Davis: Good call. Regulators always ask one question -
            factor of safety.
                                                            Page 21




                                                                                                          MUSK_003223




                                                                                                          Exhibit 57
                                                                                                          Page 879
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 87 of 98 Page ID #:2093




                    .                                  .      _chat. txt
            [7/8/18, 3:44:49 PM] +1 (650) 796-6296: Agreed. Also basic specs and operations
            would be helpful. If we get time with the seals that would operate it we will share
            and get feedback.
            [7/8/18, 3:45:14 PM] +1 (650) 796-6296: The pies and videos are great for this -
            thanks
            [7 /8/18, · 3 :47 :52 ·PMl ·+1. ·(626)"_ ·755-4370: We are working on some basic documentation
            now-will:try to.get done in the next 30-60 Mina
            [7/8/18,·3:50:33 PM) +1 (650) 796-6296: Perfect - thanks
            [7/8/18,.3:51:43 PM]_"+l (323).430-1160: video omitted
            [7/8/18,· 3:51:54 PM].+1 (785) 764-0421: Zach, what fitting interface do they have on
            the scuba bottles?
            [7/8/18, 3:52:42 PM) +1 (650) 796-6296: I'll find out.
            [7/8/18,,3:53:11 PM]·+1 (650) 796-6296: Also for folks coming out - get the
            messenger app Line. ·1hai team uses it a lot.
            [7/8/18, 3:54:20 PM] ·+1 (310) 956-5308: What fittings are needed for the pod?
            [7/8/18, ·3:ss:16 PM] +1.(503) 896-7596: We ultimately need to connect to -3 or •4
            straight.threat boss ports. We have an array of adapters and hoses to connect to
            what they have
            [7/8/18, 3:57:07.PM]+l· (6i6) 406-7460: Who is 310-704-3319?
            [7/8/18,.3:57:24 PM] +1.(310).704-3319: Kevin Lehner
            [7/8/18, 3:57:53 PM) +1·(616) 406-7460: Copy that!
            [7/8/18,·4:05:50 PM] +1·(503).896-7596: When we get there, developing the conops of
            how we use the pod will-take a decent amount of discussion with the divers. There
            are several ways we can configure the pod and pod conops depending on what the
            situation is and how we want to use it.
            [7/8/18, 4:06:56 PM].+1·(503) 896-7596: We can work out questions like fitting
            interfaces during those'discussions
            [7/8/18, 4:15:27 PM] +1:(503) 896-7596: One question is how many bottles worth of
            gas (is it pure 02?).are the kids needing to make it through the longest swim
            section?
            [7/8/18, .4:"22:47·PM]'-+1·"(S16)·_587~3899: For consideration: a winch on land that
            connects to pod lifting·eye on nose cone to guide divers out and assist with
            current. Carribeaners and rock climbing gear like cams could be used to guide wire
            rope through cave obstacles. Hardline comms could be fixed to wire rope for
            contacting divers and/or kids. 4 man team, 2 operating winch and comms, 2 divers
            guiding pod through cavern
            [7/8/18, 4:41:35 PM] +1 (650) 796-6296: Here 1 s the answer on the tank fittings:
            Zach: here is the answer I just got back from the. SEAL:
            We use k valve and j valve tank which can connect to regular regulator.
            The working air pressure is about 180 to 220 bar.
            Am I answer your   question?
            [7/8/18, 4:41:43   PM] +1 (650) 796-6296: Does that answer the mail?
            [7/8/18, 4:42:58   PM] +1 (650) 796-6296: Agreed on really working out conops. They
            will be down for   it if we have to go this route. Simplicity will be key because it
                                                     Page 22




                                                                                                             MUSK_003224




                                                                                                             Exhibit 57
                                                                                                             Page 880
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 88 of 98 Page ID #:2094




                                                      _chat.txt
            ·will be crowdE!d ·an·d hectic.
             [7/8/18, 4:43:52 PM] +1 (503) 896-7596: Ok thanks Zach, that describes a standard
             scuba cylinder. Our main question is how many cylinders we need to attach to the
             pod. So the question is how many did the each of the 4 kids require during their
            transit out?
             [7/8/18, 5:17:38.PM]" +1 '(626). 755-4370: Chris bowman-working on documentation and
            have some stuff down;- Do you have access to email or Skype to send you a link? It's·
            on confluence so you can see-live status. I sent you, Zach, flo, and Vince the link
            to the working document
            [7/8/18, 5:21:17 PM] +1 (310) 562-4292: Chris.bowman@gmail.com
            [7/8/18, .. 5:32:52 PM]_ +1 (650) 796-6296: And spx   email is working for me
            [7/8/18, -5:57:52 PM].+1 (650}"796--6296: Armor -     we'll find out today. We think a
            single tank is likely.for each individual dive,       but they may change tanks after each
            water section •. We will find out more as we have     access to our seal contacts (they
            are engaged in·the rescue at the moment).
            [7/8/18, 6:28:40 PM] +1 (650} 796--6296: Team on      the plane - do you all have rooms
            for tonight or do we need to help?
            (7/8/18, 6:28:46 PM] +1 (650) 796-6296: 8 of you, right?
            [7/8/18,. 6:37:14 PM] +1 (323) 430-1160: We have rooms
            [7/8/18i 6:37:15 PM] +l. (323) .430-1160: Thank you
            [7/8/18, 6:37:28 PM] +1 (650). 796-6296: Great - thanks
            [7/8/18, 7:36:17 PM].+1· (650) 796-6296: As we start getting raw survey data (from
            the mnemO, Pegasus or other system) do we have someone that can be crunching this
            data and fitting it to the existing French survey data. The goal being to improve
            accuracy.as we can. Every bit helps for the directional drilling effort.
            (7/8/18,.7:37:03 PM] -+1 (650) 796--6296: The Thai team will try to get total station
            data to the first water interface later today
            [7/8/18; 7:37:16 PM] +1 (310) 562-4292:
            https://www.dropbox.com/s/nz4f90sxsec2lll/For%20transfer.7z?dl=0,
            [7/8/18, 7:37:59 PM] Steven Davis: Sounds like a perfect job for the boring company
            alignment team.
            [7/8/18, 7:38:3s· PM] steven.·oavis: I can't access the Dropbox now, but is that the
            French data?
            [7/8/18, 7:38:50 PM] +1 (310) 562-4292: This is a 3D model of the mountain with a 2D·
            profile of the French survey
            [7/8/18, 7:39:29 PM] +1 (310) 562-4292: Still waiting on Didier for the original
            survey data
            [7/8/18, 7:42:37 PM] +1 (323) 430-1160: image omitted
            [7/8/18, 7:43:15 PM] +1 (408) 203-2072: •
            [7/8/18, 7:48:20 PM] Steven Davis: Arwa at TBC and Tooley/Team in SpaxeX GNC are
            onboard to process survey data. Will send email.
            [7/8/18, 7:48:58 PM] +1 (408} 203-2072: Awesome
            [7/8/18, 7:49:15 PM] +1 (650) 796-6296: Kickass - thank you. As we get raw data
            we'll send it. Anchoring to the survey seems key to me. Just get better bit by bit
            to have the best possible target.
            [7/8/18, 8:06:57 PM] Steven Davis: Cool. Email sent. Duncan and Don are in as well.
            They are quasi-familiar as they did the analysis earlier showing the IMULE wouldnt
            work.
                                                   Page 23




                                                                                                         MUSK_003225




                                                                                                         Exhibit 57
                                                                                                         Page 881
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 89 of 98 Page ID #:2095




                                                   _chat,txt
            [7/8/18·; 8:09:15 PM] +1 (626) 755-4370: Let me know if they run into issues. Some of
            the cave mapping software can best fit multiple data sources as well-can ask folks
            to take a look
            [7/8/18, 8:18:08 PM] +1 (818) 903-0235 added +1 (951) 358-9921 and +1 (626) 241-6293
            [7/8/18, 8:18:17 PM] +1 (818) 903-0235: Adding Tooley and Arwa
            [7/8/18, _8:21:10 PM] Steven oavis: Will - any specific cave mapping software
            packages? _ . ..            .·
            [7/8/18, 8:26:39 PM] +1 (408)· 203-2072:
             https://leica-geosystems.com/products/laser-scanners/scanners/leica-rtc360
             This is the scanner we have coming today. We can use this for the initial dry
             portions if.deemed useful or typical survey with total station. We believe this will
             be easier to carry through the submerged sections though. If we do use this it needs
             to·be anchored outSide cave and then we also need to tie in data to submerged
             section which will be done with-more traditional methods (taught line, compass and
             depth readings). Any advice you guys have to make data processing easier would be
             great.
             [7/8/18,·· 8:33:25 ·PM] ·steven· Davls: I put a survey meeting on books for tonight at
             930 PM Thailand time (730 am tkmkrrow PST). If at least one person from Thailand
             could call in, would be helpful to help get the Hawthorne team going
             [7/8/18, 8:34:35 PM] +1 (323) 430-1160: 9:30pm Thailand time is also our ETA in
            Chiang Rai
             [7/8/18., 8:36'!30 .. PM]."+1 (626) .755-4370: Two most common software packages in the us
            are "compass,, and "walls"
            http://www.fountainware.com!c"ompass/
            https://www.texasspeleologicalsurvey.org/software/walls/tsswalls.php
             [7/8/18., 8:37:16 PM] +1 (626) 755-4370: Thy are set for traditional cave survey data
             (distance, azimuth, inclination between stations)
             [7/8/18, 8:37:25 PM] +1 (626) 755-4370: I'm not sure what the other data sets will
            look like           .
            [7/8/18, 8:38:24 PM].+1·'(626)'_755-4370: But they have tools inside to do "loop
            closure" where you have two survey chains that should end up at the same point and
            they use.statistical prOcesses to do best fits with minimum data adjustment
            [7/8/18, 8:38:43 PM] +1 (626) 755-4370: You could stitch multiple surveys together
            like that
            [7/8/18, 8:39:33 PM] +1 (626) 755-4370: There are also other ad how software codes
            people have written to do similar data management and cleaning. There are many cave
            cartographers out there who would be happy to work on this problem, I am sure
            [7/8/18, 8:40:11 PM] Steven Davis: Thanks. Might be useful for TBC tunnels too. Our
            current nav system/SW is pretty unimpressive.
            [7/8/18, 8:41:08 PM] +1 (626) 755-4370: There is an open Facebook group for the
            national speleological society survey and cartography section here:
            https://m.facebook.com/groups/259168280860864/?ref=group_header&view=group
            [7/8/18, 8:41:23 PM] +l (626) 755-4370: As you can see I've already been asking for
            help obtaining the original maps there
            [7/8/18, 8:42:09 PM] +1 (626) 755-4370: If someone wants to post links to the data
            sets we have and ask for help, I 1 m sure you'll get experienced volunteers.
            [7/8/18, 8:42:56 PM] +1 (626) 755-4370: Otherwise I'm collecting some contact info
            for specific experts that we can ping directly
                                                     Page 24




                                                                                                          MUSK_003226




                                                                                                          Exhibit 57
                                                                                                          Page 882
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 90 of 98 Page ID #:2096




                                                         chat.txt
            [7/8/18, 8:48:54 PM] +1 (503) 896-75967 Does anyone on the ground know what caused
            the injuries to one or more of the kids during the first rescue attempt? Was it
            getting banged around in the cave or decompression sickness or something else?
            [7/8/18, 11:17:05 PM] +1 (785) 764--0421: Here is a high level list of what we are
            bringing.           .
            -lx submarine pod.        .....   ·... ··.
            -lx fitting_ spares· kit lot"'· pod ·
            -lx.pod fit.check tool
            -sx 02/co2 monitors
            -lx anemometer         .
            -7x.inflatable pods       ,...... .
            -ix.inflatable pod repair kitS
            -2x. sat phones      .          .
            -lx .sat internet· ri10dem ·afld router, mOderri· ·con.firmed· actiVated
            -3x-general tool boxes.
            -lx .general· eled:rical kit "and ·tools
            -lx white bOard
            (7 /8/18, 11: 17:32 PM] +1 (785) · 764-0421: FILE_2518, pdf
            (7/8/18, 11:20:18 PM] +1 (785) 764-0421: image omitted
            [7/8/18, · 11:20:32 PM] +1 (785) 764-0421: image omitted
            [7/8/18,. 11:23:33 PM] -+1 (408) 203-2072: Ok copy. There are· 2 pick up trucks lined
            up for equipment along with vans for personnel
            [7/8/18, 11:41:49 PM] +1 (785) 764-0421: Great, txs
            [7/8/18, 11:59:20 PM] +1 (323).430-1160: Do we have a good area on site to unload
            the pods and gear?
            [7/9/18, 12:05:18 AM] ·+1 ·(408).:203-2072: There's a base camp at a temple where the
            meetings.are held·with-space there for us to unload.
            [7/9/18,.12:06:44 AM] +1 (323) 430-1160: Plane team crashing for a few
            [7/9/18, 12:07:28 AM] +1 (323) 430-1160: Not CRASHING, but,,,
            [7/9/18, 12:56:04.AM] ·+1.(408)203-2072: We were able to speak to some of the
            British diving team and see pictures of interior of cave. They couldn't say for sure
            if the pod would fit or not but said divers would likely want to see it and make the
            call. water levels today are lower • This has made some aspects more difficult
            actually as the bottom terrain in some areas is very hard to traverse on foot. There
            is a large length where they have a zip line.
            [7/9/18, 1:02:00 AM] +1 (303) 956-6736: For the pod team: there is a bolt on the
            forward bulkhead under the nosecone that is plugging a port. It works, but it would
            be good to put it with some RTV on it, from both the inside and the outside, to make
            sure it stays and leaks as little as possible.
            [7/9/18, 6:29:15 AM] +1 (408) 203-2072: image omitted
            [7/9/18, 7:26:47 AM] +1 (323) 430-1160: Good evening - we are landing in the next s
            mins. We've got two passenger vans plus trucks for all the gear and will be escorted
            by the military. We will head straight out to the site (no hotel stop). Elon is
            invited to the Hcommand center" for a handshake with the Interior Minister (no
            media).
            (7/9/18, 7:29:53 AM] +1 (323) 430-1160: Wheels down!
            [7/9/18, 8:27:11 AM] +1 (323) 430-1160: Waiting for the Prime Minister to greet Eat
            airport then rolling.
                                                      Page 25




                                                                                                    MUSK_003227




                                                                                                    Exhibit 57
                                                                                                    Page 883
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 91 of 98 Page ID #:2097




                                                    _chat.txt
            [7/9/18·, 9:36 49 AM] +1 (323) ·430-1160: En route to command center temple
            (7/9/18, 9:37 36 AM] +1 (323) 430-1160: image omitted
            [7/9/18, 9;38 28 AM] +1 (408) 203-2072: •
            [7/9/18, 9:45 37 AM] +1 (863) 206-0685: Do we have hotel address? Having shipment
            dropped there
            [7/9/18;. 9:46:'!1·.AM] +1 (310) ·562-4292: Le meridian Chiang Rai
            [7/9/18,·9:47:36·AM]·+l.(310) 956-5308: Hotel Address: Le Meridian Chiang Rai - 221
            / 2 Moo 20 Kwaewai R6ad, Tambon Robwieng, Amphur Muang, Chiang Rai, 57000, Thailand
            Hotel Contact: -·+66 · 53 603 -333 ·
             (7/9/18, 9:48:17 AM] +1 (323).430-1160: There is a block of rooms at another hotel
            as well. Confirming.
             [7/9/18, ... 9:49:47 AM] +1 (310) 956-5308: image omitted
             [7/9/18,.10:20:03 AM] +i (323) 430-1160: 3 mins out
            [7/9/18, 12:52:56 PM].+1 (323) 430-1160: video omitted
             [7/9/18, 12:53:03 PM] +l (323).430-1160: (Video credit Andrew)
            [7/9/18, 1:00:13 PM] +1 (503) 896-7596: @13234301160 we need rides arranged for us
            tomorrow. Boone (the seal), not sure about spelling wants us back on site at 9am
            which means we need to leave our hotel at Barn
            [7/9/18, 1:01:51 PM] +l (323) 430-1160: Copy
            [7/9/18, 1:05:08 PM] +1 (323) 430-1160: Will be there
             [7/9/18,: 1:09:24 PM] +1 (503) 896-7596: Ok who's the point of contact?
             (7/9/18,-·1:15:01 PM] +1_(503) 896-7596: They've been putting the kids in wetsuits
             and under anesthetic.and straPping them to a stretcher. One diver front and back,
           . diver carries the air supplies for the kid. Requires 2 bottles but can be smaller
             than standard (wasn't able to get an exact number). We made it to chamber 3 and we
             can definitely get the pod to there but it will be a slog.
             [7/9/18, 1:16:33 PM] +1 (503) 896-7596: Will meet with dive team tomorrow morning at
             9 and decide if they want to stick with what they've been doing or use the pod in
             some capacity. Trying to get_the rest of the kids out tomorrow.
             [7/9/18, 1:17:49 PM] +1 (424) 200-0382: Will send you. Coordinating with Aaron and
             Bob, security that will stay On the ground here with you guys
             [7/9/18, 1:47:44 PM] +1 (424) 200-0382: This will be your main POC for assisting you
             guys logistically. He will make sure you have drivers and can get access where you
             need.
             Nuttapon Nakarach
             +66 84 759 4057
             +66 62 461 8080
             nuttapon.n@muspacecorp.com
            Also are Aaron and Bob who are security for the group staying the next few days.
            They will be working direct with Nuttapon as well.
            +66 87-884-2122
            Aaron Thai security
            +66 81-257-1336
            Bob Thai security
            [7/9/18 1 1:48:07 PM] +1 (424) 200--0382: We will get a direct driver contact from
            them shortly
                                                   Page 26




                                                                                                    MUSK_003228




                                                                                                    Exhibit 57
                                                                                                    Page 884
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 92 of 98 Page ID #:2098




                                               _chat.txt
         [7/9/18, 1:54:i3 PM] +1 (503) 896-7596: Ok so we're lined up for drivers tomorrow at
         Sam? Awesome
          [7/9/18, 2:26:00 PM] +1 (424) 200-0382: Yes, driver will be there at 8am at the
         meridian for you guys. Nuttapon has confirmed
          [7/9/18, 2:32:26 PM] +1 (323) 430-1160: Once we depart Sob and Aaron are there to
         support you guys
          [7/9/18, 8:12:23 PM] +1.(310) .844-2510 joined using this group•s invite link
         [7/9/18, ·8:43:15 PM] +1 (310) 844-2510: This is Sam Teller - China#
         [7/9/18, 9:52:22 PM] +1.(785)·764-0421: image omitted
         [7/9/18, 10:13:40 PM] +1 (503) 896-7596: Not using the pods for today's rescue
         attempt. Good backup option if they run into issues with this attempt though. Thai
         navy admiral wants us to train them on how to use it after the op since we are
         leaving it here     . ·...     ..·
         [7/9/18, 10:14:18 PM] ·+1. (310) 562-4292: Awesome. Nice work everyone I
         [7/9/18, 10:14:28 PM] +1 (503) 896-7596: Expecting the first kid out around 3-4pm
         local time and last person out 4 hrs after that
         [7/9/18, 10:15:49 PM] +1 (503) 896-7596: Big monsoon coming so Mike is working with
         Xylem on how to provide significant burst of pumping power if needed
         [7/9/18, 10:16:39 PM] +1 (503) 896-7596: There is also potentially an option to
         drill from the first chamber to a side chamber that might drain the chamber with the
         kids, .50m drill length. That.could start soon, equipment is on site now
         [7/9/18, 11:14:16 PM] +1 (301) 233-8525: Cool to see the Powerwalls got there! I'll
         have to give props to the logistics team! If someone has another photo or few, send
         em my way :)

         If."any'one" fS ·cc;-nsider'in·g"to use them, please reach out and if there is an urgent
         issue call support 877-798-3752
         [7/9/18, 11:15:35 PM] +1 (301) i33-8525: Great work on the other efforts!
         [7/9/18, 11:40:34 PM] +1 (310) 844-2510: image omitted
         [7/10/18, 12:38:10 AM] You removed +1 (951) 358-9921
         [7/10/18, 12:38:15 AM] You removed +1 (626) 241-6293
         [7/10/18,· 12:38:24 AM] You removed +1 (262) 227-0668
         [7/10/18, 1:31:38 AM] +1 (310) 956-5308: image omitted
         [7/10/18, 1:31:39 AM] +1 (310) 956-5308: image omitted
         [7/10/18, 1:31:40 AM] +1 (310) 956-5308: image omitted
         [7/10/18, 2:24:42 AM] +1 (908) 418-1389: 9th kid out
         [7/10/18, 2:51:39 AM] +1 (785) 764-0421: 10th is out
         [7/10/18, 4:32:38 AM] +1 (310) 844-2510: From PM:

         Unofficial translation of segments of PM's press briefing,· 10 Ju1y·201s



         With regards to my meeting with Mr. Elon Musk last night, I have to say that I liked
         and admired him from the very first day that he tweeted his message with sincerity.
         He's a young successful man. He has businesses in satellites, aerospace, drilling
         and many other fields. He offered us assistance. He tweeted that he's ready to help
         if Thailand asked for assistance. He's ready to render support. He also tweeted that
                                                   Page 27




                                                                                                    MUSK_003229




                                                                                                    Exhibit 57
                                                                                                    Page 885
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 93 of 98 Page ID #:2099




                                                        _chat.txt
        . he admi°red our ·woT"k;··that we   ar·e   in control of the situation, and that were helping
         the people efficiently. In the meantime, he's ready to help in all aspects. While
          returning (to Bangkok) last night, I met him in person, together with his staff,
         around 5 people. His private plane flew directly from the us to Chiang Rai, and took
         around 17 hours._I was returning (from my mission in Chiang Rai). We talked at the
         airport. we shook hands and greeted each other. I informed him about what we are
         doing in Thailand; With regards to the (cave) problem, he said he had his
         technology. He said that he wasn't fully ware about the conditions in Thailand and
         had never seen caves like these. He's ready to help but might have to adjust the
         tools somehow, ·to suit the area. The tools he brought are all useful. I saw that
         the capsul he Showed, which can be used for people trapped in caves and rivers.
         We'll have to see how-we can use this. He understands everything. He listened to my.
         explanation. Last night he went deep into the caves/chambers. I believe that he
         probably had.more.ideas, innovations and products to be suggested. I asked him if he
         can help Thailand acquire more tools for rescue operations, but actually not just
         Thailand; but for•ASEAN, as we share the same topography. I also said that Thailand
         stands re8dy to support any entrepreneurial interests, because his company is a big
         company and prominent in many areas. I also informed him about the EEC,
         connectivity, innovation; and Thailand's digital transformation. He said he was
         interested. He mentioned he had to go to China on a business trip, but if he has
         the time he: might come back .. For the equipment he kindly gave us, he left it for us
         to study and use. We'll see how we can make use of this. When you have a useful
         product, it might also be useful for another purpose as well. So there is always
         the possibility of_it being modified and adjusted for future use. This is useful. I
         think it's very useful for me and for Thailand because we need to consider how to
         deal with other disasters in the future, not only the one we are facing now. It may
         be useful for other disasters, climate change, flooding, or landslides. I think of
         him as a friend. When he proposed to help Thailand, I told him that I stand ready to
         welcome him and for him to think of Thailand as his second home. He was positive. I
         invited him to come to Thailand, and possibly visit the EEC. We are preparing to
         build our satellites and he has his satellite business, and communications
         [technology]. Why don't we seek cooperation with him?
         (7/10/18, 4:32:57 AM] +1 (310) 562-4292: Here's my father in-laws translation of the
         press conference

         We all listened the press conference, this is what we captured:

         Thai considered Elon Musk a good friend,           Elon is a very successful young man,
         Thailand thanks you for the capsules that he left for Thailand to study and future
         uses.

        Thailand offers Elon Musk future Investment, which he will seriously thinking and
        will come back in the near future.
         Thailand welcome Elon Musk as his second home.
         (7/10/18, 4:39:03 AM] +1 (310) 844-2510: Thanks
         (7/10/18, 6:01:03 AM] +1 (503) 896-7596: Meeting with Admiral Arpakorn confirmed for
                                                Page 28




                                                                                                   MUSK_003230




                                                                                                   Exhibit 57
                                                                                                   Page 886
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 94 of 98 Page ID #:2100




                  .      .                                  _chat,txt
              9am tomorrow with seals to train them on how to use the pod. Planning on giving them
              the pod plus spare parts to the pod but shipping tools back to the boring company
               [7/10/18, 6:55:14 AM] +l (310) 562-4292: How's the treehouse?
              [7/10/18, 7:02:10 AM] +1 {863) 206-0685: image omitted
               [7/10/18, 7:43:07 AM] +1·(503) 896-7596: Last diver just got out. Mission
              accomplished.
              [7/10/18, 7:56:10 AM] +1 (408) 203-2072: ~awesome
              [7/10/18, 7:58:15 AM] +1 (310) 844-2510: Wooohoool
              [7/10/18, ·. 8: 54:08 · AM] +l. (318): 562-4292: image omitted
              [7/10/18,· 8:54:56 AM] Steven Davis: Translated, means ••• ?
              [7/10/18, ·8:55:18 AM] +1 (310) 562-4292: It's Elon's Twitter post
              [7/10/18,."8:55:47.AM] +1 (408).203-2072: Sent to the large group text from
              Lt col janwit
              [7/10/18, 4:09:53 PM] +1 (863) ·206-0685: video omitted                          .
              [7/10/18, 5:00:04· PM] ."+1 ·(503) 896-7596: @16267554370 or someone in CA can you send
           . me a pdf of the latest version·. of the confluence page documentation to
              armorharris@gmail.com?
              [7/10/18, 5:23:12 PM] _+1 ·(626}"··755-4370: Cleaned up a bit, moving the actions,
             discussion, draft.outline, etc·down to a backup section. Should be enroute
              [7/10/18, 5:25:15 PM] +1 (503)_896-7596: Awesome, thanks!
              [7/10/18, .S:33:23 PM].+1-(503) 896-7596: @13102452197 we can't accommodate Elon's
              request to send them into the cave with the pod. Would require 4 divers (2 to stage
             tanks ahead of the main dive, 2 to do the main dive). We can't ask them to go in
             there and risk their lives for a demo that won't make the pod any more useful for
             future scenarios with different geology after everything they've done to save these
             k~s ... -'.       .· ... ···  .         _·
              [7/10/18;···5~43;10 PM] +1- (408)"203-2072: Remember to take photo and video when you
             are meeting with divers please
              [7/10/18, 6:46:14 PM] +1 {785) .764-0421: Got it
              [7/10/18, 6:47:46 PM] +1 (785) 764-0421: image omitted
              [7 /10/18, 8:04:43. PM]: +1 ( 408) 203-2072: image omitted
             [7/10/18, 8:04:43 PM] +1 '(408) 203-2072: image omitted
              [7/10/18, 8:05:51 PM] Steven Davis: So well dressed. Has navy training started?
             [7/10/18, 8:06:59 PM] +1 {408) 203-2072:
             https://www,facebook.com/154553218343826/posts/458010037998141/
             [7/10/18, 8:47:06 PM] +1 (785) 764-0421: image omitted
             [7/10/18, 8:47:59 PM] +1 (785) 764-0421: video omitted
             [7/10/18, 8:48:33 PM] +1 (785) 764-0421: video omitted
             [7/10/18, 8:48:33 PM] +1 (785) 764-0421: image omitted
             [7/10/18, 8:48:43 PM] +1 (785) 764-0421: image omitted
             [7/10/18 1 8:49:14 PM] +1 (785) 764-0421: video omitted
             [7/10/18, 8:53:57 PM] +1 (785) 764-0421: image omitted
             [7/10/18, 9:13:41 PM] +1 (785) 764-0421: image omitted
             [7/10/18, 9:19:26 PM] +l (785) 764-0421: image omitted
             [7/10/18, 9:23:53 PM] +l (503) 896-7596: Diver who made it to the children had.some
             feedback:
             -When the water level in the cave was dropped, they would have had to carry it with
             one or two people through dry spots. That would have been difficult with strapping
                                                             Page 29




                                                                                                        MUSK_003231




                                                                                                        Exhibit 57
                                                                                                        Page 887
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 95 of 98 Page ID #:2101




                                                               _chat,txt
            ·on ·and unstrapping weights
             ~There is av shaped passage in the cave which it would have been hard to make it
             through without being flexible. The diver didn't think it would make it as is.
             [7/10/18, 9:24:03 PM] +1 (503) 896-7596: Divers name was AJ, he's a Thai diver
             [7/10/18, 9:24:15 PM] +1.(503)-896-7596: Diameter wise it would have made it
             [7 /10/18, _· 9: 30: 17 ·PM]. -+1- (503) 896-7596: Basically it sounds like conditions inside··
             of the cave were Changing rapidly, potentially as often as we were talking to the
             divers .        .      .            .
             [7 /10/18; ··9·: s·4:·e6·. PM] +1 -"(310). 562-4292: The V sounds like what the British diver
             told us Monday. Perhaps.they could have chipped out additional space if one of the
             kids was in really bad shape
             [7/10/18, 9:54:44 PM] Steven."o·avis: Or the shorter Pod ••. at some point, it closes.
            [7/10/18, 9:58:39 PM] +1 (785) 764-0421: image omitted
            [7/10/18, 10:29:16 PM] +1 (785) 764-0421: video omitted
            [7/10/18, 10:29:17 PM] +l (785) 764-0421: image omitted
            [7/10/18,:10:45:22·PM] +1 (785) 764-0421: image omitted
            [7/10/18,-10:45:54.PM].+1·(408)."203-2072: •• who are you handing it off to?
            [7/10/18, 10:47:17.PM] +1 (785)·764-0421: image omitted
            [7/10/18, 10:47:37·PM] +1.(785)_764-0421: image omitted
            [7/10/18, 10:48:S4·PM].+1 (785).764-0421: He is very greatful and they will be
            taking the pod to the naval training center (will get the center name and location)·
           · [7/10/18, 10:50:54 PM] +1 (408) 203-2072: Very cool
             [7/10/18, 10:51:25 PM] +l (310) 844-2510: Cool
            [7/10/18,· 10:51:30 PM]-+l (785)'764-0421: image omitted
            [7/10/18, •10:53:25-PM] +1·(785).764-0421: image omitted
            [7/10/18, 10:54:42 PM] +1.(785) 764-0421: Royal Navy will also take possession of 10
            power walls .         ..
            [7/10/18, 11:lEi:55   PM] +1 (908) ·418-1389: image omitted
            [7/10/18, ·11:34:55 PM] +1 ·(785)·764-0421: image omitted
            [7/10/18, .11:36:02 PM] +l (408) 203-2072: image omitted
            [7/10/18, 11:36:22·PM]·+1·(40s).203-2012: Check out Thai geographers FB page
            [7/11/18, ·12:05:04 AM] +1 (785)·764-0421: Nice! We are all wrapped up here and
            starting to head state side unless we hear otherwise. Incredible work all.
            [7/11/18, 12:08:36 AM] +1 (503) 896-7596: Mike, Chris, and I will be here a bit
            longer tying up loose ends
            [7/11/18, 12:14:28 AM] +1 (310) 562-4292: I'm flying out of BKK tomorrow night
            [7/11/18, 12:33:28 AM] +1 (863) 206-0685: image omitted
            [7/11/18, 12:34:06 AM] +1 (863) 206-0685: Groundwater pumping station outside of the
            cave pumping exit
            [7/11/18, 12:36:34 AM] +1 (785) 764-0421: Heads up reports at thr Chang Rai airport
            to dodge
            [7/11/18, 1:11:43 AM] +1 (310) 844-2510: About to email mu Space team to thank them.
            Anyone besides our main man Nuttapon deserve a shout out?
            [7/11/18, 1:11:44 AM] +1 (863) 206-0685: Mike. You have manifest for shipping to BC?
            [7/11/18, 1:41:47 AM] +1 (785) 764-0421: Chaiyos Kosalakood from Mu
            [7/11/18, 1:43:18 AM] +l (785) 764-0421: 2x NEMO boxes
            lx Husky 268 piece tool set
            lx flow meter, small pelican
                                                        Page 30




                                                                                                               MUSK_0D3232




                                                                                                               Exhibit 57
                                                                                                               Page 888
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 96 of 98 Page ID #:2102




                                                    _chat.txt
            lx ·ipa ·kit, small p'elican
            lx large husky tool box
            lx inflatable repair kit
            1x mis tools) 1ft sq cardbOa·rd-box
            lx·husky cloth tool bag
            lx·deWalt tool box         ·
            lx pelican air case·) eleCtrical
            lx 40 gal tub,·sat gear
            2x ·Powerwalls
            7x · Inflatable ·pOds·.   ... .
            lx Inflatable· pod repafr kit.
            [7/11/18, 2:41:23 AM] +1 (863) 206-0685: image omitted
            [7/11/18, 5:15:40 AM] +1 (408) 203·2072:
            http://www.bbc.com/future/storY/20180710-thai-cave-the-dangerous-diseases-you-Can-ca
            tch-in-caves
            [7/11/18, 5:16:56·AM]·+1:(408)··203-2072: Not meant to freak anyone out but in case
            you feel sick nearterm may be good to get checked out
            [7/11/18, 6:56:38 AM] +1 (503) 896-7596: Met the British cave team including Rich
            and on a.Scale of 1:10 they were an 11 excited about what we did and would love to
            work with us on an improved rev 2 of the rescue pod
            [7/11/18, .6:57:04 AM] +1 (310) 844-2510: Would be great for them to say that
            publicly in some way I ·
            [7/11/18~ 7:03:58 AM]. +l (503) 896-7596: I invited them to come to SpaceX and work
            with us on making an improved Version in the future (hopefully not taking too much
            of a liberty here but felt like the right thing to do) and they accepted
            enthUsiastically so we could say we're doing that
            [7/11/18, 6:01:17 PM] +1 (908) 418-1389: Armor, Coryell) and I leaving Chiang Rai
            shortly. All Spacexers accounted for.
            [7/11/18, 6:01:49 PM] +1 (408) 203-2072: Copy. Vince and I just landed back in Lal
            [7 /11/18, 6: 12:23 PM]. +1 (785) 764-0421: Woohool
            (7 /11/18, · 6: 31: 11 · PM]• +1 (650}: 796-6296: Awesome to hear it. Safe travels and
            welcome back.
            [7/12/18, 2:33:30 AM] +1 (785) 764-0421: Heard from the rear admiral's secretary
            that the pod is going to the Royal thai naval special warfare command in sattahip1
            Thailand (~2hr SE of Bangkok),
            [7/12/18, 6:32:55 PM] +1 (310) 562-4292: If anyone's looking for Thai food in LA,
            this is James's cousin place in WeHo. http://www.nightmarketsong.com/welcome/
            (7/12/18) 7:58:44 PM] Steven Davis: Is there any way to get someone awesome who was
            on the ground (Thai Navy?) to speak at Hyperloop? We would fly someone out.
            [7/12/18, 10:12:07 PM] +1 (785) 764-0421: Boon!
            [7/12/18, 10:12:35 PM] Steven Davis: He agreed?
            [7/12/18, 10:26:42 PM] +1 (408) 203-2072: I messaged him on Line but hadn't heard
            back. Anyone else have a differenct contact for him?
            [7/12/18) 10:28:08 PM) +1 (S03) 896-7596: Boon was pretty unsure about being able to
            make any commitments because he'd need permission from his commanders. We should ask
            the rear admiral
            (7/13/18, 8:40:23 AM] +1 (310) 562-4292: Was your luggage waiting for you?
            [7/13/18, 9:53:02 AM] +1 (323) 430-1160 removed +l (310) 844-2510
                                                   Page 31




                                                                                                     MUSK_003233




                                                                                                     Exhibit 57
                                                                                                     Page 889
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 97 of 98 Page ID #:2103




                .   .                            .       _chat.txt
            [7/13/18, 9:58:08 AM] +1 (626) 755-4370: So just checking, everyone is back safely
            or is the caboose team still flying?
            [7/13/18, 10:24:23 AM] +1 (310) 956-5308: Wallden and Coryell both contacted me
            yesterday from Chinese airports on their way back. I never got final confirmation
            they are back in the states.
            [7/13/18, 10:25:43 AM] +1 {863)."206-0685: Just landed in us
            [7 /13/18, 11: 11:55 · AM] .+1 {310). '562-4292: Everyone should be stateside by now.
            Nuttapon told me Coryell was a couple hours behind me in leaving Thailand.
            [7/13/18; 11:27:06 AM] +1 (626) 755-4370: I sent out a bunch of gear-5 helmets and·
            10 lights. Not sure that it went to Thailand but if anyone knows whereabouts would
            like to get it.back to its owners.
            [7/13/18, 1:45:16 PM] +1 (785) 764-0421: I am back!
            [7/13/18,·2:51:32 PM]·+l (408).203·2072: ••
            [7/13/18,. 2:57:Sl_ PM] ·.+1 (863) 206-0685: Mike Coryell just landed in Florida. All
            accounted for
            [7/14/18, 5:03:18 PM] +1 ·(310) 562-4292:
           · http://WWW.youtube.com/watch?v;LDMneCffUAQ&feature=youtu.be
             [7/15/18, 9:57:41 AM] +l (310) 562-4292: Nuttapon just offered immigration police
             escorts for anyone's future travels to Thailand. Email me your full name, passport
             number and phone number if you're interested
             (7/15/18, 2:19:30 PM] +1 (785) 764-0421: For all movement about the country?
             [7/16/18, 10:32:09 AM] +1 (408) 203-2072: Hi all Nuttapon is coming out to LA this
             weekend f6r the hyperloop competition. He will be here 19th in the AM until 22nd
             evening. Let me know if you want to meet up with him while here and I'll organize
            it.
            [7/16/18," g·:'i1:54·PM] +1 (310) 562-4292: No, just port of entry and departure from
            Thailand
            [7/20/18, 9:22:"04 AM] +1 (408)· 203-2072: Elon Musk • 1 page document omitted
            [7/20/18, 9:23:26 AM].+1·(310) 562-4292: Awesome!
            [7/21/18,. 12:16:44 AM] +1 (785) 764-0421: Super cool! Flo, want to send to the
            Thailand distro?                   .
            [7/31/18, 9:27:17 -AM] ·+1 '(408).'203-2072: Did anyone have personal tools they sent to
            Thailand? We have a few items over at boring co that are unclaimed.
            [7/31/18, 9:29:28 AM] +1 (626) 755-4370: Hey Flo-I sent some headlamps that are
            still missing. I also bought some chains and chain binders that were for the sub
            test tube in the boring company lot. Let me know if either of those made it back
            [7/31/18, 9:31:02 AM] +1 (408) 203-2072: Copy will. I'll check and let you know
            [7/31/18, 3:09:03 PM] Steven Davis: LA consul just pinged me and ask if we were
            sending anyone to the August 1 dinner in Thailand tomorrow. I assume "no11 unless
            anyone on this distro has better info?
            [7/31/18, 3:31:44 PM] +1 (310) 562-4292: I was told the dinner had been postponed
            due to the dam in Laos failing. Most of the Thai military is assisting.
            [8/6/18, 12:47:42 AM] +1 (408) 203-2072: Hi all- Boon just asked me if a manual was
            brought along with the capsule? They aren't able-to find it if there was one. Can we
            send another via email or make one if we hadn't before?
            [8/6/18, 7:21:40 AM] +1 (503) 896-7596: I gave it to Adm Akaporn, I'll send Boon a
            copy
            [8/6/18, 8:05:53 AM] +1 {408) 203-2072: Thanks can you email it to:
                                                       Page 32




                                                                                                       MUSK_003234




                                                                                                       Exhibit 57
                                                                                                       Page 890
Case 2:18-cv-08048-SVW-JC Document 81 Filed 10/07/19 Page 98 of 98 Page ID #:2104




                                                  _chat.txt
            boonsak·: butnean@gmail.com
            [8/7/18, 2:54:17 PM] +1 (321) 543-5401: Spx receiving just let me know that we got a
            pallet back from Thailand with some rafts and powerwall equipment. Anyone know where
            this should go? Boring lot maybe?
            [8/7/18, 7:52:54 PM] Steven Davis: Yes, Boring
            [8/7/18, 8:22:39 PMJ.+1 (321) 543-5401: Copy thanks




                                                 · Page 33




                                                                                                   MUSK_003235




                                                                                                   Exhibit 57
                                                                                                   Page 891
